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DEPARTMENT OF HOUSING AND
URBAN DEVELOPMENT

24 CFR Part 100

[Docket No. FR-6111-F-03]

RIN 2529-AASB

HUD’s Implementation of the Fair

Housing Act’s Disparate Impact
Standard

AGENCY: Office of the Assistant
Secretary for Fair Housing and Equal
Opportunity, HUD.

ACTION: Final rule.

SUMMARY: HUD has long interpreted the
Fair Housing Act (‘the Act’) to create
liability for practices with an unjustified
discriminatory effect, even if those
practices were not motivated by
discriminatory intent. This rule amends
HUD’s 2013 disparate impact standard
regulation to better reflect the Supreme
Court’s 2015 ruling in Texas
Department of Housing and Community
Affairs v. Inclusive Communities
Project, Inc. and to provide clarification
regarding the application of the
standard to State laws governing the
business of insurance. This rule revises
the burden-shifting test for determining
whether a given practice has an
unjustified discriminatory effect and
adds to illustrations of discriminatory
housing practices found in HUD's Fair
Housing Act regulations. This Final rule
also establishes a uniform standard for
determining when a housing policy or
practice with a discriminatory effect
violates the Fair Housing Act and
provides greater clarity of the law for
individuals, litigants, regulators, and
industry professionals,

DATES: Effective Date: October 26, 2020.
FOR FURTHER INFORMATION CONTACT:
David H. Enzel, Deputy Assistant
Secretary for Enforcement Programs,
Office of Fair Housing and Equal
Opportunity, Department of Housing
and Urban Development, 451 7th Street
SW, Room 5204, Washington, DC 20410,
telephone number 202-402-5557 (this
is not a toll-free number), Individuals
with hearing or speech impediments
may access this number via TTY by
calling the Federal Relay during
working hours at 800-877-8339 (this is
a toll-free number).

SUPPLEMENTARY INFORMATION:

I. Background

The Fair Housing Act prohibits
discriminatory housing practices on the
basis of race, color, religion, sex,
disability, familial status, or national
origin. HUD has the authority and
responsibility for administering and

enforcing the Act, including the
authority to conduct formal
adjudications of Fair Housing Act
complaints and the power to promulgate
Tules to interpret and carry out the Act.t
Consistent with this responsibility, on
February 15, 2013, HUD published a
Final Rule entitled “Implementation of
the Fair Housing Act’s Discriminatory
Effects Standard” (“the 2013 Rule’”’).2
The 2013 Rule formalized HUD’s
longstanding interpretation that
disparate impact liability is available
under the Act.3 The 2013 Rule also
codified a burden-shifting framework
for analyzing disparate impact claims
under the Fair Housing Act, relying in
part on existing case law under the Fair
Housing Act, decisions by HUD’s
administrative law judges, and Title VII
of the Civil Rights Act of 1964
(prohibiting employment
discrimination).

In 2015, the Supreme Court held that
disparate impact claims are cognizable
under the Fair Housing Act in Texas
Department of Housing and Community
Affairs v. Inclusive Communities
Project, Inc., (Inclusive
Communities).5 Inclusive Communities
recognized the availability of disparate
impact claims under the Fair Housing
Act independent of the 2013 Rule. The
Court’s opinion referenced the 2013
Rule, but the Court did not rely on it for
its holding, Rather, the Court undertook
its own analysis of the Fair Housing Act
and engaged in a discussion of
standards for disparate impact claims as
well as cognizable constitutional
limitations to such claims.

Following the Inclusive Communities
decision, on May 15, 2017, HUD
published a Federal Register notice that
invited public comment to assist HUD
in identifying existing regulations that
may be outdated, ineffective, or
excessively burdensome, pursuant to
Executive Orders 13771, ‘Reducing
Regulation and Controlling Regulatory
Costs,” and 13777, “Enforcing the
Regulatory Reform Agenda.” ® In
response, HUD received significant
feedback concerning the 2013 Rule,
with many commenters citing the
Court's decision in Inclusive
Communities. Additionally, in October

1 See 42 U.S.C, 3608(a) and 42 U.S.C, 36142.

278 FR 11460.

8 See 24 CFR 100.5(b), 100.70(d)(5), 100.120(b),
100,130(b), and 100,500.

4 See 24 CFR 100,500(c). In 2016, HUD also
published a notice that supplemented its responses
to certain comments made by the insurance
industry during the rulemaking. See “Application
of the Fair Housing Act's Discriminatory Effects
Standard to Insurance,” 81 FR 69012 (Oct. 5, 20186).

5135 S. Ct. 2507 (2015).

& See 62 FR 22344.

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2017, the Secretary of the Treasury
issued a report which explicitly
recommended that HUD reconsider
applications of the 2013 Rule, especially
in the context of the insurance
industry.’ In response to these
suggestions and the Court’s decision in
Inclusive Communities, HUD published
an advance notice of proposed
rulemaking (ANPR) in the Federal
Register on June 20, 2018, inviting
comments on possible amendments to
the 2013 Rule.®

Il. The August 19, 2019, Proposed Rule

On August 19, 2019, HUD published
a Proposed Rule in the Federal Register
to replace HUD’s disparate impact
standard at § 100.500 with a new
standard and incorporate minor
amendments to §§ 100.5, 100.7, 100,70
and 100,120.9 The proposed revisions
included defenses that a defendant
could utilize to rebut the plaintiff's case,
by showing that the defendant’s
discretion was materially limited, that
the defendant’s use of a risk assessment
algorithm was non-discriminatory, or
that the plaintiff had failed to plead a
prima facie case, Further, the Proposed
Rule incorporated the ‘artificial,
arbitrary, and unnecessary’ standard as
discussed in Inclusive Communities.
Specifically, the Proposed Rule
explained that defendants may show
that a challenged policy or practice
advances a valid interest and is
therefore not artificial, arbitrary, and
unnecessary, Plaintiffs would then rebut
this showing by proving that a less
discriminatory policy or practice exists
that would serve that interest. The
proposed revisions also included an
interpretation of the Fair Housing Act
when in conflict with state laws
regulating the business of insurance;
clarification of vicarious liability; the
provision and clarification of examples
of acts that constitute discriminatory
practices under disparate impact; and
implementation of a burden-shifting
framework that more closely aligns with
the Court’s decision in Inclusive
Communities. For more information
about HUD’s Proposed Rule, see 84 FR
42854.

? See Steven T. Mnuchin and Craig S. Phillips,
U.S. Department of the Treasury Heport: A
Financial System That Creatas Economic
Opportunities, Asset Management and Insurance,
Treasury.gov (Oct. 26, 2017), hitps://
www, tireasury.gov/press-center/press-releases/
Documoents/A-Financial-Sysiem-That-Creates-
Heconomic-Opportunities-Asset_Management-
Insurance.pdf,

883 FR 28560, HUD received and reviewed all
1,923 comments in promulgating HUD’s August 19,
2019 Disparate Impact Proposed Rule.

984 FR 42854.
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HUD received 45,758 comments on
the Proposed Rule, which were
considered. and are discussed in Section
IV of this preamble.

Il. Changes Made at the Final Rule
Stage

In response to public comments, a
discussion of which is presented in
Section IV, and in further consideration
of issues addressed at the proposed rule
stage, HUD is publishing this Final
Rule. This Final Rule implements the
limitations discussed in Inclusive
Communities and HUD furthers the goal
of the Fair Housing Act by exercising its
discretion to interpret the Fair Housing
Act’s disparate impact standard. HUD is
therefore adopting the August 19, 2019
Proposed Rule with the following
changes:

A. Section 100.5 Unlawful Housing
Discrimination Hlustration

The Final Rule makes minor
clarifying changes to proposed
paragraph (b) to clarify the language in
paragraph (b) regarding illustrations and
allegations of unlawful housing
discrimination. The Final Rule also
adds a sentence at the end of paragraph
(b) to align with the requirements in
Executive Order 13891 that agency
guidance documents and other actions
are consistent with law and the agency’s
regulations.

The Final Rule maintains paragraph
(d), which provides that this part does
not require or encourage the collection
of data, but removes the proposed
second sentence of paragraph (d)
because HUD determined that the first
sentence of paragraph (d) is sufficiently
clear. HUD also understands that there
may be cases where collecting data may
be required by laws outside this rule,
and the second sentence created
uncertainty and confusion.

B. Section 100.7 Liability for
Discriminatory Housing Practices

After considering and reviewing
public comments, HUD decided not ta
adopt the proposed changes to § 100.7
and is not adopting as final the
proposed clarifying changes to
paragraph (b) on vicarious liability or
paragraph (c) on remedies in
administrative proceedings. However,
HUD has moved and amended proposed
paragraph (c) into § 100.500 paragraph
(f). The new paragraph is discussed
below.

C, Section 100,120 Discrimination in
the Making of Loans

The Final Rule does not include the
example proposed in paragraph (b)(1).
The Proposed Rule would have

amended the first example in paragraph
(b)(1) and added a clause to the end of
paragraph (b)(1) regarding information
related to an individual’s particular
circumstances. HUD’s proposed changes
were meant to clarify that, in
accordance with the guidance in
Inclusive Communities, informational
disparities must be material in order to
violate the Fair Housing Act. HUD
believes that the Final Rule’s § 100.500
provides for that requirement and
therefore the proposed example in
paragraph (b)(1) is unnecessary.

D. Section 100.500 Discriminatory
Effect Prohibited Standard

Paragraph (b)—Pleading Stage

The Final Rule revises paragraph (b)
of the Proposed Rule to clarify that the
paragraph discusses the pleading stage
and not the prima facie burden. The
prima facie burden is the burden that
the plaintiff must prove before the
defendant is obligated toa advance a
valid interest or provide some ather
defense. At the pleading stage, the
plaintiff must allege facts that state a
plausible disparate impact claim.1°
Paragraph (b) of the Final Rule,
therefore, lays out the elements that
must be sufficiently pled to survive the
pleading stage.

Paragraph (b)(1) is changed to make
the phrase “artificial, arbitrary, and
unnecessary” consistent with the
language in Inclusive Communities. The
order of paragraphs (b)(2) and (b)(3) is
reversed because HUD finds it is clearer
to state the requirement that an adverse
effect must be shown before stating the
requirement that the adverse effect be
the direct cause. HUD notes that both of
these elements require that the plaintiff
show that the challenged policy or
practice has an adverse effect on a
protected class. However, paragraph
(b)(2) requires this adverse effect to
disproportionately affect protected class
members, whereas paragraph (b)(3)
requires that the causal link between the
challenged policy or practice and the
adverse effect be robust. New paragraph
(b)(2), formerly paragraph (b)(3), is
revised to be consistent with this order,
and to add the word
“disproportionately,” to clarify that the
plaintiff must show that protected class
members are disproportionately more
likely to be affected than individuals
outside the protected class. New
paragraph (b)(3), formerly paragraph
(b)(Z), is revised to be consistent with
the change in order, and to clarify that
HUD intends “robust causal link” to be

10 See, e.g., Ashcroft v. Iqbal, 556 U.S, 662 (2009);

Ball Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).

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the same standard as ‘‘direct cause.”
Paragraph (b}(4) remains unchanged
from the Proposed Rule. Paragraph
(b}(5) is revised to more closely adhere
to the language of Bank of Am. Corp. v.
City of Miami,11 which it is intended to
codify.
Paragraph (c)}—Burden Shifting

Paragraph (c) of the Proposed Rule
provided defendants with affirmative
defenses which would necessarily show
that the plaintiff had not or could not
successiully bring a prima facie case.
Paragraph (d) of the Proposed Rule
listed the burdens of proof and
production throughout a disparate
impact case and divided these burdens
by plaintiff and defendant. While
paragraph (d) included a burden shifting
framework, this division did not show
the three steps consecutively. For
clarity, this Final Rule uses a structure
that is more similar to § 100.500(c} of
the 2013 Rule and codifies the burden
shifting approach in § 100.500 (c) of this
Final Rule. This section now flows
logically from paragraph (b), which
outlines the necessary elements of a
pleading, to paragraph (c)(1}, which
states that the first step after the
pleading stage is for the plaintiff to
prove the elements provided in
paragraph (b}, which make up the prima
facie case (elements 2—5). Paragraph
(c)(2} then provides the defendant with
the opportunity to advance any valid
interest, and paragraph (c)(3} requires
the plaintiff to advance a less
discriminatory alternative to address
any valid interest raised, Paragraph
(c)(2} articulates the same standard for
the defendant’s valid interest that was
implied but not explicitly stated in
paragraph (d)(1}{ii) of the Proposed
Rule, Paragraph (c)(3) is substantively
identical to the burden on plaintiffs in
paragraph (d)(1}(ii) of the Proposed
Rule.
Paragraph (d)—Defenses

Paragraph (d) of the Final Rule now
covers only defenses available to the
defendant, and it articulates what
defenses are available depending on the
stage of litigation. It is largely based on
paragraph (c) of the Proposed Rule.

Paragraph (d)(1} identifies defenses
that a defendant may raise at the
pleading stage by relying on the
plaintiffs complaint or on any other
material that would ordinarily be
admissible at the pleading stage under
the applicable rules of procedure.
Defendants at this stage may argue that
the plaintiff has failed to sufficiently
plead one of the elements of the prima

11.137-S, Ct. 1296 (2017).
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facie case, Defendants may also argue
that the policy or practice is reasonably
necessary to comply with a third-party
requirement which limits the
defendant's discretion, HUD believes
that this is an appropriate defense at the
pleading stage where the defendant can
show, as a matter of law, that the
plaintiff's case should not proceed
beyond the pleading stage when
cousidered in light of a binding
authority which limits the defendant’s
discretion in a manner which shows
that the defendant’s discretion could not
have plausibly been the direct cause of
the plapetity.

The Final Rule adds paragraph
(d)(1)(iii), which was not in the
Proposed Rule, to account for binding
requirements promulgated by an agency,
This may include agency guidance
because HUD recognizes, consistent
with Executive Order 13891, that a
defendant may be obligated to follow
agency guidance when it is so binding,
or guidance was incorporated into a
binding authority, such as a contract. To
that end, HUD has also added at this
Final Rule stage that the defendant must
show that the policy or practice is
reasonably necessary to comply with a
binding authority. The defendant
should not be required to show that its
policy is the only possible way to
comply with the third party
requirement, so long as its policy is
reasonably necessary, Similarly,
paragraph (d)(1)(iii) of this Final Rule
adds that this defense requires the
defendant to show that challenged
action was reasonably necessary to
comply with the restricting law or order,
meaning that there may be other reasons
the defendant may have chosen the
course of action, and there may have
been other ways of complying with the
restricting law or order, as long as the
challenged action was reasonably
necessary to comply with the restricting
law or order.

Paragraph {d)(2) of the Final Rule
provides defenses that are available
using evidence appropriate for the stage
of litigation. Paragraph (d){2)(i)
supplements paragraph (c)(2) regarding
valid interests advanced by the
defendant. HUD notes that practices that
predict outcomes, such as risk analysis,
may lead to a result that appears,
without taking into account external
factors, to have a disparate impact
because, due to factors outside the
defendant's control, members of a
protected class are disproportionately
associated with a particular outcome,
such as a higher risk pool. A defendant
may show that the predictive analysis
accurately assessed risk, which is a
valid interest. A defendant may also

show that a predictive model is accurate
by showing that it is nat overly
restrictive on members of the protected
class. If, for example, a plaintiff alleges
that a lender rejects members of a
protected class at higher rates than non-
members, then the logical conclusion of
such claim would be that members of
the protected class who were approved,
having been required to meet an
unnecessarily restrictive standard,
would default at a lower rate than
individuals outside the protected class,
Therefore, if the defendant shows that
default risk assessment leads to less
loans being made ta members of a
protected class, but similar members of
the protected class who did receive
loans actually default more or just as
often as similarly situated individuals
outside the protected class, then the
defendant could show that the
predictive model was not overly
restrictive.

HUD considers this defense to be an
alternative for the algorithm defenses in
paragraph (c)(2) of the Proposed Rule.
Those algorithm defenses were each
intended, in different ways, to provide
methods for the defendant to show that
an algorithm did not cause a disparate
impact. HUD has concluded that these
defenses would likely have been
unnecessarily broad in their effect, and
HUD has determined this alternative
would provide some defendants the

opportunity to justify predictive models.

HUD expects that there will be further
development in the law in the emerging
technology area of algorithms, artificial
intelligence, machine learning and
similar concepts. Thus, it is premature
at this time to more directly address
algorithms.

Paragraph (d)(2)(ii) of the Final Rule
provides the defendant the opportunity
to show that the plaintiff has failed to
prove the prima facie case and replaces
paragraph (d)(2)(ii) of the Proposed
Rule. Paragraph (d)(2)(iii) mirrors the
language in paragraph (d)(1) regarding
limited discretion and is repeated here
because, while the defendant may bring
this defense at the pleading stage, the
defendant may also bring this defense
with evidence at later stages in the
litigation.

Paragraph (f)—Remedies in
Discriminatory Effect Cases

Paragraph (f), added in the Final Rule,
replaces proposed § 100.7(c) regarding
damages. Rather than restricting
administrative law judges, paragraph (f)
is limited to restricting HUD itself in the
types of damages HUD will seek where
HUD is the party bringing a
discriminatory effects case. The Final
Rule also adds an exception that allows

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HUD to seek civil money penalties in

discriminatory effects cases where the
defendant has a history of intentional
housing discrimination.

Paragraph (g)—Severability

The Final Rule also adds paragraph
(g), which reflects HUD’s intent that
§ 100.500 is severable and each part of
the section is independently applicable.

IV. Public Comments

The public comment period for the
August 19, 2019, Proposed Rule closed
on October 18, 2019. HUD received and
reviewed 45,758 comments on the
Proposed Rule from a wide variety of
interested entities, including
individuals, fair housing and legal aid
organizations, state and local fair
housing agencies, state attorneys
general, state housing finance agencies,
public housing agencies, insurance
companies, insurance trade
associations, mortgage lenders, credit
unions, banking trade associations, real
estate agents, and law firms.12 This
section of the preamble addresses
significant issues raised by the public
comments and is organized by Proposed
Rule section, with summaries of the
issues followed by HUD’s responses.
There were also numerous comments
received both in support of and
opposition to the Proposed Rule
generally, as well as comments that did
not specifically address one specific
section of the Proposed Rule. Those
comments are organized into general
categories and responded to
accordingly.

Following are the issues raised by the
public comments and HUD’s responses.

General Support

HUD received comments expressing
general support for the Proposed Rule.
HUD also received comments that
supported the Proposed Rule but wrote
that HUD could further revise the
Proposed Rule to be in line with
Inclusive Communities. Commenters
stated that the Proposed Rule would
increase access to fair and affordable
housing. One commenter thought that, if
implemented, the Proposed Rule would
take HUD one step closer to making
communities a better place.
Commenters also stated the Proposed
Rule is effective in uncovering
discrimination and ensuring disparate
impact cases can be brought forward,
while still being consistent with the Act.
Commenters stated that the Proposed
Rule would specifically incentivize

12 All public comments on this rule can be found
at www.regulations.gov, specifically at: https://
www.reguations.gov/
docketBrowser?rpp=50& po=06D=HUD-2019-0067.
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parties to work together and may reduce
frivolous and arbitrary claims without
creating a material burden on those who
have legitimate claims.

Some commenters stated the
Proposed Rule would help local
governments that face challenges in
protecting their citizens and
implementing zoning laws, but also
ensures that local governments are
complying with all applicable state and
federal laws; noting that sometimes it is
hard to know what is or is not
discrimination, especially when an act
by government or private individuals
appears neutral on its face. One
commenter noted that the Proposed
Rule appropriately considered changing
technology. Other commenters
supported the proposition in the
Proposed Rule’s preamble that neutral
decision-making criteria should not lead
to regulatory sanction due to disparate
impact. Another commenter stated the
Proposed Rule promotes the free market
system and removes impediments ta
increased lending in needy
communities.

Commenters also noted that the
Proposed Rule is consistent with the
Supreme Court’s Inclusive Communities
ruling, and that the current regulation is
inconsistent with its limitations.
Another commenter stated that both
Inclusive Communities and the
Proposed Rule strike a reasonable
balance by enforcing fair housing rights
without improperly second-guessing
otherwise legitimate decisions by public
and private entities. One commenter
stated that the current regulation is
legally inconsistent with case law and
congressional intent, and that the 1991
Civil Rights Act amendments
superseding Wards Cove15 only applied
to Title VIL, not the Fair Housing Act;
the Proposed Rule corrects this error.
Another commenter supporting the
Proposed Rule stated that arguably all
cases brought since Inclusive
Communities have been aligned with
the Supreme Court’s binding precedent
in that case, and cases brought that did
not meet its standard, or that were based
on the 2013 Rule’s 3-part test, have been
dismissed,

Some commenters stated that courts
have erroneously suggested that the
2013 Rule and Inclusive Communities’
framework are the same, and
conforming HUD’s rule to inclusive
Communities will reduce confusion.
Commenters cited differences between
the rules, including that the 2013 Rule
did not require plaintiffs to prove robust
causality, nor did it require that a

18 Wards Cove Packing Co. v. Atonio, 490 U.S.
642 (1989).

challenged policy be “arbitrary,
artificial, and unnecessary” to achieving
a valid objective, which can include
practical business and profitability.
Commenters also stated that the
Proposed Rule would be consistent with
the limitations articulated in Inclusive
Communities on disparate impact
claims by including safeguards for
defendants to prevent abusive use of
disparate impact liability.

Commenters supported the change to
the burden shifting framework. One
commenter noted that the change is fair
to all claimants and will permit and
protect practical business choices and
profit-related decisions, Commenters
also supported HUD’s revisions to the
burden of proof necessary to prove a
prima facie disparate impact case and to
the affirmative defenses, Many
commenters supported the proposed
standard for proving a prima facie case,
stating it would ensure that defendants
are not sued for disparities that they did
not create. Commenters also stated that
the current HUD standard creates
morally and legally untenable
circumstances when seeking to
determine actual discriminatory
behavior, which the Proposed Rule
would address. Some commenters wrote
that disparate impact policies are
currently used to require the
consideration of race and perpetuate the
theory that minorities are all poor and
in need of housing. The commenters
wrote that the 2013 Rule forced
landlords, lenders and others involved
in the housing industry to incorporate
race into their decision-making
processes to avoid disparate impact

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Other commenters supported the
Proposed Rule, stating that without the
Proposed Rule, parties would be forced
to adopt or pursue policies under very
different standards regarding what
constitutes actionable discrimination,
thus increasing uncertainty and leaving
resolution exclusively to the courts.
Commenters noted that the Proposed
Rule would alleviate burden on industry
having to manage two different
standards, Other commenters stated the
Proposed Rule appears to be an effective
way to decrease the costs to affected
parties litigating claims. Another
commenter stated that the amendments
help to safeguard assistance providers,
because without additional protections,
plaintiffs may claim discrimination
effects that are caused by ripple effects
too distant to link the injury to the
defendant.

Commenters stated that they support
provisions in the Proposed Rule that
eusure valid disparate impact claims
may not be based on statistical

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disparities alone, One commenter wrote
that parties should not be liable for
statistical coincidences. Another
commenter stated that the Proposed
Rule would ensure that plaintiffs
asserting claims against lenders must
show that the program as a whole
causes the disparate impact as opposed
to a program’s element, Another
commenter stated the Proposed Rule
would provide cost savings and more
options to consumers.

Commenters stated that the Proposed
Rule will reduce barriers for community
and small banks so they can focus on
lending and homebuying, and the
Proposed Rule removes barriers
generally for banks in the mortgage
business. One commenter said the
Proposed Rule is essential for smaller
banks that do not have the resources to
defend costly legal challenges that could
drive banks out of the lending market.
A commenter said that quantifying costs
and benefits is difficult due to differing
business plans of banks, but that a
growing number of banks are exiting the
mortgage business.

Other commenters stated that the
proposed changes are a step towards
fairness for property owners, and that
they protect the rights of landlords and
tenants, One commenter expressed that
the current regulation creates too much
risk for small landlords, making it
tempting to exit the real estate business,
and clearer standards would make it
easier to hire, train, and retain real
estate professionals, leading to a better
experience for all parties. Some
commenters stated that making business
choices based on credit and economic
factors is not inherently discriminatory
and homeowners should be able ta
make rental decisions without fear of
litigation. Another commenter stated
that they have seen an increase in the
number of threatened or actual claims
by tenants or advocacy groups arguing
that lease enforcement or business
practices could be discriminatory due to
a small possible correlation between a
protected group and a harmful impact of
that practice. Multiple commenters
stated the Proposed Rule would provide
greater clarity, predictability and
certainty to processes and provide some
assurance that the screening policies
they develop are both fair and
compliant with applicable law.

Commenters also supported HUD’s
changes to §§ 100.5, 100.7 and 100.120.
One commenter noted that the change to
§ 100.5 would provide much needed
balance and serve an important gate
keeping function. Commenters also
supported the changes to remedies in
§100,7, stating that the Proposed Rule
properly focuses on eliminating the
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offending practice, rather than money
damages or penalties. As for § 100.120,
one commenter stated that the proposed
change would allow lenders to focus
their compliance efforts on avoiding and
preventing substantive inaccuracies
rather than scrutinizing
communications for complete
uniformity across potential borrowers.
The commenter also supported the
clarification added to § 100.120(b)(1),
which would allow lenders to provide
accurate information to customer
inquiries related to their individual
situations without fear of triggering a
regulatory violation.

Lastly, commenters supported the
new language addressing insurance.
Some commenters, while supporting the
change, requested HUD provide further
protections for the insurance industry,
homeowners insurance, and commercial
habitational insurance, Commenters
supported the Proposed Rule’s
preservation of the state-led insurance
regulation system. Commenters wroie
that allowing plaintiffs to bring
disparate impact claims against insurers
serves to undermine the functioning
state regulatory system, thereby leading
to uncertainty in the marketplace,
unnecessary litigation, and increases in
premiums nationwide.

Commenters stated that the robust
causal link element is consistent with
Supreme Court disparate impact
precedence and Inclusive Communities,
and the Proposed Rule corrects the
exclusion of this language from the 2013
Rule; it also protects defendants from
liability when disparities exist that they
didn’t create, and disallows statistical
disparities alone, that are not connected
to the defendant’s policy, to support a
claim. Other commenters said the robust
causality element rectifies conflict
between the 2013 Rule and cases
brought since Inclusive Communities.

HUD Response: HUD appreciates the
comments in support of the Proposed
Rule changes. HUD agrees that adopting
the proposed changes as final will bring
clarity to litigants and further the Fair
Housing Act’s purpose. HUD also agrees
that it will benefit banks and landlords,
while ensuring that disparate impact
cases can continue consistent with
Supreme Court precedent. HUD
especially appreciates and agrees that
clarity given existing case law is needed
to assist both plaintiffs and defendants,
Lastly, HUD agrees with the comments
that supported the change to § 100.5 and
§ 100.500(e) dealing with insurance.

General Opposition

Comment: HUD’s Proposed Rule
weakens the 2013 Rule, which protects
vulnerable communities, sets a

balanced standard, and should not be
changed.

Many commenters stated they
believed the Proposed Rule would
increase discrimination or segregation
by removing the 2013 Rule, which
commenters stated has been a valuable
tool in fighting housing discrimination
and is a sufficient and clear causation
standard. Some commenters stated that
HUD’s Proposed Rule creates
unwarranted loopholes to the Fair
Housing Act that are likely to
undermine, rather than advance, access
to fair housing and the basic rights of all
Americans. Several commenters
suggested that the 2013 Rule should not
be changed, with one commenter
specifically stating that the 2013 Rule’s
flexibility allowed continued
improvement and would allow
communities to build on common
understandings. Commenters stated
further that choosing not to amend the
2013 Rule would have no impact on the
status quo because Inclusive
Communities did nat disrupt the current
regulation. Another commenter noted
that the very nature of case law
jurisprudence is that it is constantly
growing and changing, to meet altered
conditions on the ground and the
nuances of impacted parties, entities
and stakeholders, and not amending the
2013 Rule allows the law since Inclusive
Communities to continue to develop in
real world conditions, without HUD’s
interference and negative impact. One
commenter stated that not enough time
has passed since the Supreme Court’s
decision and the Proposed Rule. A
commenter stated that the Proposed
Rule would nearly obliterate disparate
impact liability by shifting the burden to
plaintiffs, limiting defendants’ liability,
and removing the “discriminatory
effects” definition. Some commenters
noted that all but one post-Inclusive
Communities circuit court decision has
recognized that the “robust causality
requirement” was simply the long-
standing requirement codified in the
2013 Rule. Commenters stated that
given the absence of any directive from
the Supreme Court to modify the
burden-shifting test, several lower
courts have interpreted Inclusive
Communities as, at most, emphasizing
the need to robustly evaluate plaintiffs’
existing prima facie burden. One federal
district court has disapprovingly
characterized defendants as “‘strain[ing]
to turn the Court’s decision to their
advantage, insisting that although it
affirmed that such claims are
cognizable, [the Supreme Court]

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established ‘Tigorous, pleading-stage
requirements,’ '’ 14

Commenters also cited cases showing
that the defendant does not need to be
responsible for the underlying disparity
to be responsible for a disparate impact
based on that disparity. Commenters
noted that the standards used by
Inclusive Communities were the same as
those in Wards Cove, cited by Inclusive
Communities, and are generally
accepted standards.15 Commenters
stated that the existing doctrine is that
a plaintiff who is able to identify a
policy or practice and marshal a
showing of causation has identified a
robust cause of their alleged harm,
Commenters stated the robust causality
requirement refers only to the existence
of a causal connection between the
defendant’s policy and a statistical
disparity. Commenters stated that the
Court's use of the word “robust” in
“robust causal link” was a modification
of the word “tequirement.”* Commenters
cited Cty. of Cook v. Bank of Am. Corp.,
which found that Inclusive
Communities was consistent with the
circuit court’s past bengal analysis.18

Commenters stated that the Proposed
Rule amounted to cutting off statistics-
based claims altogether, by requiring the
dispositive statistical analysis be
performed before the relevant data can
be gathered. Commenters also stated
that requiring a robust causal link
would create an additional, onerous
obstacle for plaintiffs. Commenters
stated that National Fair Housing
Alliance v. Travelers Indemnity Co.
concluded that plaintiffs continue to
meet well-established pleading
standards by pleading the existence of
statistical evidence demonstrating a
causal connection between the
challenged policy and the disparities.17
Commenters also noted the court in Cty.
Of Cook v. Bank of Am. Corp. found a
cognizable disparate impact claim
where the complainants articulate both
a statistical race-based disparity and a
specific, multifaceted policy with a
robust causal connection to that
disparity and stated that the defendants
have not shown that Inclusive
Communities required more.18

Many commenters recommended that
HUD, rather than implement the
Proposed Rule, focus its efforts on
enforcing the 2013 Rule, prohibiting
housing discrimination, enforcing the
ADA, expanding access to affordable

14 City of Cook v. Bank of Am. Corp., 2018 U.S.
Dist. LEXIS 55138, at *25 (N.D. Ill. Mar. 30, 2018).

15 Tex. Dep't of Hous. & Cnty. Affairs v. Inclusive
Cmtys. Project, Inc., 135 S, Ct. 2507, 2523 (2016).

16 2018 U.S. Dist. LEXIS 55138.

17 261 F, Supp, 3d. 20, 31-34 (D.D,C, 2017).

18 fd, at *29,
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housing, and more robust fair housing
education, Another commenter
mentioned that HUD has a direct
responsibility to ensure equal
opportunity and freedom from
discrimination, even if that
discrimination is subtle or covert.
Several commenters contended that
disparate impact liability under the Fair
Housing Act is critical for this end, and
the 2013 Rule provides clear standards
for assessing this responsibility in the
market. Commenters stated that the
current regulation strikes an appropriate
balance or has been effective while
other commenters mentioned the effects
of policies, rather than intent, in
supporting the current regulation.
Commenters also suggested that HUD
aud DOJ amend its November 2016 Joint
Statement to include the other types of
discriminatory actions that restrict
manufactured housing,

Commenters stated that disparate
impact liability was vital for handling
housing cases after natural disasters
such as Hurricanes Katrina and Rita and
led to more affordable rental housing in
Louisiana and families receiving relief
from discriminatory recovery policies.
Commenters provided the following
examples of the types of alleged
discrimination or societal problems
which would be harder to challenge or
solve under the Proposed Rule:
Landlords imposing unfair requirements
in their properties; gentrification
leading to demolition of properties and
eviction of low income families of color;
neighborhoods having unaddressed high
crime rates and underfunded schools;
unfair distribution of city services,
parks, and maintenance; zoning rules
that keep lower income families out of
better funded neighborhoods and
communities; facially neutral policies
by banks and lending institutions which
limit the availability of home mortgage
products based on the value of the home
being purchased, which
disproportionately exclude minorities
from access to mortgages; landlords who
refuse to rent to those who use housing
choice vouchers or who receive
disability benefits; financial and real
estate institutions adopting policies that
result in the blight and deterioration of
foreclosed homes in communities of
color; segregation of protected classes;
the growing wealth gap; decreasing
home-ownership rates for minority
populations; redlining; and
unreasonable lease restrictions imposed
by landlords. Another commenter
suggested that the Proposed Rule would
negatively impact federal, state, and
local government budgets by increasing
housing instability,

A commenter stated the Proposed
Rule would impact public schools,
which are dependent on community
funding, creating disparities among
schools. Some commenters opposed the
Proposed Rule because they believe it
could negatively impact the health and
safety of people reliant on affordable
housing, increase housing instability,
harm the overall economy, and reduce
access to better neighborhoods and
schools.

One commenter stated that the
proposed changes will bring uncertainty
to the credit industry and put
innovation at risk. Another commenter
stated that the Proposed Rule threatened
challenges to discriminatory zoning and
land use planning decisions involving
manufactured housing. The commenter
stated that the 2013 Rule served a vital
role in educating communities,
including public officials, about the
unintended consequences of local
zoning and land use decisions, which
can prohibit the availability of
affordable housing, and was concerned
that the Proposed Rule would deny the
educational aspects that the 2013 Rule
provides.

Some commenters provided statistical
evidence of their claims, including data
relating to housing displacement. One
commenter stated that research has
shown that housing interventions for
low-income individuals improve health
outcomes and reduce health care costs
while families and children
experiencing housing instability,
including homelessness, have a greater
risk of suffering detrimental physical
and mental health effects, which
increases with the frequency of
instability. Commenters further stated
that the Proposed Rule might
specifically harm Housing Choice
Voucher participants by limiting where
they can live, which would increase
reliance on public welfare and place an
undue burden on states/localities to
meet federal child welfare requirements.
Other commenters believed that the
Proposed Rule could allow landlords to
exclude all veterans, exclude veterans
who do not hold full-time jobs, or
charge veterans fees not charged to other
residents.

Commenters remarked that the
Proposed Rule would only serve to
make more people homeless when the
administration is constantly speaking
about the homeless epidemic. One
commenter noted that the Proposed
Rule would result in individuals losing
their housing, which could in tum lead
to increased homelessness and that
excluding them from their original
safety nets will not benefit society.

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Commenters expressed concern for
the ability of specific populations to
maintain affordable housing, such as
seniors, people living in low vacancy
areas, individuals without access to
stable housing, and individuals living in
rural areas. One commenter wrote the
Proposed Rule could allow landlords ta
exclude seniors who don’t hold full-
time jobs. Another commenter cited a
study showing that 76% of adults age
50+ prefer to stay in their current homes
and noted the aging population faces
discrimination often closely related to
the likelihood of their acquiring
disabilities. Another commenter
mentioned that it would be too
burdensome for the elderly to prove
they need basic accommodations, such
as a grab bar in the bathroom. Another
commenter pointed out that senior
homelessness in their city has risen in
the past year and policies basing
occupancy on employment status can
exacerbate this trend, which the
Proposed Rule will not be effective to
fight.

Some commenters expressed concern
about the Proposed Rule’s impact on
housing opportunities for LGBTQ
individuals and queer people of color
because without disparate impact it
would be extremely difficult to prove
sexual orientation discrimination and
that LGBTQ people are
disproportionately likely to experience
housing discrimination. One commenter
cited HUD’s research regarding
discrimination against LGBTQ
individuals. One commenter expressed
concern that religious exemptions
would allow federal insurance
contractors to discriminate against
LGBTQ people who are not protected by
the Civil Rights Act.

Commenters also objected to the
Proposed Rule because religious
discrimination in housing provisions
often come through facially neutral
policies. One commenter remarked that
the Proposed Rule undermines the path
for legal redress for those in the Jewish
community. Another commenter cited
an example where an apartment
management company required pool
dress code compliance based on
practices of the Orthodox Jewish
community and a complaint against a
homeowner’s association that normally
prohibited outdoor lights and
decorations but allowed winter holiday
decorations,

Commenters remarked that the
Proposed Rule will also make it harder
for individuals to avoid falling victim to
discrimination based on sex.
Commenters worry that communities
composed largely of low-income people
of color will experience more inequities,
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such as less well-maintained roads and
litter cleanup, as a result of the
Proposed Rule. Another commenter
remarked that low-income Americans
receiving government benefits do not
often receive their checks on the first of
the month, which makes them late in
paying their rents and vulnerable to
evictions in cases where Landlords use
neutral policies that all rent be paid on
the first of the month.

Commenters stated that the Proposed
Rule would increase harms to domestic
violence survivors, and HUD fails to
address the Proposed Rule’s
consequences regarding policies such as
emergency transfer requirements, crime-
free policies, nuisance ordinances,
unjust tenant-screening policies, and
source-of-income discrimination.

Commenters highlighted that HUD
has recognized the 2013 Rule’s
applicability to discrimination against
survivors of domestic violence, dating
violence, sexual assault, and stalking
face in “HUD Office of General Counsel
Guidance on Application of Fair
Housing Act Standards ta the Use of
Criminal Records by Providers of
Housing and Real Estate-Related
Transactions, April 4, 2016”, and “HUD
Office of General Counsel Guidance on
Application of Fair Housing Act
Standards to the Enforcement of Local
Nuisance and Crime-Free Housing
Ordinances Against Victims of Domestic
Violence, Other Crime Victims, and
Others Who Require Police or
Emergency Services, September 13,
2016.” 19

A commenter stated that the 2013
Rule has been used to protect non-
English speakers’ equal access to
housing. Commenters stated that the
Proposed Rule would harm people from
a different national origin. One
commenter noted that they have used
the 2013 Rule to stop policies that
blocked legal refugees from renting
homes. Other commenters used the
2013 Rule to force cities to reconsider
development policies that displaced
immigrants. A commenter remarked that
the Proposed Rule has unintended
negative effects on persons like foreign

19.8, Department of Housing and Urban
Development, HUD Office of General Counsel
Guidance on Application of Fair Housing Act
Standards to the Enforcement of Local Nuisance
and Grime-Free Housing Ordinances Against
Victims of Domestic Violence, Other Crime Victims,
and Others Who Require Polica or Emergency
Servicas, HUD.gov (Sept. 13, 2016), https://
www.hud,gow/sites/documents/
FINALNUISANCEOHDGDNCE.PDF: HUD Office of
General Counsel Guidance on Application of Fair
Housing Act Standards to the Use of Criminal
Records by Providers of Housing and Real Estate-
Related Transactions, HUD.gov (April 4, 2016),
Atips://www hud gov/sites/documents/HUD_
OGCGUIDAPPFHASTANDCH.PDF.

university students and persons on
fellowships, even fellows funded by the
U.S. government, who end up making
risky housing decisions to afford their
stay.

Sons commenters expressed concern
that the Proposed Rule would make it
more difficult for people with
disabilities to request reasonable
accommodations in order to use and
enjoy housing and that it would make
policy challenges, such as against a
homeowner's association, more difficult
to bring for people with disabilities. A
commenter stated that the 2013 Rule has
provided people with disabilities with
recourse in the face of pervasive
discrimination and barriers to
accessible, equitable housing. According
to a commenter, HUD has failed to
analyze and disclose the consequences
of curtailing disparate impact liability
on people with disabilities that would
arise under the Proposed Rule.

A commenter stated that the effect of
the Proposed Rule would be to further
isolate people with disabilities from
family relations, social contacts, work
options, economic independence,
educational advancement, and cultural
enrichment and stigmatize them as
incapable or unworthy of participating
in community life. One commenter
remarked that people with disabilities,
including people with mobility
impairments, blindness, and deafness,
already face barriers finding housing
that is accessible and that the Proposed
Rule would be yet another barrier. One
commenter suggested that the Proposed
Rule would allow lenders to
discriminate based on borrowers’ Social
Security Disability Income. Another
commenter stated housing providers
hide behind insurance policies that
have animal or breed restrictions to
deny access to people with emotional
support animals. Several commenters
suggested that the Proposed Rule could
allow landlords to exclude people with
disabilities who do not hold full-time
jobs. Commenters observed that the
Proposed Rule would undermine the
integration mandate in the Supreme
Court’s decision in Olmstead and
implementation of the Americans with
Disabilities Act (ADA).2°

Commenters remarked that people in
recovery from drug addiction and
alcoholism are protected as people with
disabilities under the Fair Housing Act.
Some commenters remarked that in
many cases, local governments use
facially neutral but discriminatory
zoning and land use tactics that prevent
people with substance abuse disorders

2042 U.S.C, 12101 ef seq.; Olmstead vy, L.C. by
Zimring, 527 U.S. 581 (1999).

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from being able to live in the supportive
environment of a recovery home.
Commenters believed the Proposed Rule
would make it significantly harder to
prove discrimination in housing for
policies that seem neutral, but in
practice unfairly exclude certain groups
of people or segregate certain
communities and further limit access to
a critical recovery sapped

Commenters state at the
intersection of protected classes
compounds the negative impacts of the
Proposed Rule, as often a person in one
protected class belongs to another
protected class, such as women who are
victims of domestic violence, One
commenter remarked that the
intersection of race and gender is the
most reliable factor in predicting
eviction in Philadelphia (out of the
Philadelphians that have evictions, 70%
are women of color). Commenters
believe that the Proposed Rule would
exacerbate existing discriminatory
outcomes for women of color since it
would allow housing providers to evade
awareness of the impact of their own
discriminatory practices.

One commenter stated that the
Proposed Rule could protect banks with
tiered interest rate policies even though
such policies may have a disparate
impact on homebuyers in
predominately minority neighborhoods
with lower home values. Some
commenters argued that the Proposed
Rule would be financially burdensome
or make compliance more difficult for
small businesses. One commenter said
the Proposed Rule undermines fair
market competition because smaller
companies or new entrants to the
marketplace that cannot assert that they
also establish industry standards will
face a steep, potentially insurmountable
barrier to compete in this space.

Commenters remarked that the
Proposed Rule would make it more
difficult for individuals with criminal
records to obtain housing, because
housing providers could have
admissions policies such as blanket
bans on people with criminal records, or
with arrests and convictions that arise
from the criminalization of
homelessness and do not pose a safety
concern. One commenter provided an
example of how someone with a minor
charge or misdemeanor that they had
from 20+ years ago can impact their
housing access. Another commenter
cited statistics regarding the number of
minorities incarcerated in Illinois and
recidivism rates in support of the
argument that stable housing is
necessary for former offenders. A
commenter noted that Cook County
recently passed the Just Housing
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Ordinance,21 which acknowledges that
background check policies have a
discriminatory and disparate impact on
Black and Latinx communities, as well
as people with disabilities, The
commenter believed this ordinance is an
example of a local government
dedicating its resources to the principles
of the 2013 Rule and proposes HUD
keep the 2013 Rule since it strengthens
communities by allowing victims of all
types of systemic discrimination to seek
recourse and change policies. A
commenter remarked that the Proposed
Rule would limit the ability of
advocates to negotiate with landlords to
adopt more inclusive background
policies. A commenter remarked that
barriers to housing based on an
individual's criminal record can also
arise from children with criminal
records, a disproportionate number of
whom are children of color, which
similarly affects families’ ability to stay
united in adequate housing. Another
commenter observed that men of color
are incarcerated at a higher rate, they
disproportionately face more obstacles
to housing than their white
counterparts, and thus disparate impact
is what currently protects them from the
effect of institutionalized racism.

One commenter noted that the 2013
Rule and HUD guidance was
instrumental in adopting a fair housing
ordinance related to the use of criminal
records in housing decisions, One
commenter wroie that disparate impact
theory is extremely important in small
cities and rural areas as a viable means
of enforcing fair housing rights,
especially for protected classes. Another
commenter specifically addressed the
impact of the Proposed Rule on
manufactured housing, related to
disparate impacts from state actions on
property used for manufactured
housing. The comment cited HUD’s role
in the White House Council on
Eliminating Barriers to Affordable
Housing, and HUD’s recent housing
finance reform proposal,2? which
includes a section on eliminating such
barriers to the use of manufactured
housing as affordable housing. The
commenter argued that HUD has broad
preemption authority with respect to
zoning and land use planning, which
negatively impacts the availability of

21 Cook County Government, Just Housing
Amendment to the Human Rights Ordinance,
cookcountyil.gov, hitps://www-.cookcountyil.gov/
content/just-housing-amendment-human-rights-
ordinance.

32 Exec. Order No. 13,678, 64 FR 30853 (June 25,
2019); U.S. Department of Housing and Urban
Development, Housing Finance Reform Plan,
HUD. gov (Sept. 2019), hitps://www.hud.gov/sites/
dfiles/Main/documents/Housing-Finance-Reform-
Plan0919.pdf.

affordable housing that goes together
with preemption authority over
disparate impact. The commenter
encourages HUD to revise the Proposed
Rule as it relates to discriminatory
zoning and land use requiremenis, to
preserve the ability of plaintiffs to
pursue legitimate disparate impact cases
in these instances, including where it
affects the availability of manufactured
housing.

Commenters wrote that the 2013
Rule’s disparate impact analysis helps
defend protected classes and those who
are being discriminated against,
ensuring equality in society and fair
housing policy by using data-driven
approaches to modify facially neutral
yet discriminatory policies that impose
unnecessary barriers to housing.
Commenters noted that the 2013 Rule
has been a valuable tool for victims,
communities, fair housing practitioners,
and the housing industry, to challenge
structural inequalities, in holding
potential defendants accountable for
unintentional and intentional
discrimination, as well as combating
implicit bias, and has been instrumental
in helping to remedy or alleviate
discriminatory practices, including
historical patterns of segregation. Some
commenters provided examples of cases
where the 2013 Rule protected tenants
from discriminatory housing practices,
specifically shielding tenants who
receive housing subsidies from being
subjected to rental increases or denied
insurance. Other commenters used
personal and historic examples to
highlight the effectiveness of the 2013
Rule in combatting discrimination.

One commenter stated that HUD is
allowing public money to fund
discrimination in violation of law and
another commenter stated that the
Proposed Rule constitutes a human
Tights violation. Another commenter
stated the Proposed Rule would result
in fewer investigations by HUD’s Office
of Fair Housing and Equal Opportunity
(FHEO). Commenters stated that HUD
should not adopt the Proposed Rule
because the 2013 Rule is consistent with
HUD’s mission, including the statutory
requirement to affirmatively further fair
housing under the Fair Housing Act, the
U.S. Constitution, and historic
precedent interpreting disparate impact
under the Fair Housing Act.

Some commenters cited the societal
benefits of the 2013 Rule, including
health equity, healthy families, a
healthy environment, educational
achievements, long-term earnings, and
community integration of individuals
with disabilities. In spite of the Fair
Housing Act’s passage and this national
policy, one commenter stated that there

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are over 4 million instances per year of
discrimination impeding people’s
ability to secure affordable insurance
products, access quality credit, rent
affordable and safe housing, and obtain
accessible housing units, which many
commenters argued were able to be
combated by the uniform standard of
the 2013 Rule, These commenters also
stated that the 2013 Rule is supported
by the Inclusive Communities decision
and furthers fair housing and fair
lending. Several commenters
highlighted the positive impact the 2013
Rule had on families with children,
such as challenging restrictions on the
number of occupants in a unit, as well
as restrictions on the use of amenities,
where discriminatory intent may not be
shown. Another commenter cited data
showing that there were 2,675 familial
status discrimination complaints filed
in 2017, the majority pertaining to rental
market discrimination. Other
commenters feel that without the 2013
Rule’s legal remedies, the country is in
danger of returning to the pre-1988
conditions in which one-quarter of
rental housing was restricted against
families with children. Commenters also
stated that by making disparate impact
cases harder to bring, the Proposed Rule
would have an adverse effect on those
impacted by historic patterns of
segregation, which are still present
today.

One commenter also noted that under
the Act, HUD is currently tasked with
determining the reasonableness of an
occupancy standard considering factors
such as size of bedroom and age of
children, and that with the Proposed
Rule, municipalities would not be
required to explain how restrictions on
bedroom occupancy related to a
legitimate government objective.
Another commenter supported the 2013
Rule because it allowed civil rights
“watchdogs” to hold housing providers
and others accountable, including a
2018 federal lawsuit that challenged a
property management company’s policy
that was having a disparate impact on
African Americans in Chicago. Other
commenters stated that the 2013 Rule is
balanced by providing a well-tailored
pleading standard, a defense to
disparate impact claims, and a three-
step, burden-shifting process which
addresses discrimination while
preventing frivolous lawsuits. Another
commenter stated that the 2013 Rule is
critical in negotiations with housing
providers even before any official
complaint is filed.

Commenters stated that there is no
need for the Proposed Rule to shift the
balance of interest for parties to make
cases more difficult to bring, as the
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current regulations have not led to an
increase in unwarranted Fair Housing
Act litigation or compliance costs. With
the exception of a lawsuit filed by
insurance trade groups, commenters
stated that none of the wide array of
entities regulated by the 2013 Rule
challenged its legality.

Some commenters believed that the
Proposed Rule sought to legalize
housing discrimination and segregation
or seck to reframe disparate impact as
classic disparate treatment. Another
commenter stated that HUD has failed to
ask how the Proposed Rule might
increase or decrease housing inequality
or segregation, In this world of rapid
societal change, the standards for
proving disparate impact under the Fair
Housing Act should stay the same so
that the Act’s remedial purpose can be
effectuated, and the 2013 Rule should
not be changed. A commenter added
that there has been less litigation
because of Inclusive Communities and
the 2013 Rule. The commenter stated
that the 2013 Rule’s clarity allows
parties to make informed decisions
about how policies or practices are
impacting protected classes and cases
are resolved quicker and more
efficiently.

Commenters noted that the current
and Proposed Rules are both toa
complicated and proposed HUD make
Fair Housing Act regulations simpler sa
that individuals might have a chance to
bring a successful claim. Examples
suggested included simplified and
clearer guidelines with examples for
evidence required.

One commenter suggested that HUD’s
questions were soliciting positive
responses from banks, landlords, or
other similar defendants who welcome
a rule drafied heavily in their favor,
whereas the Proposed Rule would have
a significant negative economic impact
on protected class households as they
will incur greater costs when seeking
housing, loans and insurance, and such
households will be unable to surmount
the barriers created by the Proposed
Rule. One commenter said both
Inclusive Communities and the
Proposed Rule make disparate impact
claims more difficult and complicated,
and therefore more expensive, and may
discourage such claims because they
appear to increase burdens and costs for
complainants, shifting those costs from
respondents. Another commenter
asserted plaintiffs may review the
Proposed Rule and not bring cases due
to the conclusion that their claim
against an insurance company will not
be successful, which will greatly
decrease litigation costs and risk of
litigation cost to insurance companies;

however, it will do nothing to solve the
real-world discrimination wrought by
unfair and potentially discriminatory
policies insurance companies use to
perpetuate housing segregation.

HUD Response: HUD appreciates the
insights provided. HUD disagrees that
the Proposed Rule deviates from the
agency's mission or the Fair Housing
Act’s purpose, or that it allows
discrimination, HUD thoughtfully
considered these comments and made
several changes to provisions of the
Proposed Rule in response, as discussed
in more detail elsewhere. Further, HUD
will continue its efforts to enforce the
Fair Housing Act and other civil rights
statutes within its purview. As
discussed in HUD’s Proposed Rule, the
Supreme Court did not rule specifically
on the validity of the 2013 Rule when
it decided Inclusive Communities, but
only on the issue of whether disparate
impact theory is cognizable under the
Fair Housing Act. As discussed further
below, the Court’s reference to HUD’s
2013 Rule was only in passing. The
changes being made by the Proposed
and Final Rules are within HUD’s
discretion to interpret the Fair Housing
Act, and are consistent with the
direction of Inclusive Communities to
ensure that the constitutional concerns
raised by the Court are fully addressed.
The Final Rule will afford the use of
data-driven approaches to modify
facially neutral yet discriminatory
policies, while at the same time
providing clarity to members of the
public seeking to comply with the Fair
Housing Act or bring a claim for
disparate impact that meets the
constitutional requirements outlined in
Inclusive Communities. The changes
made will also ensure a balanced
approach to disparate impact litigation
by providing a roadmap for plaintiffs
and protecting against frivolous lawsuits
while still allowing disparate impact
liability to be used to hold violators
accountable, The changes also provide
guidance for litigants to assist in
navigating the limitations that courts
have placed on such claims.

HUD acknowledges commenters’
concerns regarding changes being made
to the 2013 Rule but notes that the Final
Rule still recognizes disparate impact as
a viable theory of discrimination, which
can be used to hold violators
accountable for discriminatory policies
and practices. The Final Rule also
allows municipalities and local
governments to implement ordinances
and laws that reflect the needs of their
distinct communities while providing a
tool to challenge policies that have a
disparate impact on protected classes.
HUD believes that the Final Rule will

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better serve the 2013 Rule’s purposes,
including educating the public
regaTding the purpose and scope of
disparate impact law, as it builds upon
it by clarifying provisions in light of
Inclusive Communities. It is important
to note that with regard to commenters’
statements surrounding the importance
of disparate impact as a theory, the
Final Rule does not remove the
availability of disparate impact claims
to address Fair Housing Act violations,
and does not change the societal
benefits of HUD’s implementation of the
Fair Housing Act. Rather, the Final Rule
provides greater clarity on the use of
disparate impact to address alleged
violations in a manner that increases the
rule’s effectiveness so as to best
eliminate discriminatory practices.

HUD's interpretation is consistent
with Inclusive Communities’
clarification that Gallagher v. Magner
was “decided without the cautionary
standards announced in this
opinion|.]” 25 Gallagher argued that a
Fair Housing Act violation can “arise
from a statistical link between income
and race[.]’’ 24 This standard is clearly
inconsistent with the robust causality
standard articulated in Inclusive
Communities. In HUD’s view, the 2013
Rule presents only a brief explanation of
the requirements for prevailing on a
disparate impact claim, and therefore
invites speculation and does not
provide sufficient clarity about the
standard used by the courts.

This Final Rule, however, is clear and
consistent with the language used in
Inclusive Communities. It does not seta
higher standard than the one currently
used by most courts. The Final Rule
aligns with Inclusive Communities,
which stated that liability in disparate
impact cases cannot be “imposed based
solely on a showing of a statistical
disparity.” 25 The suggestion that
“robust” was intended to modify the
word “requirement” does not change
HUD’s conclusion that plaintiffs are
required to show a robust causal link;
for the causal link to serve as a robust
requirement, it must itself be robust.

Further, as several commenters stated
in support of the Proposed Rule, the
clarification provided by the Final Rule
provides a balanced approach to protect
small banks, businesses and landlords
while still providing a mechanism for
addressing inequality and
discrimination, including zoning and
land use issues. HUD does not believe
the Final Rule will have the suggested

23 Tex. Dep't of Hous. & City. Affairs v, Inclusive
Cmtys. Project, Inc., 135 S, Ct. 2507, 2524 (2015).

24619 F. 3d 623, 836 (8th Cir, 2010).

25 Inclusive Communities, at 2512.
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negative effects on the various
constituencies and institutions cited in
the comments because, as discussed
throughout this preamble, HUD believes
that this Final Rule still allows disparate
impact claims to be brought when
appropriate under law, and, therefore,
these constituencies and institutions
will still have disparate impact claims
as a basis for relief under the disparate
impact doctrine.

As to the comment regarding
soliciting positive comments, HUD has
submitted this Proposed Rule for public
comments in good faith, has welcomed
all comments and given all comments
serious consideration, HUD made
significant changes in this Final Rule in
light of comments, such as removing the
defense based on the existence of a
model or algorithm.

HUD believes this Final Rule provides
greater clarity, in the wake of Inclusive
Communities, regarding the
requirements for bringing and defending
against disparate impact claims. This
Final Rule is designed to clarify what
evidence is needed in order to
successfully challenge a policy or
practice, which HUD believes will lead
to a greater percentage of successful
disparate impact claims while reducing
the number of claims that are not
appropriate under the disparate impact
theory.

Further, as noted above, nothing in
this Final Rule alters the myriad other
mechanisms for protecting individuals
against intentional housing
discrimination,

This Rule does not alter the rights and
protections available under the Fair
Housing Act. For example, housing
providers must make reasonable
accommodations to policies or practices
that interfere with the ability ofa
persons with a disability to have an
equal opportunity for the full enjoyment
of housing under that Act. This Rule
does not change those protections.
Further, a policy with widespread effect
could still be successfully challenged
under this Rule.

With regard to issues of sexual
orientation and domestic violence, this
Final Rule leaves unchanged HUD’s
regulatory protections, which are
separate from the Fair Housing Act.2®

With regard to lending and insurance
practices, this Final Rule removes the
proposed defense solely based on the
defendant following a risk-assessment
model or algorithm that had acceptable
characteristics, thereby leaving such
cases to be examined under the general

26 See, e.g,, Violence Against Women
Reauthorization Act of 2013: Implementation in
HUD Housing Programa, #1 FR 80724.

framework, with the same defenses
available in other types of disparate
impact cases.

With regard to age, legal protections
under the Age Discrimination Act of
1975, for example, remain unaffected.
The civil rights laws and authorities that
apply to HUD programs are listed here:
hittps://www.hud,gov/program_offices/
fair_housing_equal_opp/fair_housing_
and_related_law.

As to the complexity of the Proposed
Rule, disparate impact claims often
require the resolution of inherently
complex matters. HUD’s Final Rule
clarifies the legal standards and
procedures and aligns them with
Inclusive Communities, the seminal
Supreme Court ruling in this area.

HUD also notes that statistics-based
claims, like all other claims, would be
required to meet pleading standards
under the FRCP. HUD recognizes that
plaintiffs may not have access to
statistical data needed to prove a claim.
However, plaintiffs who are relying on
statistical data to make a claim must be
able to sufficiently plead the existence
of statistics sufficient to meet pleading
standards.

Comment: The Proposed Rule
contradicts HUD’s prior findings and
other relevant authorities.

Some commenters stated that the
Proposed Rule contradicted HUD’s
previous statements, including previous
guidance regarding cognizable disparate
impact claims related to criminal record
screening and HUD’s determination that
exemptions and safe harbors undermine
the Fair Housing Act’s remedial
purpose. One commenter specifically
noted that in 2013, HUD found that
regulated entities have successfully
followed the existing rules since at least
1994, and the existing rules have
permitted them to “conduct consistent
self-testing and compliance reviews,
document their substantial, legitimate
nondiscriminatory interests, and resolve
potential issues so as to prevent future
litigation.”

One commenter noted that the
Proposed Rule did not account for
existing case law or HUD’s own prior
positions, and HUD, therefore, did not
rely on the administrative knowledge
and experience which largely account
for the presumption that Congress
delegates interpretive lawmaking power
to the agency. The commenters wrote
that HUD is, therefore, not within the
scope of HUD’s delegated authority.
Additionally, several commenters stated
that, through the Proposed Rule, HUD is
improperly substituting its judgment for
that of Congress and the judiciary. Some
commenters stated that HUD lacked the
authority to make many of the changes

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in the Proposed Rule because Congress
ratified the Act in 1988 without
disturbing disparate impact precedent
and the current 3-step burden shifting
framework, Commenters stated further
that this rules out use of Chevron
deference. Commenters noted that as
HUD acknowledged in the 2013 Rule,
HUD does not have the power to create
disparate impact law.

Some commenters opposed the
Proposed Rule because they stated that
it ignores and is inconsistent with
existing agency guidance dating back to
1993, such as the 1994 Joint Policy
Statement on Discrimination in
Lending, signed by HUD, the
Department of Justice, and nine other
federal regulatory and enforcement
agencies.2? That Statement applies to
lending discrimination under both the
Act and Equal Credit Opportunity Act
(“ECOA") 2 and describes general
principles that these agencies would
consider in identifying lending
discrimination. Moreover, commenters
stated the Proposed Rule deviates from
the Statement in various ways—for
example, by imposing a requirement to
plead that a policy is artificial, arbitrary,
and unnecessary; by deleting the
requirement that a justification cannot
be hypothetical or speculative; and by
creating exemptions for the use of
models. Commenters suggested that
lending institutions subject both to
ECOA and the Act would be left to
reconcile two conflicting regimes and
inconsistent agency positions, while the
2013 Rule was drafted explicitly to
acknowledge and avoid this
unnecessary burden. Another
commenter stated that the Proposed
Rule conflicts with the Consumer
Financial Protection Bureau and federal
regulators’ guidance on disparate impact
claims under ECOA, as well as with
Title VII precedent (regarding the
prohibition of employment
discrimination},

HUD Response: HUD appreciates the
comments regarding the interplay of the
Proposed Rule and other HUD guidance,
jurisprudence and findings, but
generally believes that the changes from
the 2013 Rule are in line with binding
authorities and otherwise within HUD’s
discretion to make for the reasons set
forth herein. We note that sub-
regulatory guidance is generally not
binding. As discussed by commenters
supporting the changes, this Final Rule
provides greater clarity to all parties

2? Policy Statement on Discrimination in Lending,
59 FR 18266 (April 15, 1994), available at: hiips://
www.govinfo.gov/content/pkg/FR-1994-04-15/himl/
94-9214. hin.

2815 U.S.C. 1691 ef seq.
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involved in housing transactions
regarding disparate impact liability.
Further, HUD, as the agency charged
with administering the Fair Housing
Act,29 has extensive experience
administering the Fair Housing Act and
in investigating and adjudicating claims
arising under the Act, which provides it
with the expertise to modify and create
rules interpreting it. In addition, HUD
has specific legal authority to issue rules
and regulations to carry out the Fair
Housing Act.2° HUD disagrees that the
Proposed Rule was designed to restrict
the scope of judicial review on Fair
Housing Act claims; HUD sought ta
clarify for all parties the burdens
involved in bringing or defending
against a disparate impact claim under
the Act.

Where HUD departs from past
authoritative positions, it does so
cousistent with the Supreme Court’s
opinion in Inclusive Communities, as
discussed further elsewhere in these
responses, and consistent with the
position that disparate impact claims
are cognizable under the Act. As ta
puidance for disparate impact claims
under ECOA and Title V0, while those
were relevant models at the time of the
2013 Rule, further consideration as well
as the issuance of the Supreme Court’s
opinion in Inclusive Communities has
led HUD to determine that it should use
its discretion in interpreting Title VII
disparate impact law to change its
regulations in a way that HUD believes
will best advance the purpose of the
Fair Housing Act.

Comment: The Proposed Rule is not
compliant with Inclusive Communities.

Several commenters provided
arguments regarding the scope and
breadth of the Supreme Court's decision
in Inclusive Communities. A commenter
suggested that HUD contradicted itself
when stating that the Proposed Rule
will enable parties to understand their
responsibilities without the need to
research and compile case law since
Inclusive Communities, while also
admitting that the 2013 Rule codified
then-prevailing case law for bringing a
discriminatory effect claim and the 2013
Rule provided clarity to all parties
involved in a case. Another commenter
opposed the Proposed Rule because the
Supreme Court held that the Fair
Housing Act recognized disparate-
impact liability and approved the
framework for establishing that liability
in HUD's 2013 Rule, Longstanding
judicial and agency interpretation—and
Congress’s reaffirmation of that
interpretation in the 1988 amendments

28 See 42 U.S.C. 3608(a).
30 See 42 U.S.C, 36144.

to the Fair Housing Act—were a central
reason for the Supreme Court’s
recognition of disparate impact liability
in Inclusive Gomumunities.31 The Court
emphasized the continued importance
to “residents and policymakers [who]
have come to rely on the availability of
disparate-impact claims” and quoted a
brief filed by a number of states arguing
that ‘‘[wlithout disparate impact claims,
States and others will be left with fewer
crucial tools to combat the kinds of
systemic discrimination that the Fair
Housing Act was intended to
address,” 92

One commenter stated that the 2013
Rule, Inclusive Communities, and
subsequent case law align in that they
all recognize the validity of disparate
impact claims, but the Proposed Rule
does not because it requires more
burdensome standards for valid
disparate impact claims than those
imposed by the Supreme Court. The
commenter recommended that HUD use
the standards announced by the Gourt
and be neither more nor less restrictive.
One commenter wrote further that
Inclusive Communities adopted the
construction of the 2013 Rule, based on
statutory interpretation and four
decades of Federal jurisprudence.
Commenters cited a brief filed by HUD
in 2016 to note that Inclusive
Communities was consistent with the
2013 Rule. Commenters stated that mast
circuit courts who have considered
disparate impact in fair housing or other
types of cases have relied on Inclusive
Communities, and the 2nd and 10th
Circuits have relied on HUD’s
interpretation or applied their own
standards. A commenter continued by
arguing that there are no recent cases
that are inconsistent with either
Inclusive Communities or the 2013 Rule.

Commenters stated further that the
Supreme Court in Inclusive
Communities discussed the 2013 Rule—
including its requirements for making
out a prima facie case and burden-
shifting—without suggesting that the
2013 Rule required revision.23 A
commenter stated that the petitioner in
Inclusive Communities was only granted
certiorari on the question of whether the

31 Inclusive Communities, at 2525,

32 Id,

33 See, e.g., id, at 2514-15 (describing prima facie
case and. burden-shifting in the 2013 Rule); id, at
2522-23 (describing defendants’ burden “to state
and explain the valid interest served by their
policies” and HUD’s decision in 2013 Rule not to
use term “business necessity” in formulating
defendant's burden); id. at 2523 (after describing
concerns raised by specific claim at issue in case,
observing with approval that HUD’s 2013 Rule
“does not mandate that affordable housing be
located in neighborhoods with any particular
characteristic") (quoting 76 FR 11476)

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Fair Housing Act permits disparate-
impact claims, and not what the
standards and burdens are for
adjudicating such claims. Thus, the
Court specifically declined to assert
jurisdiction over questions regarding the
appropriate standards and burdens.#4
Therefore, parties and the many amici
who briefed the case spent little time
contesting what the burdens and
standards are in disparate-impact
litigation.

A commenter also noted that
Inclusive Communities referred to Title
VII as an interpretive touchstone, but
Title VI is not referenced in HUD’s
Proposed Rule, Later courts generally
agree that Inclusive Communities
dictates continuing reliance on
preexisting Fair Housing Act and Title
VII law in resolving granular questions
about disparate impact liability.45
Commenters provided examples in
support of the contention that district
courts have encountered no problems in
continuing to apply the 2013 Rule and
long-standing doctrine post-Inclusive
Communities, including citations to 36
district court cases that have cited the
2013 Rule since Inclusive Communities.

Another commenter suggested that
any agency guidance deviating from
Inclusive Communities is not entitled to
deference because the Supreme Court
did not rely on the current regulation for
its holding in Inclusive Communities;
the Court undertook its own analysis of
the Fair Housing Act and HUD has only
limited authority to deviate from circuit
precedent when ambiguous statutory
provisions are at issue. Commenters
suggested that the Proposed Rule goes
beyond that authority and would raise
constitutional concerns if followed,
while the 2013 Rule is a cognizable
theory under the Fair Housing Act and
constitutional under the Fourteenth
Amendment.

HUD Response: HUD notes and agrees
with commenters who contend that
Inclusive Communities primarily
discussed whether disparate impact is
cognizable under the Fair Housing Act;
however, given the Court’s fulsome
explication of the constitutional
limitations on disparate impact liability,
HUD believes the 2013 Rule should be
modified to provide further clarity in
light of the explanation provided in
Inclusive Communities, and to better
reflect HUD's interpretation of the Fair
Housing Act. HUD agrees with
comments that the Final Rule

44See Sup. Ct. Rule 14(1)(a).

45 See de Heyes v. Waples Mobile Home Park L.F.,
903 F.3d 415 (4th Cir. 2018); Wetzel v. Glen St.
Andrew Living Cmty., LLG, 901 F.3d 856 (7th Cir,
2018); and Nat'l Fair Hous. Alliance v. Travelers
Indem. Co., 261 F. Supp. 3d 20 (D.D.C. 2017),
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implements standards consistent with
those articulated by the Court. HUD also
agrees with commenters, as discussed
elsewhere, that Title VII continues to
aid in understanding disparate impact
liability under the Fair Housing Act but
notes that the different subject matter
necessarily requires distinctions
between the areas of law, as recognized
in Inclusive Communities itself. HUD
notes that while courts may continue to
cite to the 2013 Rule as guidance or to
provide a framework for disparate
impact law, that does not necessarily
mean that the 2013 Rule is the only
permissible interpretation of disparate
impact liability under the FHA, As
noted, one court of appeals has
concluded that the 2013 Rule is in fact
inconsistent with Inclusive
Communities, because Inclusive
Communities “‘announce[d] a more
demanding test than that set forth in the
[2013] rule.” 36

HUD’s past positions in litigation
briefs are not binding on HUD in
rulemaking. HUD issued an ANPR
soliciting comments on whether HUD’s
2013 Rule is inconsistent with Inclusive
Communities.37 HUD received
numerous comments in response
concerning the 2013 Rule and Inclusive
Communities. Additionally, in October
2017, the Secretary of the Treasury
issued a report that explicitly
recommended that HUD reconsider
applications of the 2013 Rule, especially
in the context of the insurance
industry.28 Based on these comments,
HUD concluded that the 2013 Rule did
not adequately align with Inclusive
Communities and did not properly
reflect HUD’s interpretation of Title VII
disparate impact law. Therefore, HUD
issued the proposed disparate impact
rule.

This conclusion is borne out by
Inclusive Communities’ three references
to HUD’s 2013 Rule. First, the Court
summarized the burden-shifting test in
HUD’s 2013 Rule as part of its statement
of the case’s history and the basis of the
Fifth Circuit’s decision. Next, the Court
referred to the “leeway to state and
explain the valid interest served by their
policies,” referring to this phase as

36 Inclusive Cmiys. Project v. Lincoln Prop. Go,,
920 F.3d 890, 902 (5th Gir, 2019); see also Fair
Housing Act—Segragative-Effect Claims, 133 Harv.
L. Rev, 1476, 1483 (2020).

3743 FR 28560 (June 20, 2018).

38 Sea Stevan T. Mnuchin and Craig 5S. Phillipa,
U.S, Department of the Treasury Report: A
Financial System That Creates Economic
Opportunities, Asset Management and Insurance,
Treasury.gev (Oct. 26, 2017), Atipa://
www. treasury. gov/press-center/press-releases/
Documents/A-Financial-System-That-GCreates-
Economic-Opporhinities-Asset_Management-
Insurance. pdf.

analogous to the business necessity
defense under Title VII of the Civil
Rights Act and noted that HUD did not
use the term “business necessity”
because that phrase would not be
understood to cover the full scope of
activities covered by the Fair Housing
Act. The Court’s third reference to the
2013 Rule notes that “HUD itself
recognized [that] disparate-impact
liability does not mandate that
affordable housing be located in
neighborhoods with any particular
characteristic,’’ referring to the preamble
of the 2013 Final Rule.®* Outside of
these references, Inclusive Communities
nowhere mentions the 2013 Rule in
connection with discussing the
necessary limitations to disparate
impact liability. In support of their
argument that HUD’s 2013 Rule
contained the necessary limitations to
disparate impact liability, some
commenters pointed out that Inclusive
Communities argued that ‘“‘disparate-
impact lability has always been
properly limited in key respects that
avoid serious constitutional
questions, . ,”49 For these commenters,
the phrase “always” implies that
Inclusive Communities did not need to
invent new limitations to disparate
impact, but instead recognized
limitations that were always there. HUD
disagrees. Inclusive Communities
recognized that limitations to disparate
impact liability already existed, but
elaborated on these restrictions,
showing that such limitations are still
subject to further development. Further,
HUD, as the agency responsible for
interpreting and enforcing fair housing
law, has significant discretion to
interpret ambiguities in Title VII
disparate impact liability. HUD has
taken into consideration the factors
discussed in Inclusive Communities, as
well as other factors HUD has observed
using its expertise in fair housing law,
and has determined that disparate
impact liability is properly considered
through the lens of the restrictions
articulated in this Final Rule.
Regardless, the fact that disparate
impact lability has always been limited
does not answer whether, in HUD’s
view and discretion, the 2013 Rule’s
scope of disparate impact liability was
appropriate, HUD believes that a better
way to evaluate the meaning of this
phrase is to view it in terms of the
broader context of the limitations
outlined by Inclusive Communities,
compared to the limitations contained
in HUD’s 2013 Rule. For example,

3978 FR 11476 (Feb. 15, 2013).
40 Tex. Dep't of Hous. & Cmty. Affairs v. Inclusive
Cmitys. Project, Inc., 135 S, Ct. 2507, 2522 (2015).

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Inclusive Communities elaborates that
*[d]isparate-impact liability mandates
the ‘removal of artificial, arbitrary, and
unnecessary barriers,’ not the
displacement of valid governmental
policies” #1 and that “[a]n important and
appropriate means of ensuring that
disparate-impact liability is properly
limited is to give housing authorities
and private developers leeway to siate
and explain the valid interest served by
their policies.” 42 HUD believes that
neither the “artificial, arbitrary, and
unnecessary” protections nor the “valid
interest” protections are included in
HUD’s 2013 Rule.

In response to the suggestion that
HUD should not rely on dicta in
Inclusive Communities, HUD believes
that the Court’s discussion in Inclusive
Communities of the limitations to
disparate impact is an inherent part of
the opinion and thus is not dicta. Dicta
is generally “a statement in a judicial
opinion that could have been deleted
without seriously impairing the
analytical foundations of the
holding.” 43 In Inclusive Communities, a
discussion of the limitations to
disparate impact formed the analytical
foundations of the Court's holding. The
Supreme Court cited Griggs v. Duke
Power Co.44 and Smith v. City of
Jackson,** which, respectively, ruled
that disparate impact liability was
authorized under Title VU of the Civil
Rights Act of 1964 and under the Age
Discrimination in Employment Act. The
Supreme Court included these citations
both to support the existence of
disparate impact liability under the Fair
Housing Act and to discuss necessary
limitations on disparate impact liability,
stating that “these cases provide
essential knowledge and instruction in
the case at issue.’ 6 The Court stated in
Inclusive Communities both that
disparate impact Liability is important in
uncovering discrimination and that
disparate impact liability is properly
limited in key respects so as to avoid
constitutional questions that might
arise, “‘e.g., if such liability were
imposed based solely on a showing of
a statistical disparity.” 4”

The discussion of limits to disparate
impact liability is essential to discussing
whether a statute authorizes such
liability for at least two reasons. First,
inherent to defining a cause of action is

41 fd. at 2522 (quoting Griggs at 431).

42 Id. at 2522,

28 Goleman v. Greene, 845 F.3d 73, 76 (3d Cir,
2017) (citing United States v. Mallory, 765 F.3d 373,
381 (3d Cir. 2014).

44401 U.S, 424 (1971).

95544 U.S. 228 (2005),

98 Inclusive Communities, at 2511,

47 Inclusive Communities, at 2511-2512.
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defining the general contours of what a
cause of action should look like.
Second, the Fair Housing Act itself
explains that its purpose is to provide
for fair housing ‘‘within constitutional
limitations” #* and the Court in
Inclusive Communities noted that
constitutional issues could arise if
disparate impact liability were not
properly limited. Thus, HUD believes
that the question of limitations to
disparate impact is “fairly included” in
the question at issue in Inclusive
Communities. Further, it seems unlikely
that the disparate impact protections
were mere dicta when the Court
characterized this opinion as having
“announced” “cautionary [disparate
impact] standards,” 49 Indeed, it appears
that the Court predicated its narrow
decision in Inclusive Communities upon
the assumption of “adequate
safeguards.” Further, even if the
applicable language were dicta, HUD
believes it is appropriate to seriously
consider statements made by the Court
when exercising its discretion in
interpreting Title VIII disparate impact
law, instead of “idly ignor[ing]
considered statements the Supreme
Court makes in dicta.” 59

Comment: A change under these
circumstances without better
explanation is arbitrary and capricious
and will lead to increased costs.

Commenters stated that the Proposed
Rule would be arbitrary and capricious
under the Administrative Procedure
Act51 (APA) because HUD offers no
explanation for why the changes in the
Proposed Rule are desirable, fails to
acknowledge that it is changing long-
standing practice at all, fails ta identify
any real-world problems or policy
outcomes addressed by the changes,
fails to consider adverse consequences
and evidence of discrimination, and
does not recognize that the Proposed
Rule would have implications or costs
for federal programs and the entities
that administer them. Inclusive
Communities does not mandate a new
policy.

A commenter noted that Supreme
Court precedent holds that while
agencies may change existing rules,
there must be a reasoned explanation for
disregarding facts and circumstances
that underlay or were engendered by the
prior policy, as well as that this is
especially difficult when a rule reflects
longstanding practice of the agency and

4842 U.S.C, 3601,

49 Jd. at 2524,

"0 Coleman v. Greene, 845 F.3d 73, 77 (3d Cir.
2017) (citing Jn re McDonald, 205 F.3d 606, 612 (3d
Cir. 2000).

51 See 5 U.S.C. 706,

the courts. According to the commenter,
the 2013 Rule has been found to meet
the objectives of Congress and thus the
proposed abandonment of the agency's
prior position results in a rule that
cannot carry the force of law under
Encino Motors.52

Commenters wrote the Proposed Rule
would infringe on core judicial
functions, including courts’ discretion
to consider the unique facts of each
case, especially with regard to land use,
lending and insurance claims. One
commenter noted that in Inclusive
Communities, the court said “no dire
consequences have resulted from
several decades of disparate impact
cases,”’ while another commenter stated.
that HUD’s argument that entities may
resort to racial quotas to avoid disparate
impact liability under the 2013 Rule is
not supported by any evidence, Other
commenters opposed the Proposed
Rule, asserting that because the 2013
Rule considered and rejected many of
the very changes that the Proposed Rule
now would make and, unlike the
Proposed Rule, explained its reasoning
in doing so. Commenters provided
numerous examples, such as HUD’s
rejection of a suggestion that HUD
delete “perpetuation of segregation” as
a recognized discriminatory effect,
reasoning that “‘the elimination of
segregation is central to why the Fair
Housing Act was enacted” and that
“every federal court of appeals to have
addressed the issue has agreed.” 5? The
commenters said that the Proposed Rule
failed to explain, acknowledge, or
identify these prior determinations.
These commenters wrote that the
Proposed Rule makes no attempt to
justify any of its changes as good policy
or as better interpretations of the law as
it existed in 2013.

HUD Response: HUD acknowledges
and appreciates these commenters’
perspectives but disagrees and believes
that in Inclusive Communities, the
Supreme Court outlined its view of
disparate impact litigation under the
Fair Housing Act, and the Final Rule
appropriately updates and clarifies all
parties’ burdens during disparate impact
litigation consistent with Inclusive
Communities. HUD provided detailed
and reasoned responses in the Proposed
Rule’s preamble and has provided
further details in this Final Rule. HUD
is issuing this rule not because of the
results of disparate impact cases aver
the prior decades or racial quotas but,
because it believes clarification is

82 Encino Motorcars, LLC v, Navarro, 136 8. Ct.
2117, 2125, 2137 (2016) (quoting FCC v. Fox
Television Stations, Inc., 556 U.S. 502, 516 (2009).

5378 FR 11469 (Feb. 15, 2013),

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appropriate following the Supreme
Court’s decision. Where HUD is making
changes to the 2013 Rule, HUD is doing
so in light of developments since 2013
and upon further review of disparate
impact case law under the Fair Housing
Act. HUD analyzed the cost of this Final
Rule and determined that the Final Rule
would provide decreased costs through
clarity and detailed explanation of a
prima facie case, and that any costs or
increased difficulty in bringing
litigation are the result of the tightened
standard in Inclusive Communities, and
not due to HUD's rule. See HUD’s
Regulatory Impact analysis discussion
of costs and benefits.

Comment: HUD should eliminate the
concept of disparate dnipatt entirely.

One commenter urged HUD to do
away with the disparate impact theory
altogether. Another commenter stated
that disparate impact is a specious and
unsupportable theory that relies on false
logic because coincidence does not
equal causation and discrimination does
not occur every time outcomes are not
equal,

HUD Response: HUD finds these
positions to be inconsistent with
Inclusive Communities and inconsistent
with HUD’s interpretation of the Fair
Housing Act.

Section 100.5 Scope

Comment: Change to language in
§ 100.5(b).

One commenter stated that HUD’s use
of the language “defenses and rebuttals
to such allegations may be made” in the
Proposed Rule demonstrates that HUD
is proposing to support defendants
against disparate impact claims by tying
the safe harbor provision to the scope of
the entire rule. Several commenters
discussed how the proposed changes in
§ 100.5 might protect defendants and
burden plaintiffs. Similarly, another
commenter stated that when read
alongside § 100.5(d), § 100.500(b)(2)
imposes a legally impermissible undue
burden on the plaintiff. Another
commenter contended that if § 100.5(b)}
were adopted, it would extend HUD’s
proposed defenses for discriminatory
effects cases to cases alleging
discriminatory intent as well. Methods
of proving discriminatory intent were
well established in cases such as
McDonnell Douglas and Arlington
Heights. HUD cannot create a new
method to prove intent cases, Another
commenter stated that HUD should
refrain from adding language that is
redundant, confusing, or unnecessary.

Commenters suggested revising
§ 100.5(b) to read: “Liability for
unlawful housing discrimination under
this part may be established by a
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practice’s discriminatory effect, even if
not motivated by discriminatory intent,
and defenses and rebuttals to such
allegations may be made, consistent
with the standards outlined in

§ 100.500.”

HUD Response: HUD has revised the
language of § 100,.500(b) to make clear
that it only applies to discriminatory
effects. As discussed in HUD’s Proposed
Rule, HUD is not creating a safe harbor
by its reference in § 100.5, but was
pointing the public to the rule section
that establishes the framework for
litigating disparate impact claims
consistent with Inclusive Communities.
See the explanation of changes in
Section II above.

Comment: Support for proposed
change to § 100.5(d).

Several commenters supported the
proposed change to § 100.5(d) and noted
that collecting demographic data on all
customers may indirectly lead to more
civil rights violations and also alienate
customers. Commenters also stated that
collecting demographic information
would be overly burdensome, increase
liability for privacy risk and information
theft, be unnecessary, and have a
negative impact on business. Some
commenters also noted that data
collection may increase costs due to a
preater need for new systems to manage
and safeguard personal information as
well as increased time and staff required
to gather and store data. One commenter
argued that the increased burden posed
by greater information-gathering may
increase underwriting costs and impact
premiums paid by consumers.

Commenters argued more specifically
that if insurance companies were
required to collect demographic
information it would be invasive to
consumers. Commenters related
personal experiences explaining that
when clients are asked for personal
information there is often a negative
customer response, including customers
becoming upset at the request and
refusal by customers to provide
information, which increases costs and
liability for businesses. Some
commenters argued that demographic
information is irrelevant and
unnecessary to obtaining home
insurance, unrelated to risk, and has
never affected a claim. Other
commenters argued that overly
burdensome data maintenance
requirements can stifle a healthy real
estate market, One commenter
supported the Proposed Rule, noting
that State agencies have systems in
place to regulate the local insurance
industry without additional Federally
mandated data collection.

HUD Response: HUD appreciates the
support from commenters and agrees
that business and other requirements by
state agencies are already in place to
require information collection when
relevant to businesses. HUD’s Final Rule
does not change or require information
collection.

Comment: HUD provides no reason
for change in § 100.5(d).

A commenter stated that HUD
provides no explanation for § 100.5(d),
which appears to have no purpose other
than to assist corporate entities in
obscuring the discriminatory impacts of
their practices.

HUD Response: HUD’s request for
comments in the 2018 NFRM on its
reduction of regulatory barriers
indicated that the public sought
clarification as to whether the new
disparate impact standard in § 100.500
required data collection.** In addition,
this change is consistent with Inclusive
Communities, to make clear that
disparate impact theory itself does not
require data collection.

Comment: Proposed Rule
disincentivizes potential defendants
from collecting information.

Commenters contended that the
Proposed Rule has the effect of
discouraging data collection, which will
inhibit the ability of housing providers,
lenders, and local governments to
demonsirate that their programs,
policies and practices do not have a
disparate impact or a discriminatory
effect, and it disincentivizes them from
voluntarily improving practices that
may otherwise leave them vulnerable to
litigation and greater liability. One
commenter wrote that statistical
evidence that shows the outputs of a
decision-making process that
disproportionately exclude a race or
gender should be enough to shift the
burden of explanation on the decision-
maker. Some commenters also noted
that the proposed language would
generate confusion and hinder
enforcement efforts due to the broad
assertion regarding adverse inferences.
A commenter stated that HUD needs to
explain why discouraging demographic
data collection would prevent the use of
remedial orders that impose racial
targets or quotas.

Commenters stated further that the
Proposed Rule, by disincentivizing
demographic data collection by housing
providers and lenders, hampers Fair
Housing Act enforcement by allowing
the loss of access to critical evidence of
discrimination and undermining its
‘discriminatory effect’ provisions.
Commenters also noted that data is a

5464 FR 64549 (Nov. 22, 2019).

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critical tool to demonstrate the impact
of housing practices on protected
groups, and failure to gather this data
will obscure discriminatory impacts of
housing practices, especially with the
increased use of algorithms by housing
providers or lenders and lack of access
to algorithm data by monitors and
concerned parties.

Commenters also noted that Inclusive
Communities only discusses racial
quotas, but this proposed section
extends the data collection to include
all protected classes, which
disincentivizes data collection. Other
commenters similarly stated that while
the Supreme Court's decision
discouraged collection of protected class
information for fear that it would lead
to quotas, it also acknowledged that
awareness of race can help local
housing authorities foster diversity and
combat racial isolation with race-neutral
tools and help entities design policies to
ensure all groups have a fair
opportunity to participate in programs.
A commenter also stated that in Wards
Cove,®5 the Supreme Court upheld data
collection and noted that some
employers maintain records disclosing
the impact of selection procedures on
opportunities by race, sex, or ethnic
group, and the Court approved the use
of such records by plaintiffs in
litigation. This commenter further noted
that while quotas are mentioned by the
Court, neither Inclusive Communities
nor Wards Cove include concerns that
the collection of protected class
information was relevant to the
establishment of such quotas. One
commenter noted that the Proposed
Rule does not explain why data
collection is equated with the
establishment of racial quotas, since
Federal data collection has been in
place for decades and has not led to
such quotas,®5

HUD Response: The Final Rule does
not contain a provision that discourages
or prohibits covered parties from
collecting data. The language retained
from the Proposed Rule makes clear that
there is no requirement in HUD’s Fair
Housing regulations, 24 CFR part 5, that
specifically requires data collection.
This is not a change from current
practice and would not hinder the
existing collection of data or the use of
such data for either plaintiffs or
defendants. In Inclusive Communities,
the Supreme Court made clear that mere
statistical evidence of disparities is not

88 Wards Cove Packing Go. v, Afonio, 490 U.S.
642 (1988).

56 See U.S. Equal Employment Opportunity
Commission, Employer Information Report EEO-1,
EEOC gov, hitps://www.eaoc.gov/employars/
eeoisurvey/.
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sufficient to state a prima facie claim,
Thus, commenters’ statements about
data in itself being sufficient to shift a
burden to a defendant is misplaced.
Finally, the Supreme Court also has
clearly indicated that quotas are
unconstitutional. Thus, HUD does not
believe that adverse consequences
should exist merely for failing to collect
data. The Final Rule has eliminated
language from the Proposed Rule stating
that no adverse inference should be
drawn if a party does not collect data to
ensure that the Final Rule is
unambiguously neutral about whether a
party collects data.

Comment: Proposed rule inconsistent
with other data collection requirements.

Commenters stated the Proposed Rule
is inconsistent with current HUD
requirements regarding the collection
and public reporting on data, as well as
other Federal requirements, such as the
Home Mortgage Disclosure Act’s
Regulation C, the ECOA’s Regulation B,
the Fair Housing Act’s Incentives for
Self-Testing and Self-Correction (42
U.S.C. 3614-1), the Community
Development Block Grant (CDBG)
program’s demographic data collection
requirement, and the Housing and
Economic Reform Act of 2008, which
required state housing finance agencies
to collect and report demographic data.

Commenters stated that the Federal
Rules of Evidence addresses
admissibility of evidence and HUD's
proposed § 100.5(d) would infringe
upon it. A commenter stated that it
raised constitutional concerns regarding
the creation of permanent irrebuttable
presumptions that conflict with the Due
Process Clause of the U.S. Constitution’s
Fifth and Fourteenth Amendments. A
commenter noted that a defendant
failing to collect data about a protected
class in violation of some other law,
policy, or practice—apart from HUD’s
disparate impact rules—could result in
an adverse inference. One commenter
suggested that HUD should clarify in the
Final Rule that nothing in this rule
affects other existing legal requirements
to collect data.

HUD Response: Many commenters
interpreted HUD’s language broader
than drafted. The language in § 100.5(d)
is limited to 24 CFR part 100 of the
regulations and, as discussed above,
clarifies that part 100 itself is not
requiring or encouraging data collection.
HUD is clarifying in this Final Rule, that
neither § 100,500 nor any other
provision in part 100 creates such
requirement. However, nothing in this
tule affects other existing legal
requirements to collect data. As for the
reference to the Fair Housing Act
collection of information, that burden is

on HUD, and not the entities regulated
by this rule, to collect information to
ensure conformity with the Fair
Housing Act.

HUD?’s Final Rule does not impact
evidentiary rules, consistent with a
“neutral” stance on data collection in
the rule. Modification to the Final Rule
makes this clear. Separately, data is
collected in many other circumstances,
as noted in several public comments,
and such data could be used in
litigation. HUD’s Final Rule merely
clarifies that the rule itself does not
encourage or require collection of such
data. Therefore, the regulatory language
does not conflict with the Federal Rules
of Civil Procedure (“FRCP”) or any
other law.

Comment: Opposition to required
collection of personal and private
demography: information.

Several commenters opposed the
Proposed Rule because they argued it
required the collection of personal and
private demographic information from
home insurance customers that is not
currently collected. These commenters
argued requiring the collection of
demographic information could lead to
lawsuits; increase premiums and
business costs, which could be
detrimental to small] businesses; and
lead to loss of business from individuals
who do not want to provide personal
demographic information. Commenters
specifically noted asking about an
individual’s religion was irrelevant to
home insurance.

HUD Response: These commenis
misperceived the Proposed Rule. HUD
appreciates the comments but, as
discussed above, nothing in the
Proposed Rule nor this Final Rule
requires collection of personal and
private demographic data, thus, the
inclusion of such language in § 100.5(d).

Comment: Proposed revisions to
§ 100.5(d).

One commenter recommended that
HUD revise § 100.5(d) to clarify that
while defendants are not required to
collect such data, data may be necessary
for a plaintiff to prove a prima facie
case, Some comments suggest
alternatives related to data collection.
One such comment suggested the Final
Rule should specify that data collection
is not required, and the absence of such
collection will not result in an adverse
inference against a party engaged in
housing related business activity.

Other commenters stated that HUD
should incentivize, encourage, or
require providers to collect
demographic data to promote the goals
of the Fair Housing Act and for use by
organizations ensuring compliance with
the Fair Housing Act. Another

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commenter added that where it is not
required but legally permissible, HUD
should encourage entities to monitor
their practices for discriminatory effects
and explore less discriminatory
alternatives to mitigate impacts.

HUD Response: While HUD
understands that requiring potential
defendants to maintain data may be
helpful for plaintiffs bringing a case,
this Final Rule is intended to provide a
legal framework for litigation. This rule
provides that data collection is not
required or encouraged as a result of
this rule, However, the Final Rule does
not preclude doing so and, as noted
above, in some instances is required by
other laws. As for the commenters who
requested HUD require data collection,
requiring data collection is outside the
scope of this rulemaking, Neither the
Fair Housing Act nor the Inclusive
Communities decision supports tying a
data collection requirement to HUD’s
discriminatory effects rule. Further,
HUD believes that such requirement
would be burdensome, especially on
small organizations who do not possess
the resources to collect such data.
Additionally, such data collecting
requirements would be duplicative in
light of other data gathering
requirements.

Paragraph (b} Vicarious Liability
Comment: Change is unnecessary and

unlawful.

Some commenters stated the
proposed change to § 100.7(b) would be
unnecessary and without justification
and would result in inadequate
compliance and compensation.
Commenters wrote that § 100.7(b) in the
2013 Rule was clear and consistent with
long-established law governing
vicarious liability under the Act. Some
commenters stated that the proposed
revision is inconsistent with more than
four decades of case law, including
Supreme Court case law characterizing
Fair Housing Act cases as statutory torts,
in Curtis v. Loether®? and applying
traditional agency principles in
determining questions of vicarious
liability, in Meyer v. Holley.58

Commenters objected to proposed
§ 100.7(b)’s omission of the reference to
“agency law.” Many commenters stated
that this change will create confusion,
because although vicarious liability
most commonly arises out of the
“principal-agent relationship,” agency
law can expand vicarious liability
beyond that specific relationship or to
certain circumstances where an agent is
acting outside the course and scope of

57 415 U.S. 189 (1974).
58537 U.S. 280 (2003),
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her duties, Commenters also stated that
if HUD intends to limit vicarious
liability to “‘principal-agent
relationships,” rejecting other bases for
vicarious liability, then it should
explicitly state that purpose so that it
may be reviewed by the courts.

Commenters noted that HUD
previously stated in its Quid Pro Quo
and Hostile Environment Harassment
and Liability for Discriminatory
Housing Practices Under the Fair
Housing Act rule preamble that “under
traditional principles of agency law, a
housing provider may be held
vicariously liable for: The
discriminatory acts, of an employee or
agent regardless of whether the housing
provider knew of or intended the
discriminatory conduct where the
employee was acting within scope of his
or her agency, or where the
[discrimination] was aided by the
agency relationship.” 5° Commenters
stated that the proposed revisions to
§ 100.7(b) contradicted its other
preamble.

Several commenters expressed
concern regarding the principal-agent
relationship and liability, as well as
potential forum shopping. Commenters
stated that HUD amending the vicarious
liability provision will create
unnecessary confusion on whether its
2016 explanation of vicarious liability
principles still applies, as Meyer will
apply regardless of HUD's regulations
and any amendment. Commenters also
stated that HUD should explain the
purpose of the change in the definition
of “vicarious liability” because the
definition appears to be identical to a
deleted version. Other commenters
stated that the vicarious liability should
not be addressed in the Proposed Rule
because HUD rules already adequately
address needed liability issues.

Several commenters objected to the
proposed § 100.7(b) omission of text
imposing liability regardless of whether
a defendant knew or should have
known of the conduct that resulted in a
discriminatory housing practice. Several
commenters stated that this change
incentivizes housing providers to
remain willfully ignorant of legal
requirements and what their employees
are doing and to not be involved with
the oversight and maintenance of their
properties. Commenters also stated that
the change seems to repudiate the
proposition that, consistent with agency
law, vicarious lability may still be
imposed.

AUD Response: HUD appreciates
these comments. The proposed changes
were intended only to provide

5981 FR 63054, 63065 (Sept. 14, 2016),

clarification, After reviewing these
comments, HUD has determined that
the proposed change confused rather
than clarified the issue. Therefore, HUD
has decided not to make the proposed
changes to this section.

Paragraph (c) Remedies in
Administrative Proceedings

Comment: Availability of punitive or
exemplary damages.

Commenters objected to prohibiting
punitive or exemplary damages as a
remedy in disparate impact cases.
Commenters stated that both types of
damages are appropriate when a
defendant drags out litigation, rather
than working to solve the problem.
Commenters continued by stating that
punitive damages should be available
when a defendant clearly knows that
their actions will harm a protected class
and engages in them anyway, or in cases
of reckless indifference. Commenters
also said that defendants should be
subject to punitive damages if the
defendant does not make any effort to
look for another way to accomplish
legitimate business needs, while
exemplary damages should be applied
when there are unjust profits made in
the process of discriminating against
protected classes. Other commenters
echoed the idea that punitive damages
are necessary to deter future conduct
and opined that the Proposed Rule
eliminates effective tools that are
necessary to cure vestiges of
discrimination.

Commenters also stated that punitive
and exemplary damages should be
available in administrative pleadings
and that all litigation costs should be
covered for plaintiffs in administrative
and judicial proceedings so that
discrimination challenges are not cost
prohibitive. Commenters additionally
stated that HUD lacks the authority to
bar punitive damages without other
authorization.

Some commenters were supportive of
the changes regarding punitive damages.
Some commenters said that the Final
Rule should clearly state that civil
penalties are not an available remedy for
disparate treatment cases, even when
pursued in courts. Commenters stated
that punitive damages should only
apply to intentional discrimination and
agreed with the Proposed Rule's
statement that punitive damages are not
authorized and are inappropriate in
disparate impact cases because it aligns
with Supreme Court precedent. Other
commenters stated that it is
inappropriate to impose punitive
damages or award attorney’s fees
because disparate impact liability is
built on the idea of unintentional

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wrongdoing. Several commenters
supported the proposed amendment to
§ 100.7 because they felt that punitive or
exemplary damages have no place in
disparate impact litigation, as any
remedy for disparate impact claims
should focus on eliminating the practice
that is having an impermissible
discriminatory effect, These
commenters said that Inclusive
Communities answered this question
and stated specifically that remedial
rather than punitive measures are
appropriate due to the absence of intent
in discriminatory effect cases.

Some commenters disagreed with the
idea of punitive and exemplary damages
being awarded in disparate impact
cases, These commenters stated that, by
definition, disparate impact claims
involve unintentional torts, so
defendants should not face punitive or
exemplary damages in the absence of
actual discriminatory intent, but rather
that the remedy for a disparate impact
violation should be correcting the
practice rather than punishment. The
application of such damages would
undemnine Inclusive Communities,
which advises that businesses must be
free to make practical business choices.
Commenters suggested that HUD revise
the Proposed Rule to bar such damages
in administrative proceedings and make
it clear that such damages are also
unavailable in other litigation under the
Act.

HUD Response: HUD revised the
Final Rule, moving paragraph (c) in
§ 100.7 to paragraph (f} in § 100.500, and
changing the language to explain the
circumstances under which HUD, as a
matter of policy, may request non-
equitable damages, such as civil money
penalties, This Final Rule does not, and
could not, make changes to the statutory
language of the Fair Housing Act with
regard to the availability of punitive
damages as a potential remedy in civil
actions or civil money penalties in
administrative proceedings.

This Final Rule also does not address
in any manner remedies available in
disparate treatment claims, regardless of
the forum. Punitive damages are not
authorized in administrative
proceedings, but an administrative law
judge may assess a civil penalty under
certain circumstances.99

HUD reviewed comments and made
changes to this Final Rule regarding
damages in order to clarify that HUD is
merely restating the Supreme Court's
direction in Inclusive Communities
regarding remedies and is explaining
when HUD will itself request non-
equitable remedies. These changes

80 See 42 U.S.C. 3612(g)(3).
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reflect HUD’s understanding that relief
in disparate impact cases should be
focused on equitable remedies, such as
eliminating or reforming a
discriminatory practice, rather than
monetary punishment, unless
circumstances out of the ordinary
warrant such.

With regard to commenters requesting
that the defendant provide litigation
costs to plaintiffs, the Fair Housing Act
allows attorney’s fees and costs to be
awarded to the prevailing party in
administrative proceedings or civil
actions, per the discretion of the
Administrative Law Judge (ALJ) or
court.®1 This Final Rule does not change
this, and HUD defers to the courts for
determining if such an award is
appropriate. Further, HUD
acknowledges commenters’ position
that punitive and exemplary damages
are typically used by courts to deter
future violations; however, HUD notes,
as other commenters have also pointed
out, that a finding of disparate impact
liability does not require proof of
discriminatory intent. In this context,
HUD is clarifying that the goal of
disparate impact liability is to eliminate
or modify a facially neutral policy or
practice because it has a discriminatory
effect on members of one or more
protected classes. As explained in more
detail in response to other comments,
HUD may still pursue civil money
penalties in administrative proceedings
if the particular circumstances warrant
it.

In response to commenters who
requested that HUD remove the
availability of certain types of damages
completely, HUD notes that the text of
the Fair Housing Act explicitly lists
remedies that are available for
administrative law judges and courts ta
order, in their discretion, in cases in
front of them. By this Final Rule, HUD
is not modifying or challenging that
judicial discretion, but merely stating
Supreme Court direction and clarifying
the types of damages HUD will
prioritize in disparate impact cases.

Regarding commenters who argued
that punitive damages should be
available when a defendant knowingly
acts in a manner that discriminates,
HUD notes that this type of scenario
would involve intentional
discrimination rather than disparate
impact, which does not involve intent
but rather a discriminatory effect
without a showing of intentional or
targeted discrimination. This Final Rule
does not affect how disparate treatment
allegations are adjudicated under the
Fair Housing Act.

1 See 42 U.S.C, 3612(p).

Comment: Issues with the proposed
remedies language in general.

Several commenters discussed the
language used in the remedies section
generally, some supporting and some
opposing the language. Commenters
suggested that HUD should impose
more substantial penalties against actors
responsible for policies that impact
disabled individuals’ ability to obtain or
maintain housing. Commenters
recommended that the Proposed Rule
not limit individual liability because it
leaves no incentive to comply with the
Fair Housing Act.

Commenters stated that the new
remedies language added into the
Proposed Rule is too confusing and
restrictive because it does not allow for
addressing disparate impact that affects
members of protected classes that are
not included in the complaint. They
also asserted that the language needs
clarification of the difference between
“neutral” and “non-neutral” means.
Commenters stated that § 100.7(c)
substantially narrows remedies
available to victims of discrimination by
allowing only pecuniary and out-of-
pocket expenses, which is inconsistent
with the APA and well-established case
law,

Commenters stated that remedies
should focus on eliminating the
disparate impact and not allow for other
remedies that simply reform practices.

HUD Hesponse: In response to
commenters who requested that HUD
Temove certain types of damages
completely, HUD notes that the text of
the Fair Housing Act explicitly lists the
remedies available for administrative
law judges and courts to impose, in
their discretion, in cases in front of
them. As previously noted, HUD is not
modifying or challenging that judicial
discretion, but merely stating Supreme
Court direction and clarifying the types
of damages HUD will prioritize in
disparate impact cases. Regarding the
comment stating that the Proposed Rule
would not allow relief for individuals in
protected classes outside those listed in
a complaint, HUD acknowledges the
commenter’s position, but notes that
any complaint brought under the Fair
Housing Act must contain allegations of
discrimination that are sufficient to
plead a prima facie case; this requires
that the plaintiff specify which
protected class(es) are impacted by a
challenged policy or practice. HUD
notes that the Fair Housing Act allows
a complaint to be “reasonably and fairly
amended” ati any time. This Final Rule
does nat alter that provision.

Finally, as stated above, because the
goal of disparate impact liability is to
ameliorate a policy or practice that has

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a discriminatory effect on members of
protected classes; removal of such a
policy is a benefit to all individuals who
are negatively affected by it regardless of
whether they were specifically named
in the complaint. HUD appreciates
comments that expressed confusion
regarding the specification that the
remedy must be “neutral” and has
concluded that such a distinction is
unnecessary, Therefore, HUD has
removed the phrase “through neutral
means” from the Final Rule stage.

Comment: Change is unnecessary and
confusing.

A commenter objected to proposed
§ 100.7(c) because it states unnecessarily
that punitive damages are not available
as a remedy in an administrative
proceeding, Commenters also requested
that HUD clarify what is meant when
robesring administrative cases,

HUD Response: HUD agrees with
comments stating that punitive damages
are not authorized in administrative
proceedings per the language found in
the Fair Housing Act; ®? however, this
Rule clarifies HUD’s position on when
it will seek civil penalties in
discriminatory effects cases, As for the
question on administrative cases, this
refers to those cases that are filed with
and heard by an administrative law
judge, rather than via a civil action in
a court of general jurisdiction.
Administrative law is the law that
governs the organization and powers of
government agencies. As an example,
these include complaints filed with
HUD’s Office of Fair Housing and Equal
Opportunity under 42 U.S.C.
3610(a}(1)(A)(i) by members of the
public, but also can include Secretary
Initiated Complaints, which may lead to
a hearing with and decision by an
administrative law judge.

Comment: Restricting Punitive
Damages Contradicts the Fair Housing
Act.

Commenters objected to proposed
§100.7(c}, arguing that it directly
contradicts the Fair Housing Act, which
provides that if a court finds that a
discriminatory housing practice has
occurred “the court may award to the
plaintiff actual and punitive
damages.” 53 Commenters noted that
although punitive damages will be rarer
where the initial actor was a third party,
the Act prohibits the agency from
making that determination wholesale,
rather than leaving it to be decided in
individual cases.

HUD Response: As stated previously
in response to commenters, the changes
made by this Final Rule are to clarify

82.42 U.S.C. 3612 and 3613,
83.42 U.S.C. 3613(c)(1).
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circumstances under which HUD
intends to request non-equitable
damages, such as civil money penalties.
This Final Rule does not, and could net,
make changes to the statutory language
of the Fair Housing Act with regard to
the availability of punitive damages as

a potential remedy in civil actions or
civil money penalties in administrative
proceedings.

Comment: Proposed Rule would drive
more cases to Article I courts and
damage tenant-landlord relations,

Some commenters stated that not
having punitive damages available in
administrative proceedings would force
plaintiffs to file in civil court in
egregious cases, which is more time-
consuming, expensive, and
complicated. Commenters further wrote
that problems that typically could be
resolved through the administrative
process, including conciliation or other
settlement discussions, would be
rendered less effective without the
possibility of punitive damages.
Commenters said that this would
dissuade low-income individuals from
pursuing relief, as well as place a greater
burden on lower-income defendants.
Because of HUD’s relative expertise
regarding fair housing, commenters
stated that it is beneficial to all parties
to go through HUD first instead of
through the courts. Commenters also
stated that the section would also lead
to worse landlord-tenant relations,

HUD Response: HUD appreciates
these comments but notes that punitive
damages are not authorized in
administrative proceedings by the Fair
Housing Act.54¢ This Final Rule does not
alter the remedies that may be awarded
by administrative law judges in
administrative proceedings, including
civil money penalties, but merely
clarifies that HUD generally will seek
equitable remedies in disparate impact
cases, in line with the Supreme Court's
decision in Inclusive Communities.

Comment: Paragraph (c} is mis-
codified.

A commenter stated that § 100,7(c) is
mis-codified: If “administrative
discriminatory effect case” applies ta
proceedings under §§ 3610-3612, then
this subsection should be placed in
§ 180.670, which governs remedies in
cases decided by HUD’s administrative
law judges.

HUD Response: HUD agrees that
§ 100.7(c) could be included in
§ 180.670 but disagrees that it is
miscodified. Paragraph (c) provides for
parties reading 24 CFR part 100,
Discriminatory Conduct Under the Fair
Housing Act, that liabilities in

54 See 46 U.S.C, 3612.

administrative proceedings should
concenirate on eliminating or reforming
the discriminatory practice. This
language does not conflict with the
language in § 180.670 and speaks to the
scope of liability addressed in § 100.7.
However, HUD does agree that some
clarification could be helpful and is
moving this paragraph into § 100.500()
of the Final Rule.

Section 100.120(b}(1) | Discrimination
in the Making of Loans and in the
Provision of Other Financial Assistance

A commenter stated that the Proposed
Rule’s amendment to the list of
generally applicable examples of
prohibited lending discrimination
would allow lenders to engage in certain
types of intentional discrimination. For
example, a lender could admit to
intentionally giving a borrower
inaccurate information due to the
borrower’s race, sex, or gender, and face
no liability unless the victim could
prove the information was material, A
commenter stated the current lending
discrimination rule does not have a
materiality requirement or a safe harbor
because it recognizes that conduct that
violates the Fair Housing Act can be
subtle, and suggested that at the
application stage, for example,
differential treatment may result as
much from a failure to provide
information or spend time with or coach
a credit applicant as it occurs due to
inaccurate information.

A commenter also asserted that
persistent lending discrimination occurs
in part because of the structural
segmentation of the mortgage market,
where loan originations are divided
within the industry between: A low-cost
prime sector serving mainly white
borrowers, a sector insured by the
Federal Housing Administration and
disproportionately serving borrowers of
color, and a subprime sector “‘that
facilitated the frequent placement of
black and Latino borrowers into higher-
cost, higher-risk loans than white
borrowers with similar characteristics.”
A commenter stated that limiting
information about available credit types
may violate the Fair Housing Act,
Privacy Act, or ECOA. One commenter
stressed that the protection set forth in
the 2013 Rule which prohibits all
differing or inaccurate information is
necessary because there are numerous
situations in which differing
information may be dispersed in a
manner that has a disparate impact.

Commenters wrote that the Proposed
Rule gives defendants too much
discretion to decide which information
is materially different or inaccurate.
Another commenter wrote that there is

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no source supporting that
‘immaterially” inaccurate or different
requirements are resulting in litigation
or costly risk prevention programs that
make this change necessary.

Commenters stated that, in contrast to
what is stated in the Proposed Rule,
Inclusive Communities makes na
reference to either lending or
informational disparities; the Proposed
Rule does not explain the purpose of the
addition of or its basis in Inclusive
Communities or any other case law or
legal authority; and the revisions are not
in keeping with the opinion’s guidance.
Qne commenter wrote that the proposed
change departs from Inclusive
Communities and weakened the
requirement to provide accurate
information as required by the Fair
Housing Act.

Commenters wroie that the language
was too broad. One commenter noted
that a bank providing borrower-specific
information to similarly situated
borrowers regardless of race does not
reflect disparate treatment. In other
words, variability is permitted based on
relevant factors (of which race is not
one). On the other hand, the exemption
does not explicitly state variability is
permitted based on relevant factors
other than race (which is, obviously,
part of “an individual’s particular
circumstances”), Commenters also
noted that § 100.120(b)(1) would apply
to disparate treatment cases, which
Inclusive Communities did not address,
and where the materiality inquiry is
irrelevant and contrary to law, because
if a mortgage creditor admitted that it
intentionally provided inaccurate
information (however relatively minor}
to black applicants because of their race,
no one would disagree that
discrimination in violation of the Fair
Housing Act had occurred. A
commenter opposed the proposed
changes to § 100.120(b}(1) because they
would increase, rather than mitigate,
confusion. The existing provision makes
clear that it is illegal to provide
information that is inaccurate or
different from that provided others,

because of a protected class.
Commenters also wrote that the

Proposed Rule needs to clarify
“materially” inaccurate or different
information and what it means by
“accurate” or “related to an individual's
particular circumstances.” The section
would unnecessarily invite debates over
the meaning of ambiguous regulatory
text, causing confusion and an increase
in burdens on litigants, courts, and
entities. Another commenter requested
examples or guidance regarding
“materially inaccurate or materially
different”, stating that the lack of
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puidance invites litigation or
administrative review, which slows
down the overall process. Another
commenter stated that such statements
would violate the APA and contravene
the Act, which prohibits discrimination.
One commenter suggested introducing
the word “material” in describing
disparities in information provided to
different potential tenants, buyers, or
lenders, and will leave a grey area in
defining “material.”

HUD Response: HUD does not believe
that the proposed change would have
permitted discrimination. HUD’s
addition of “materially inaccurate or
materially different from that provided
others” was meant to clarify, in
accordance with the guidance in
Inclusive Communities,®5 that
informational disparities that are
inconsequential do not violate the Fair
Housing Act. In response to comments
that materiality would matter only in
discriminatory effect cases and concerns
that the addition made things less clear,
HUD has decided not to adopt the
proposed change in the Final Rule. HUD
still believes that disparities that are not
material do not violate the Fair Housing
Act, but HUD, in response to confusion
by the public, agrees that the proposed
change in § 100,120(b)(1) is not
necessary.

Section 100.500—Discriminatory Effect
Prohibited

(a) General

Comment: HUD's proposed removal
of references to segregation is not an
‘update’ and goes against the Fair
Housing Act.

Commenters objected to removing
“perpetuation of segregation” from the
definition of discriminatory effect in
§ 100.500(a). Some commenters stated
that the removal of “perpetuation of
segregation” is counter to the Supreme
Court’s ruling in Inclusive Communities
and congressional intent and, without
adequate explanation, is in violation of
the APA. Commenters stated that its
removal is an attempt to limit liability
under the perpetuation of segregation
theory, would increase burdens on
plaintiffs, and marks a retreat from
HUD’s obligation to meaningfully
combat segregation and a return to the
“separate but equal” doctrine.
Commenters stated that its absence will
make it more difficult to combat
increasing segregation.

Commenters stated that this change
raises the question of whether, going
forward, disparate impact analysis
would even apply to policies that

®5 Tex. Dep’t of Hous. & Cmty. Affairs v. Inclusiva
Cmtys, Project, Inc., 135 S. Ct. 2507, 2524 (2015).

perpetuate segregation, A commenter
wrote that considering the longstanding
and undisputed authorities both before
and after the decision in Inclusive
Communities, there can be no legitimate
justification for reading the concept of
perpetuation of segregation out of the
Proposed Rule. The absence of any basis
for deleting references to perpetuation
of segregation is reason enough to
withdraw the Proposed Rule, they
contended. Commenters also stated that
“practical business” and “profit”
should be removed as examples of
“valid interest” regarding the Proposed
Rule, but references to perpetuation of
segregation from § 100.500 should not
be removed without explanation or
discussion.

Commenters asserted that courts have
uniformly recognized that practices
leading to the “perpetuation of
segregation” violate the Fair Housing
Act,®6 including cases since Inclusive
Communities,®’ and that the Supreme
Court itself affirmed that the Second
Circuit properly found disparate impact
when a town’s practices ‘‘significantly
perpetuated segregation in the
Town.” & A commenter asserted further
that the Supreme Court cited these
opinions favorably in Inclusive
Communities, and explicitly recognized
“perpetuating segregation” as a basis for
liability under the Fair Housing Act.5®

Commenters also asserted that
Inclusive Gommunities made clear that
ending the perpetuation of segregation—

88 See, e.g., United States v. City of Black Jack,
506 F.2d 1179, 1186 (8th Cir. 1974),

87 See, e.g, MHANY Management, 819 F.3d 581,
620 (2d, Cir, 2016) (finding a zoning decision may
viclate the Fair Housing Act because it perpetuates
segregation generally), Other courts have similarly
acknowledged perpetuation of sagregation as a
continued basis for Fair Housing Act liability after
Inclusive Gommiunities. See, e.g., Avenue 6H Invs,
v. City of Yuma, 818 F.4d 493, 503 (9th Cir. 2016)
(“[A]s the Supreme Court recently reaffirmed [in
IGP], the [Fair Housing Act] also encompasses a
second distinct claim of discrimination, disparate
impact, that forbids actions by private or
govermmental bodies that create a discriminatory
effect upon a protected class or perpetuate housing
segregation without any concomitant legitimate
reason.”); Nat’! Fair Hous. All. v. Bank of America,
NA, F.Supp. 3d__, 2019 WL 3241126, at
*15 (D. Md. July 18, 2019) (allowing claim to
proceed past motion to dismiss where plaintiff
pleaded facts sufficient to allege that defendant's
policy “forestall housing integration and freeza
existing racial segregation patterns”); Nat’! Fair
Hous. Alliance vy, Travelers Indemnity Co., 261 F-
Supp. 3d 20, 34 (D.D.C. 2017) (allowing claim to
proceed past motion to dismiss where plaintiff
pleaded facts sufficient to allege that defendant's
policy “will exacerbate racial and sex-based
disparities by having a disproportionate impact on
African-American residents and members of
women-headed households”),

88 Town of Huntington, N.Y. v. Huntington
Branch, N.A.A.C.P., 488 U.S. 15 (1988) (quoting 844
F.2d 926, 938 (2d Cir. 1988)).

88 Inclusiva Communitias, at 2522.

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which harms society as a whole, not just
individuals—is a core goal of the Fair
Housing Act. They quoted the Supreme
Court statement that “the [Fair Housing
Act] aims to ensure that those
[legitimate] priorities can be achieved
without arbitrarily creating
discriminatory effects or perpetuating
segregation.” 79 Commenters asserted
that HUD provides no justification for
removing language regarding
segregation from the definition of
discriminatory effects.

HUD Response: HUD does not agree
that removal of the phrase “perpetuates
segregated housing patterns” modifies
any obligation under the Fair Housing
Act. Specifically, HUD’s removal of this
phrase was part of HUD’s streamlining
of the regulation and is not meant to
imply that perpetuation of segregation
could never be a harm prohibited by
disparate impact liability, A plaintiff
need only prove in a case brought under
disparate impact theory that a policy or
practice has led to the perpetuation of
segregation, which has a discriminatory
effect on members of a protected class,
in order for that policy or practice ta be
prohibited under this rule. More
generally, HUD views “perpetuation of
segregation”’ as a possible harmful result
of unlawful behavior under the
disparate impact standard.71

Comment: HUD removes
“predictably” without explanation,
despite past HUD findings, and case
law.

Commenters noted that the proposed
revision in § 100,500(a) deletes the
portion of the 2013 Rule stating that a
practice has a discriminatory effect
“where it actually or predictably
results” in a disparate impact. Some
stated that HUD does not acknowledge
this change, despite the fact that in
promulgating the 2013 Rule, HUD
explicitly found that actions that
“predictably” result in discriminatory
effects should be covered. Commenters
noted that one case concerning a
predictable result of perpetuating
segregation—United States v. City of
Black Jack—was described in Inclusive
Communities as a “heartland” case.72
Some commenters questioned whether
the revision would prevent disparate
impact cases for future harms.

HUD Response: HUD does not feel
that any change to the proposed
regulatory text is needed here. HUD
recognizes that a claim based on a
predictable disparate impact may
succeed, This Rule’s language does not

70 fd, at 2522 (emphasis added),

74 Id.

72 Inclusive Communities, at 2525 (citing 508 F.2d
1179, 1184 (sth Cir. 1974)).
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preclude such a claim, it merely does
not recognize this specific type of claim.
While Inclusive Communities does use
the phrase “caused or predictably will
cause a discriminatory effect’ when
discussing the prima facie burden for
discriminatory effect plaintiffs, the
Court was reciting HUD’s 2013 Rule, not
a separate authority. Further, the Court
stated that disparate impact claims
“relying on a statistical disparity must
fail if the plaintiff cannot point to a
defendant’s policy or policies causing
that disparity. A robust causality
requirement is important in ensuring
that defendants do not resort to the use
of racial quotas.”

Inclusive Communities’ citation of
Black Jack as a heartland case does not
mean that Black Jack's description of
disparate impact doctrine is a complete
picture of when disparate impact should
apply, particularly since Inclusive
Communities was the first time that the
Supreme Court recognized disparate
impact liability and articulated
coustitutional and prudential standards
for when it should apply. Further, HUD
is not aware of any reason why the
scenario outlined under Black Jack
would not also be subject to disparate
impact liability under HUD’s new
disparate impact regulations. Finally,
while Black Jack did include a
“predictability” standard, the holding in
Black Jack itself did not depend upon
the “predictability” standard, Instead,
the court found that it was “established
that the ordinance [at issue] had a
discriminatory effect.”

Comment: Proposed rule does not
allow for underlying pattern of
discrimination to support allegation of
discriminatory effect.

Commenters objected to the proposed
standing requirements and asserted that
a pattern of results that indicates an
underlying pattern of discrimination
should be a permissible way to show
discrimination. Commenters stated that
a plaintiff should not have to show a
specific, identifiable cause if there is an
underlying pattern with a
discriminatory effect, but that the
burden should be shifted to the
defendant, because there may not be an
identifiable “arbitrary, artificial, and
unnecessary” practice or policy, but a
culture with many factors that produce
a discriminatory effect.

HUD Response: HUD disagrees that a
plaintiff should be able to bring a
discriminatory effects claim without
alleging a specific, identifiable cause of
the discrimination. It is not enough to
allege a general culture of
discrimination; rather, to sufficiently
plead the existence of a discriminatory
effect, a plaintiff must pinpoint the

specific policy or practice that is alleged
to lead to a discriminatory effect. As put
by the Gourt in Inclusive Communities,
requiring a plaintiff to point to a specific
policy (or policies) causing disparity
protects defendants from being held
liable for racial disparities they did not
create.73

Comment: HUD uses undefined and
unclear terms.

Commenters stated that HUD’s
Proposed Rule uses vague language
throughout § 100,500, allowing courts
and defendants to find fault within the
plaintiffs complaint. Commenters
specifically questioned HUD’s change
from the term “specific policy” to the
term “‘a practice.” Commenters also
opposed the proposed deletion of the
definition of “discriminatory effect”
from § 100.500(a) because it injects
uncertainty into the rule, particularly as
to what a plaintiff must show to
proceed. Commenters noted that both
the 2013 Rule and the Proposed Rule
require the plaintiff to demonstrate a
causal relationship between the
challenged practice and a
“discriminatory effect.”” However,
“discriminatory effect’’ is defined in the
2013 Rule, while the Proposed Rule
removes the regulatory definition.

HUD Response: HUD made several
terminology changes to make the Final
Rule more consistent with Inclusive
Communities and with HUD’s
interpretation of disparate impact
liability under Title VII more generally,
The reference to “specific policy” in
§ 100.500 is meant to include the
practice or policy that forms the basis of
a disparate impact claim. As a result,
HUD believes that ‘specific policy’’ is
an appropriate term to describe the
breadth of disparate impact claims.
However, HUD does not believe that
there is a practical effect to adding the
term “policy” in addition to the term
“practice.” Plaintiffs will still have to
show that the harm they are alleging is
the result of a policy or practice, rather
than a one-time action not part of a
policy or practice.74

HUD does not believe that it is proper
to define every term in the regulation,
as doing so would result in a rigid
regulation that does not leave room for
courts to exercise their discretion based
on the facts before them. Specifically,
when it comes to “discriminatory
effect,” HUD recognizes that harm can
occur in a variety of ways and does not
believe it is necessary to impose a
definition on a fact-specific finding.

73 Id. at 2507, 2523.

74d. at 2523.

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(b} Prima Facie Burden (General)

Comment: Higher burden for
administrative proceedings is unlawful.

Commenters stated that HUD may not
impose stricter standards for pleading
the same claim in its administrative
process than apply in federal court and
must abide by the FRCP in
administrative cases or it will violate
congressional intent. Further,
commenters noted that HUD’s proposed
pleading standard is inconsistent with
HUD’s regulations for administrative
Fair Housing Act cases, which do not
require the plaintiff to make out a prima
facie case at the pleading stage.75
Commenters also stated that the
Proposed Rule’s pleading requirements
likely violate due process and equal
protection because it places an
impossible burden on person deprived
of fair housing by requiring one to prove
detailed, specific facts at the pleading
stage. Commenters stated that HUD does
not have the ability to reinterpret the
contours of disparate impact liability
previously established by the Supreme
Court in Bell Atl, Corp. v. Twombly 76
and other cases. Commenters stated that
the Supreme Court has explained that
the question of what is required to plead
a discrimination claim is controlled by
FRCP 8(a}(2) and HUD does not have the
authority to reinterpret these
regulations. A commenter noted that
this raises federalism issues because the
Proposed Rule does not limit its reach
to questions of pleading or inferences in
federal court.

HUD Response: HUD is codifying in
regulation the necessary requirements to
prove a claim of discriminatory effect.
This is no different from HUD’s decision
in the 2013 Rule to cadify HUD’s
interpretation of disparate impact law at
that time. It is within HUD’s expertise
given its role in implementing the Fair
Housing Act. This necessarily overlaps
with the duties of a plaintiff to bring a
case under the FRCP. FRCP 8(a}(2)
establishes the general rules of pleading,
but the elements that a plaintiff is
required to plead in the complaint are
governed by the standards established
by law, including regarding the proper
scope of discriminatory effects liability.
HUD’s rule is consistent with the FRCP.
Further, HUD is mindful of the Supreme
Court’s admonition that “prompt
resolution of those cases is
important.” 77 HUD also notes that
factual allegations are required at the
pleading stage and proof at a later stage.

76 See 42 U.S.C. 3610(1)(a}[i); 3610(g)(1);
3610(g)(2)(B)(i); 24 CFR 103,25; 103,400(a);
100,405 (a)(1); and 103.400(a).

74550 U.S. 544 (2007).

77135 S. Ct. at 2512,
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HUD does not intend to establish a
standard which contradicts the FRCP,

Comment: Prima facie burden will
increase the difficulty of bringing a case.

Several acute ee that the
multiple requirements of a prima facie
case would increase the burden of
establishing a prima facie case. A
commenter claimed HUD ignored the
importance of using statistics necessary
to provide a prima facie case and stated
that the new requirements would not
even be met using Home Mortgage
Disclosure Act (HMDA) data.
Commenters stated that the Proposed
Rule would permit banks to have
facially neutral policies even if those
policies had a clear discriminatory
effect.

Commenters stated that the Proposed
Rule’s heightened burden of proof
would make it difficult to challenge
policies such as zero tolerance for crime
policies, which commenters state
disproportionally harm victims of
domestic violence and communities of
color, low-income households, and
people with disabilities. Commenters
noted that such a pleading burden is
particularly difficult to meet when the
defendant generally has in its sole
possession the evidence relevant to
whether its discriminatory policy is
necessary to meet a legitimate purpose
while the plaintiff can only speculate as
to why the policy is necessary.
Commenters cited cases in which only
documents and depositions during
discovery uncovered the arbitrary,
artificial, and unnecessary policy
causing the discriminatory effect, or
where the defendant was unable to
prove that their policy or practice was
necessary.

Commenters suggested that HUD and
the courts treat the Proposed Rule with
flexibility and allow plaintiffs to await
discovery to establish some of the
elements in the proposed prima facie
case. Other commenters suggested the
burden should be shifted to the
defendant to be more equitable, and that
the defendant should have the same
evidentiary standards as the plaintiff.

HUD Response: HUD appreciates
these comments, but notes that the
prima facie burden is a requirement of
discriminatory effects law generally and
HUD’s codification of the prima facie
burden does not itself result in a higher
standard than what is required under
Inclusive Communities. Please also see
Section III above regarding changes to
§ 100.500(b), which are intended to
clarify the requirements at the prima
facie stage and further align the
language with existing obligations. HUD
also notes, as discussed further under
(b)(1), that the pleading stage, when a

plaintiff does not yet have access to
discovery, requires only that the
plaintiff “sufficiently plead facts to
support the prima facie case, and thus,
the requirement to plead facts
supporting a prima facie case is lower
than some commenters suggested.

Comment: Courts have incorrectly
applied Inclusive Communities.

Commenters suggested that courts
following Inclusive Communities have
misapplied the “robust causality”
requirement, noting that cases have
hinged on whether Plaintiffs could
show a direct link between the
statistical disparity and the Defendants’
policy in cases such as Inclusive
Communities. Commenters noted that
the success rate of plaintiffs in disparate
impact cases reaching the appellate
level has plummeted over the years.
One commenter stated that in circuit
courts that have applied the ‘robust
causality’ requirement at the pleading
stage, plaintiffs’ success, at least at the
appellate level, generally does not
appear to be significantly affected,
although the number of cases is too
small to draw sweeping conclusions,

HUD Response: Inclusive
Communities’ explanation of
discriminatory effects liability expressly
provided for a requirement of robust
causality. Therefore, HUD believes that
cases applying Inclusive Communities
are correct to require a showing of
“robust causality.’’.

Comment: Prima facie burden is
unnecessary, complicated, and vague.

Commenters stated that the prima
facie burden was unnecessarily
complicated and vague. Commenters
stated that this ambiguity and
complication would cause unnecessary
litigation and lead to unfair or
unjustified dismissal of cases and would
lead to inconsistent results in the courts.
Commenters also stated that HUD made
no attempt to justify the prima facie
Tequirements but merely suggests that
Inclusive Communities requires this
change.

HUD Response; HUD appreciates
these comments and notes that HUD has
edited § 100.500(b) for clarity. HUD
disagrees that this burden is ambiguous,
and notes that the prima facie burden
must necessarily be explained in general
terms because application of the burden
is extremely fact-specific and therefore
dependent on the circumstances of each
case, Alignment with Inclusive
Communities and other controlling law
is sufficient reason for HUD to use its
discretion to adopt this regulation. HUD
also agrees with other comments that
the Supreme Court directs lower courts
considering the sufficiency of
allegations at the pleading stage to

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“begin by taking note of the elements a
plaintiff must plead to state a claim.” 78
Section 100.500(b) provides parties with
a list of such requirements,

Comment: HUD improperly cited
Wards Cove.

Commenters said HUD improperly
cites Wards Cove, a Title VO disparate
impact case, to require an “actual
cause” when Wards Cove did not use or
rely on the phrase, and the Supreme
Court noted that Title VI framework
may not transfer to the fair housing
context. Commenters noted that Wards
Cove is a thirty-year old case,

HUD Response: HUD cited Wards
Cove for the proposition that a disparate
impact claim is not adequately pled
where the alleged disparity is the result
of factors outside the defendant’s
control and does not support the
assertion that the defendant’s policy
itself is the cause of the disparity, Wards
Cove held that the plaintiff is
responsible for “isolating and
identifying the specific employment
practices that are allegedly responsible
for any observed statistical
disparities.” 7° HUD equates being
“Tesponsible” for observed statistical
disparities with being the actual cause
of those disparities. HUD also notes that
while Wards Cove is an old case, it
remains persuasive authority,
specifically with respect to the Fair
Housing Act, which, unlike Title VO,
has not had intervening amendments.

Comment: The Proposed Rule’s prima
facie elements are consistent with
Inclusive Communities.

Commenters stated the 2013 Rule
incorrectly allocates burdens because it
uses the 1991 standard set by Congress
for Title VI, which is not applicable to
the Fair Housing Act. Other commenters
expressed support for the “robust
causality” requirement, the “legitimate
business interest” standard, and “less
discriminatory alternative or equally
effective manner” element, and
commenters stated their support for the
proposed burden-shifting framework
overall, Another commenter stated
defendants should be allowed to
provide evidence to support the reasons
for their policies, defenses, and
rebuttals. Another commenter stated
§ 100.500(b)(2} and (5} are consistent
with proximate cause analysis under the
Fair Housing Act and Bank of America
v. City of Miami.5°

HUD Response: HUD appreciates
these comments.

78 Ashcroft v. Iqbal, 556 U.S, 662, 675 (2009),

78 Wards Cove Packing Co. v. Atonio, 490 U.S.
642, 656, (1989).

89137 S, Ct. 1296 (2017).
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Comment: HUD makes an
unsupported claim about failing to
identify a “specific, identifiable
practice,”

A commenter stated that although
HUD claims “many parties” have failed
to identify a “specific, identifiable
practice,” HUD cites only a single,
“unpublished, unprecedential” opinion
to support this proposition.

HUD Response: HUD’s Proposed Rule
noted the failure of many parties to
identify a specific, identifiable practice,
only to warn potential plaintiffs of the
requirement under Inclusive
Communities. The following are
additional cases in which the court
found that the plaintiff failed to identify
a specific policy or practice. These cases
are provided only to show additional
examples of courts finding plaintiffs
failed to fulfill this element of the prima
facie case. See also Ellis v. City of
Minneapolis, 860 F.3d 1106, 1113 (8th
Cir. 2017); Carson v. Hernandez, No.
3:17-CV-1493-L-BK, 2018 U.S. Dist.
LEXIS 185782, at *6 (N.D. Tex. July 26,
2018); Merritt v. Countrywide Fin, Corp.,
No, 09-cv-01179-BLF, 2016 U.S. Dist.
LEXIS 194613, at *34 (N.D. Cal. June 29,
2016); Gity of L.A. v. Wells Fargo & Co.,
No. 2:13-cv—09007-ODW(RZx), 2015
U.S. Dist. LEXIS 93451, at *21 (C.D. Cal.
July 17, 2015); Merritt v. Countrywide
Fin. Corp., No. 09—cv-01179-BLF, 2015
U.S. Dist. LEXIS 125284, at *61 (N.D.
Cal. Sep. 17, 2015).

Comment: HUD conflates prima facie
standards with pleading standards,

Commenters stated that HUD’s
proposal conflates prima facie and
burden-shifting standards with pleading
standards, and that numerous courts
have rejected this approach, including
the Supreme Court in Swierkiewiez v.
Sorema N. A,®1

HUD Response: HUD appreciates
these comments and has revised the
Final Rule to clarify that HUD intends
to establish a prima facie standard.
However, HUD notes that
Swierkiewicz’s caution that “the precise
requirements of a prima facie case can
vary depending on the context and were
never intended to be rigid, mechanized,
or ritualistic,” 82 must be read in light of
the Court’s heightened pleading
standards in Bel! Atlantic Corp v.
Twombly and Ashcroft v. Iqbal, both of
which the Court decided after
Swierkiewicz. HUD’s treatment of the
pleading stage in disparate impact
litigation is consistent with the Supreme
Court's finding in Twombly that
plaintiffs cannot survive the pleading
stage by relying upon “labels and

81594 U.S, 506, 512 (2002).
82 Id. at 512 (citation omitted),

conclusions,” a “formulaic recitation of
the elements of a cause of action, . .”
or mere speculative factual
allegations.? There must also be “‘a
reasonable expectation that discovery
will reveal evidence of [illegality]

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Comment: Require some evidence of
discriminatory intent.

Commenters suggested that the Final
Rule should require a showing of some
evidence of discriminatory intent,
though not enough to satisfy the
Constitutional standard of Washington
v. Davis, to better align with disparate
impact cases from the Third and
Seventh Circuits. Commenters also
suggested the Proposed Rule should be
structured such that the plaintiff must
“show or demonstrate” rather than
“allege” the prima facie case.

HUD Response: On the issue of
requiring a showing of discriminatory
intent, the Inclusive Communities case
is clear that a showing of disparate
impact does not rely on intent, but is
“in contrast to a disparate treatment
case,” which does rely on intent.*5 On
the issue of the prima facie case at the
pleading stage, it is, as in any case, the
plaintiff's obligation to allege sufficient
facts, which is reflected in this Final
Rule at §100.500(b), Of course, in the
case in chief plaintiff will have the
burden of proof on the allegations.

Comment: Adding an element on
statistical disparity.

Commenters suggested that HUD add
to the description of prima facie burden
an “explicit recitation” of Inclusive
Communities’ holding that a disparate
impact claim cannot be based solely on
a showing of statistical disparity. Other
commenters stated that in the 2013
Rule, HUD explicitly declined to
include a statistical standard to prove a
prima facie case due to the variety of
practices covered by the Fair Housing
Act.

HUD Response: HUD agrees that a
disparate impact claim cannot be based
solely on a showing of statistical
disparity, but does not believe this
should be explicitly stated in the rule
because the elements already listed
necessarily provide a standard which
would not be met through a showing of
statistical disparity alone. HUD also
agrees with commenters that it would be
impractical to establish a particular
statistical standard to prove a prima
facie case due to the numerous and
varied practices covered by the Fair
Housing Act.

53 Bell AW. Corp. v. Twombly at 555 (citations
omitted).

54 Twombly at 556.

55 Inclusive Communities, 135 S.Ct. at 2513,

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Comment: Using “specific identifiable
policy or practice” is contrary to
Inclusive Communities and case law.

Commenters suggested that the
Proposed Rule was exempting single
decisions. Commenters provided
examples of disparate impact claims
targeting zoning and land use laws and
decisions that unfairly exclude
minorities from certain neighborhoods
without sufficient justification, arbitrary
and discriminatory ordinances barring
the construction of certain types of
housing units, and unconscious
prejudices and disguised animus that
escape easy Classification as disparate
treatment, may all fall under this
classification. Commenters cited cases
challenging single actions, including
MHANY Management, Inc. v. County of
Nassau,®6 and Huntington Branch,
NAACP v. Huntington,®? which
specifically held that a one-time zoning
decision can be a policy subject to
disparate-impact challenge.
Commenters noted that any repeated
course of conduct could be traced back
to a single decision.

A commenter objected to the
preamble section applying Barrow v.
Barrow,®8 which follows Inclusive
Communities, for the proposition that
most “one-time” zoning decisions
would not provide a basis for a
disparate impact claim or enforcement
process, noting that Barrow was not a
case about zoning.

Commenters noted further that HUD’s
2013 Rule preamble also explained that
every federal court of appeals to have
addressed the issue agreed that the Fair
Housing Act prohibits practices with the
unjustified effect of perpetuating
segregation. The preamble cited
numerous cases from various circuits
demonstrating that HUD’s position was
reasonable and firmly grounded in the
law and its application by courts since
1966,59

Commenters also objected that the
“specific, identifiable policy or
practice” language was undefined and
vague, Commenters stated it was
unclear whether the Proposed Rule
would prohibit claims against a
developer if the rental of affordable
units had occurred at one site or for one
building as opposed to hundreds of
units at multiple buildings. Commenters
also stated that it was unclear whether

88 819 F.3d 581 (2d Cir, 2016),

a7 844 F.2d 926 (2d Cir. 1988).

®8 Civil Action No. 16—11493-FDS, 2017 U.S.
Dist. LEXIS 103495, at *& (D, Maas. July 5, 2017).

88 See, 6.2., Huntington Branch, N.A.A.CP., at
937; Metropolitan Housing Development Corp, v.
Village of Arlington Heights, 558 F.2d 1283, 1290
(7th Cir. 1977); U.S. v. City of Black Jack, 508 F.2d.
1179, 1184-86 (8th Cir. 1974).
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the Proposed Rule would prohibit
claims against a county development
agency if its policy had only resulted in
one instance of applying residency and
age preferences to a county-financed
rental building. Moreover, commenters
stated that the preamble suggests that
HUD itself, as opposed to a private
plaintiff, will never bring a disparate
impact claim against a “single event”
land-use decision. Other commenters
stated the language in the Proposed Rule
limits a plaintiff to addressing business
practices but is silent on addressing
government practices.

Some commenters supported the
“specific, identifiable policy or
practice” language because it is
consistent with Supreme Court
precedent, clarifies what plaintiffs must
challenge, and furthers the speedy case
resolution principle.

HUD Response: HUD disagrees with
the suggestion that this language will
immunize all one-time decisions from
disparate impact analysis. Plaintiffs can
establish disparate impact liability
based upon a single event if it
represented a policy; even if, as
Inclusive Communities clarified,
plaintiffs may “not easily” be able to
make such a showing.?° HUD would
bring a case against a single event where
HUD believed that the single event
represented a policy.

As commenters have discussed. and
HUD agrees, single events can represent
a policy or practice. Further, ifa
jurisdiction implements zoning policy
through discretionary decisions, that
policy of granting discretion could be
subject to a disparate impact suit even
ifa particular decision may not be. HUD
does not believe that this position
contradicts its previous position in the
2013 Rule. Further, the 2013 Rule
predates Inclusive Communities, which
prompted the addition of this language.

HUD does not believe that MHANY
Mgmt. was an example of a post-
Inclusive Communities court
recognizing a one-time decision as a
policy. While MHANY Mem. involved
a zoning decision, the court clarified
that it took place after “many months of
hearings and meetings” and “the change
required passage of a local law. . .”’ 91
HUD believes that these
circumstances—particularly the fact of a
change in local law—could allow a
court to interpret this “one-time
decision” as a policy under HUD’s
formulation. HUD believes courts are
capable of determining on a case-by-

80 Tex. Dep’t of Hous, & Cmty. Affairs v. Inclusive
Cmtys. Project, Inc., 135 S. Ct. 2507, 2523 (2015),

®1 MHANY Management, Inc. v. County of
Nassau, 819 F.3d 581, 619 (2d Cir. 2016).

case basis when a single event may have
been the result of a policy, even if that
task may be difficult. Further, MHANY’s
reference to the difficulty of
distinguishing between a single event
and a policy is within the Title VI and
ADEA context and so it may have less
relevance in the instance of disparate
impact under the Fair Housing Act.

HUD also notes that while Huntington
Branch, NAACP v. Huntington did
involve a refusal to amend a zoning
ordinance, the policy at issue was a
zoning regulation “which restricts
private multi-family housing projects to
a largely minority ‘urban renewal area
.. . 82 Further, repeated application
of a policy—the zoning regulation—can
hardly be characterized as a one-time
decision. A single decision on an ad hoc
basis differs from a single policy under
which multiple decisions are made.

As to the significance of Barrow v.
Barrow, even though it is not a zoning
decision, its ruling that a “single
decision relevant to a single piece of
property, without more, is not evidence
of a policy contributing to a disparate
impact” 93 illustrates the difference
between such a single decision and a
decision that would affect multiple
properties and might be considered a
policy.

Finally, HUD notes that Ellis v. City
of Minneapolis supports HUD's
perspective. Ellis repeats Inclusive
Communities’ caution that plaintiffs
may lose their disparate impact case at
the pleading stage for identifying a
“one-time decision” that is not a policy
and frames this protection as a
“standard” for disparate impact cases.94
It also repeats the significant reasons
why Inclusive Communities adopted
this standard, namely giving
government entities “leeway to apply
reasonable housing-code provisions
without fear of inviting a costly
lawsuit,” 95 Further, Ellis refused to
“bootstrap numerous ‘one-time
decision[s]’ together in order to allege
the existence of a City policy to
misapply the housing code.95 While
plaintiffs asked the Ellis court to read
one-time decisions as a policy that
invalidated an official city policy, the
Ellis court's reluctance to create a
“policy” out of singular decisions is still
instructive. Other courts after Inclusive
Communities have also recognized this

82 Huntington Branch, NAACP v. Huntington, 844
F.2d 926.

82 Borrow v. Barrow, Civil Action No. 16—-11493—
FDS, 2016 U.S. Dist, LEXIS 164330, at *16 (D. Mass.
Nov. 29, 2016).

94 Filfis v. City of Minneapolis, 860 F.3d 1106,
1111 (8th Cir, 2017).

35 fd, at 1114,

96 fd. at 1113 (citing Inclusive Communities).

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limitation to disparate impact

liability,97

(b}(1) Arbitrary, Artificial and
Unnecessary

Comment: “arbitrary, artificial, and
unnecessary” should be defined.

Commenters noted that the Proposed
Rule does not explain what it means to
be “artificial,” “arbitrary,” or
“unnecessary” as a pleading
requirement. Commenters asked that
HUD define “arbitrary, artificial, and
unnecessary.”’ Other commenters
suggested that HUD define the phrase
“arbitrary, artificial, and unnecessary”
as applying to a “policy that is not
reasonably calculated to achieve a
legitimate goal within the sound
discretion of the policy-maker and that
imposes an otherwise unexplained
burden on housing opportunities for
persons in protected classes.”’ Further,
commenters suggest HUD provide
examples of policies HUD considers
“arbitrary, artificial, and unnecessary”
and suggests “zoning rules that
artificially restrict the ability to develop
multifamily housing” as one such
example. Commenters also stated that
HUD should use the Court’s standard in
Inclusive Communities and should

987 See City of Joliet v, New West, L.P., 825 F.3d
827, 830 (7th Cir. 2016); Hylton v. Wati, 2018 U.S.
Dist. LEXIS 156082, *12-13 (D.D.C. Sept. 13, 2018)
(Moreover, to the extent Hylton focuses his claim
on the FHFA’s one-time, and limited, decision to
fill the Ombudsman position with a then-current
‘Agency Executive,’ he has failed to identify a
‘policy’ sufficient to sustain a disparate impact
claim. “As a general rule, a plaintiff ‘cannot attack
an overall decisionmaking process in the disparate
impact context, but must instead identify the
particular element or practice within the process
that causes an adverse impact.'"'); Davis v. District
of Columbia., 246 F, Supp. 3d 367, 394 (D.D.C.
2017) (quoting Stout v. Potter, 276 F.3d 1118, 1124
(9th Cir. 2002)). In other words, disparate impact
ordinarily “looks at the affects of policies, net ons-
off decisions, which are analyzed for disparata
treatment.” City of Joliet v. New West, L.P., 825 F.3d
827, 830 (7th Cir. 2016). Thus, as the Supreme
Court has explained, “a plaintiff challenging the
decision of a private developer to construct a new
building in one location rather than another will
not easily be able to show this is a policy causing
a disparate impact because such a one-time
decision may not be a policy at all.” Inclusive
Communities, 135 S. Ct. at 2523; sae also Breen v.
Chao, 253 F. Supp. 3d 244, 265-66 (D.D.C. 2017).
Like the plaintiff in that hypothetical, Hylton has
failed to identify any “policy” or “practice” that
might evan arguably have had an adverse effect on
a protected group.”); Barrow v, Harrow, 2016 U.S.
Dist. LEXIS 164330, at *15—16 (‘‘First, the
complaint does not point to any specific policies of
any of the defendants that result in racial
discrimination. It alleges only that defendants, in
various ways, acted to deprive plaintiff of the full
value of her inheritance; there is no allegation of an
unlawful practice or policy. A single decision
televant to a single piece of property, without more,
is not evidence of a policy contributing to a
disparate impact. Tex. Dep't of Hous. & Cmty.
Affairs v. Inclusive Cmtys, Project, Inc., 135 S. Ct.
2507, 2523 (2015).
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revise § 100,500(b)(1) to read ‘“‘create
artificial, arbitrary, and unnecessary
barriers.”

HUD Response: HUD declines to
define “arbitrary, artificial, and
unnecessary” because of the wide
variety of possible circumstances in
which it may be used. Courts will
coutinue to provide useful examples of
this phrase as case law develops. HUD
also declines to provide examples of
“arbitrary, artificial, and unnecessary”
policies because such policies would be
too fact-specific to be of general use.
HUD believes the addition of “barriers”
in § 100.506(b)(1) would not be proper
because the discussion of the “barrier”
element is a consideration instead under
(2), where the plaintiff must show that
the policy or practice has a
disproportionate adverse effect, i.e,, is a
barrier.

Comment: Proposed § 100.500(b)(1) is
not supported by caselaw cited in the
Proposed Rule.

Some commenters opposed the
Proposed Rule because it conflicts with
prior case law by requiring plaintiffs to
bear the burden of pleading and proving
an “artificial, arbitrary, and unnecessary
barrier” to fair housing in the prima
facie stage. Commenters argued that this
requirement is devoid of context
because this language was raised by the
Supreme Court as judicial dicta to allow
defendants to argue that their policies
have a valid interest, but the Court
nowhere suggests that the plaintiffs are
required to plead and prove it.
Commenters also objected that the
Proposed Rule would require plaintiffs
to prove a negative, which contradicts
HUD’s determination in promulgating
the 2013 Rule and the DOJ’s position in
litigation, and rebut the defendant's
justification before the defendant had
even advanced the justification.
Commenters noted that this would also
increase the cost of pleading a case, A
commenter stated that “artificial”
essentially means “pretextual.” A
commenter stated that requiring
plaintiffs ta show a policy is ‘‘arbitrary,
artificial, and unnecessary” would
allow policies that are only one of these
three. A commenter stated that the 2013
Rule adequately prevented plaintiffs
from bringing arbitrary, artificial, and
unnecessary claims, Some commenters
argued that Griggs ®® did not establish an
“artificial, arbitrary, and wnnecessary”’
pleading standard, and so the Supreme
Court citing that language could not be
interpreted as such. A commenter stated
that Inclusive Communities requires
defendants to state their own valid
interest, rather than the plaintiff,

98401 U.S, 424 (1971).

because under Title VII's business
necessity standard the employer must
affirmatively raise the defense.
Commenters stated the Proposed Rule
inappropriately requires plaintiffs to
plead around an affirmative defense.
Commenters asserted this approach
broke from Congress’s intent, affirmed
by Inclusive Communities, for burden
shifting in disparate impact claims, and
Title VII case law.

Commenters also objected to the
preamble’s suggestion that Ellis v. City
of Minneapolis °° supports the proposed
revisions, stating that Ellis does nothing
more than apply well-established
disparate-impact doctrine consistent
with the 2013 Rule in holding that the
plaintiffs failed to identify a specific
policy with a robust causal link to the
disparate impact. Commenters cited to a
subsequent opinion explaining Ellis to
support this proposition.1%

Commenters noted this approach
broke from Congress’s intent, affirmed
by Inclusive Communities, for burden
shifting in disparate impact claims, and
Title VU case law, Other commenters
supported the “arbitrary, artificial, and
unnecessary” language because it
prevents abusive claims and the
Proposed Rule asserts that a valid
objective can be based on practical
business considerations and/or
profitability. Other commenters said
this language is supported by Supreme
Court precedent including Inclusive
Communities and that it protects
defendants’ valid interests such as
business or profit considerations.
Commenters stated that ‘‘artificial,
arbitrary, and unnecessary barriers”
replaced the 2013 Rule’s
“nondiscriminatory interests” standard.

HUD Response: First, HUD notes that
plaintiffs do not have to prove alleged
facts at the pleading stage. As discussed
in the Proposed Rule’s preamble,
plaintiffs merely have to plead facts
supporting this claim sufficient to
survive a mation to dismiss. Providing
some sort of factual allegation to
support the proposition that the policy
challenged may plausibly be arbitrary,
artificial, and unnecessary, or plausibly
alleging that a policy or practice
advances no obvious legitimate
objective, would be sufficient to meet
this pleading requirement.

Inclusive Communities made three
references to the “‘arbitrary, artificial,
and unnecessary” standard.1% Inclusive

88 860 F.3d 1106 (8th Cir. 2017).

100 Nat'l Fair Hous. Alliance, 261 F. Supp. 3d at
33 (citing Hilis v. City of Minneapolis, Minn., No.
14-GV-3045 (SRN/SER), 2016 WL 1222227, at *6
(D. Minn. Mar. 28, 2016).

101 First, in the context of discussing limitations
to disparate impact to avoid constitutional

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Communities never clarifies that the
“artificial, arbitrary, and unnecessary’
requirement is exempt from the
requirement for pleading a prima facie
case, and two of these three references
were in the context of providing
standards for disparate impact suits to
avoid constitutional questions that arise
with expansive disparate impact
liability. Inclusive Communities
provides that courts should “prompit[ly]
resol[ve]” disparate impact cases and
examine disparate impact claims “with
care.” Further, Inclusive Communities
clarifies that ‘“disparate-impact liability
must be limited so employers and other
regulated entities are able to make the
practical business choices and profit-
related decisions that sustain a vibrant
and dynamic free-enterprise system.” 192
Removing this artificial, arbitrary, and
unnecessary constraint as a screening
mechanism would allow for an
untimely resolution of disparate impact
cases after expensive litigation and
discovery, which is contrary to Inclusive
Communities. Moreover, HUD believes
that the “artificial, arbitrary, and
unnecessary” standard gives valuable
guidance about the qualitative nature of
policies and practices that are suspect
because otherwise, there would be a
tendency to simply consider how much
statistical disparity is too much—
something the Supreme Court
specifically directed parties to avoid as
constitutionally suspect and which
would constitute mere second guessing
of reasonable approaches.

Ellis v, Minneapolis1 supports
HUD's interpretation, Ellis discussed the
elements of a prima facie case, and
explained that under Inclusive
Communities, lower courts must
examine “whether a plaintiff has made
out a prima facie case of disparate
impact.” 194 This includes facts about
causation between a policy and
disparate impact, but Ellis does not limit
a prima facie case to just that element.

>

questions, the Court says that “Disparate-impact
liability mandates the ‘removal of artificial,
arbitrary, and unnecessary barriers,’ not the
displacamant of valid governmental policies.”
Inclusive Communities, at 2512 (citing Griggs, at
43), Second, Inclusive Communities states that
“Governmental or private policies are not contrary
to the disparate-impact requirement unless they are
“artificial, arbitrary, and unnecessary barriers.” Id.
at 2524 (citing Griggs, at 431). Third, Inclusive
Communities states that if ‘standards for
proceeding with disparate-impact suits not to
incorporate at least the safeguards discussed hers,
then disparate-impact liability might displace valid
governmental and private priorities, rather than
solely ‘removling]. . . artificial, arbitrary, and
munecessary barriers.’* Id. at 2524 (citing Griggs at
431).

102 Inclusive Communilies, at 2516,

103 §60 F.3d 1106 (8th Cir. 2017).

104 Rilig, at 1111 (quoting Inclusive Communities
at 2523).
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Ellis also discusses the “artificial,
arbitrary, and unnecessary” constraint
as a separate prong from the causality
requirement, when it notes that the
plaintiffs complaint is insufficient
exactly because it lacks “factually
supported allegations that [the housing-
code provisions, the challenged
policies] are arbitrary or unnecessary to
health and safety.” 1°5 Two Eighth
Circuit cases advance HUD’s
interpretation of Ellis. First, Khan v. City
of Minneapolis described Ellis as
upholding “the district court’s grant of
judgment on the pleadings for the city,
concluding that the landlords had failed
to point to an artificial, arbitrary, and
unnecessary policy that a Fair Housing
Act disparate-impact claim could
remedy,” 196 This interprets Ellis as
imposing an “artificial, arbitrary, and
unnecessary” requirement in the
pleading stage for disparate impact
cases. Second, a district court cites Ellis
in explaining that “[t]o plead a plausible
disparate-impact claim, a plaintiff must
plead the existence of an ‘artificial,
arbitrary, and unnecessary’ ” policy,1°7

HUD also notes that to the extent
inclusive Communities referenced Title
VI disparate impact liability, it was
“analogous” to disparate impact
liability under Title VII. Such analogies
do not limit HUD’s significant
discretion to impose additional
guardrails for Title VII disparate impact
liability that do not exist under Title
VI, particularly when Inclusive
Communities clarified that the opinion
“announced” “cautionary standards”
for disparate impact liability under the
Fair Housing Act.1%

Griggs certainly did not rule that the
“artificial, arbitrary, and unnecessary”
standard could not be an element of a
prima facie case, Even if Griggs did not
explicitly establish such an element, it
explained that Congress provided for
“the removal of artificial, arbitrary, and
unnecessary barriers to

105 Rilis, at 1112. While Ellis does use the word
“or” instead of “and” and omits the word
unnecessary here, HUD does not believe this
suggests that plaintiffs need only plead that a policy
is artificial, arbitrary, or unnecassary. Elsawhere
Ellis discusses a policy being “arbitrary and
unnecessary under the [Fair Housing Act].” (Id. at
1112), Every other reference (four in total) is to
something being ‘artificial, arbitrary, and
unnecessary.” This includes the end, wheres Bilis
concludes that plaintiffs had not pleaded a prima
facie case because they did not meet the
requirement in Inclusive Communities for a plaintiff
to “at the very least point to an ‘artificial, arbitrary,
and unnecessary’ policy causing the problematic
disparity.”

106 922 F.3d 972, 674 (8th Cir. 2019) (citing Ellis
at 1109, 1114).

197 Hoyt v. City of St. Anthony Vill, 2019 U.S.
Dist. LEXIS 65865, “17-18 (May 22, 2019).

108 Inclusive Communities, at 2524.

employment. . .*2°9 in establishing
disparate impact liability. Further, in
the context of Title VII disparate impact
liability, for which Inclusive
Communities enacted more guardrails
than Title VII disparate impact liability,
it would be reasonable to conclude that
the “artificial, arbitrary, and
unnecessary” constraint should be an
element of a prima facie case, even if it
is not for Title VIL For instance, unlike
Griggs, Inclusive Communities provides,
after discussing ‘‘constitutional
concerns” with expansive disparate
impact liability, that “Courts must
therefore examine with care whether a
plaintiff has made out a prima facie case
of disparate impact and prompt
resolution of these cases is

important.” 11° Further, under a burden
shifting approach someone must always
plead a negative, consistent with general
civil procedure in the United States.
That seems more appropriately a burden
on the plaintiff. It is also consistent with
the Supreme Court’s caution about not
second-guessing two reasonable
alternatives.

Additionally, the requirement for a
plaintiff to plead a negative is not
unique to HUD’s disparate impact rule.
For example, the Federal Driver’s
Privacy Protection Act creates a civil
cause of action against a person from
“person who knowingly obtains,
discloses or uses personal information,
from a motor vehicle record, for a
purpose not permitted. . .” by the
statute.111 This requirement is “only
satisfied if shown that obtainment,
disclosure, or use was not for a purpose
enumerated under” the statute.11? It also
prohibits State Departments of Motor
Vehicles from disclosing personal
information except for permissible
uses.113 Plaintiffs suing under this
statute plead a negative, specifically that
the disclosure at issue lacked a
permissible purpose,11+

HUD is not aware of courts that have
responded to the requirement to prove
a negative by ignoring that requirement.
Courts are capable of tailoring the
threshold for an acceptable prima facie
showing to match the difficulty of
making this type of showing.115

108 Griggs v. Duke Power Co., 401 U.S, 424, 431
(1971).

110 Inclusive Communities at 2523.

11118 U.S.C. 2724(a).

112 Thamas vy. George, Hartz, Lundeen, Fulmer,
Johnstone, King & Stevens, P.A,, 525 F.3d 1107,
1111 (11th Cir. 2018).

11818 U.S.C. 2721,

114 See Welch v. Theodorides-Bustle, 677 F. Supp.
2d 1283, 1287 (N.D, Fla. 2010).

115 See, e.g., Gill v. Whitford, 138 S, Ct. 1916
(2018),

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(b}(2) Robust Causal Link

Comment: Meaning of ‘robust causal
link” is unclear.

Commenters expressed confusion
about the meaning of § 100.500(b)(2}. A
commenter stated that the phrase
“robust causal link” is unclear and that
pointing to dicta in Inclusive
Communities does not eliminate the
confusion,

Commenters objected to the
inconsistent terminology regarding
causation in the Proposed Rule and its
preamble, noting that HUD uses,
interchangeably, four different causation
phrases; “robust causality,” “robust
causal link,” “direct causation,” and
“actual causation.” Commenters stated
the preamble explanation of
§ 100,500(b)(2) is unclear as to whether
HUD is simply seeking to reflect
established case law on proving
discriminatory disparities or seeking to
establish unprecedented requirements,
Commenters stated that it is unclear
from the text of proposed § 100.500(b}(2)
whether a plaintiff must demonstrate
both a ‘robust causal link’ and ‘direct
cause,’ or whether a showing of ‘direct
cause’ conclusively establishes the
‘robust causal link.’

Commenters suggested that HUD
should define “robust causal link” but
avoid a definition that requires proof of
actual or primary causation or that
mandates a one-size-fits-all standard of
causation, A commenter stated that any
new definition of causality or ‘robust’
risks being overly prescriptive for what
is necessarily a case- and context-
sensitive question of fact. Commenters
suggested that HUD should instead use
“substantial causal relationship,”
meaning the relationship is important,
valid, reliable, meaningful, not trivial or
tiny. Commenters stated that failing to
provide a definition would increase
litigation costs and would reduce the
ability of potential litigants to analyze
the risk of litigation. Other commenters
questioned whether HUD intended to
adopt in proposed § 100.500(b)(2)
“tobustness” as defined by George Box,
who the commenters stated invented the
concept of “robustness” in 1953.

HUD Response: HUD appreciates
these comments and has clarified in the
Final Rule that HUD intends “robust
causal” link ta mean that the policy or
practice is the direct cause of the
discriminatory effect. HUD intends
these two terms to be synonymous, HUD
declines to further define or explain
“robust causality” due to the fact-
specific nature of the various cases that
courts will decide on a case-by-case
basis. HUD does not intend to adopt the
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definition of “robusiness” as defined by
George Box,216

In addition, throughout the Final Rule
and the preamble explaining any
changes from the Proposed Rule, HUD
has worked to use consistent terms to
avoid confusion.

Comment: Regarding Lincoln
Property.

Commenters abjected to the proposed
burden-shifting framework, particularly
the robust causality pleading
requirement, arguing that it is a
misapplication of the causality
requirements in Inclusive Communities.
The commenters specifically cited
Inclusive Communities Project, Inc. v.
Lincoln Property Co.,1*7 (Lincoln
Property) as the source of that
misapplication, stating that the Fifth
Circuit created a burden of proof for the
plaintiffs beyond what the Supreme
Court required in Inclusive
Communities by finding that it is
insufficient to plead and prove that a
defendant's challenged policy has a
discriminatory impact based on race
because of its interaction with pre-
existing societal disparities if the
defendant is not responsible for the
underlying societal disparities. The
commenters stated that HUD should
specifically refute the higher standard of
proof in Lincoln Property, otherwise
HUD would open the door to more
courts using higher burdens of proof for
causality, making it even harder for
plaintiffs to succeed in their disparate
impact claims.

HUD Response: The “robust
causality” requirement and other
changes in the Final Rule are based on
Inclusive Communities and are also
supported by subsequent court of
appeals decisions. HUD recognizes the
concerns that commenters have with the
Lincoln Property decision and does not
intend to endorse this decision. HUD
cites to Lincoln Property only as one of
several cases which recognize the robust
causality requirement articulated in
Inclusive Communities. HUD agrees
with the specific statements made in
Lincoln Property that “the Supreme
Court never explicitly stated that it
adopted the HUD regulation’s
framework” 118 and “the Supreme
Court’s opinion in [Inclusive
Communities] undoubtedly announce[s]
a more demanding test than that set
forth in the HUD regulation.” 115 HUD

116 George E.P. Box, Science and Statistics,
Journal of the American Statistical Association
(1976), hitps://www jstor.org/stable/2266841.

217 920 F.3d 890 (5th Cir. 2019).

118 920 F.3d at 902.

118 Jd,

notes that Ellis129 also provides support
for the robust causality requirement,
which includes it as a part of the
“cautionary standards” announced in
Inclusive Communities.

(b)(3) Adverse Effect on Members of a
Protected Class

Comment: HUD uses different phrases
and causes confusion about the
interaction of § 100.500 paragraphs
{b}{2) and (b}{3).

Commenters asked whether the
concept in (b)(3), that the alleged
disparity has “an adverse effect” on a
protected class was already satisfied in
§ 100.500(b)(2), which requires pleading
a “disparate impact on members of a
protected class.” In addition,
commenters noted that § 100.500(a) uses
the phrase “discriminatory effect on
members of a protected class.”
Commenters stated that it is not
apparent that Inclusive Communities
requires a showing of “adverse effect”’
in addition to “discriminatory effect,”
which is required in § 100.500(b)(2).

HUD Response: HUD appreciates
these comments and has revised the
Final Rule to clarify HUD’s intent.
These elements ((b)(2) and (b)(3)) both
require that the plaintiff show that there
is a policy or practice with an adverse
effect, but differ in that the new element
(2) (formerly element (3)) requires a
showing that the policy or practice has
a disproportionate adverse effects on
members of the protected class, whereas
the new element (3) (formerly element
(2)) requires a showing that the policy
or practice has a robust causal link ta
such adverse effect. Section 100,500(a)
does not set forth the elements of the
prima facie case and is therefore not
repetitive with elements of paragraph
(b).

Comment: Proposed Rule improperly
excludes segregation claims.

Commenters opposed the revisions in
§ 100.500(b)(3) because HUD removed
language explicitly allowing segregation
claims in § 100.500(a) of the 2013 Rule,
noting the harm of segregation on
individuals and society generally.

HUD Response: The Proposed Rule
did not intend to, and the Final Rule
does not limit claims that result in
unlawful segregation. While the
reference was removed from explicit
mention, it was not excluded from the
definition altogether. HUD believes that
segregation may be the harmful
unlawful result of a policy or practice
that violates the disparate impact
standard.

120 Ellis v, City of Minneapolis, 860 F.3d 1106,

1111 (ath Cir. 2017).

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Comment: HUD should clarify or
change the ‘adverse effect’ language.

Commenters stated that the third
element has arbitrary meaning for
requiring proof of effect of
discriminating against a protected class
as 4 group, because it is unclear what
proof a plaintiff may have to show that
the policy or practice as a whole has the
effect of discriminating against a
protected class as a group. Commenters
asked if it would be enough for a
plaintiff to claim that she and two other
members of the same protected class
constitute a group.

Some commenters suggested that
§ 100,500(b)(3} should have a
heightened standard. Some commenters
suggested the plaintiff must show that
the alleged disparity has an adverse
impact on a significant number of
individuals of a protected class, so that
claims impacting a small number of
individuals (regardless of the percentage
they constitute) are not actionable,

Alternatively, commenters opposed
an elevated degree of harm, which they
suggested the language in
§ 100,500(b)(3) proposed. Commenters
stated that distinguishing degrees of
harms would likely be unsuccessful,
but, if done, should include accepted
definitions for terms such as
“discriminatory”, “adverse”, and
“prejudicial”, Other commenters
suggested the Proposed Rule be revised
so that a plaintiff may show an adverse
effect even where some members of the
protected class are not impacted.

Finally, commenters said the
Proposed Rule provided necessary
guidance on what an adverse impact on
a protected group is. Commenters stated
it is uncontroversial that a plaintiff must
show that the policy or practice has a
“disproportionately adverse effect” on
members of a protected class in order to
bring a disparate impact claim.

HUD Response: HUD has revised this
language to add the word
“disproportionately” to clarify that it is
not enough to simply state that some
number of members of a protected class
are affected, but that a plaintiff must
show that the policy or practice
disproportionately affects members of
protected class compared to similarly
situated non-members. The size of the
group and the disparity necessary to
show that the adverse effect is
‘disproportionate’ are fact-specific
questions which will vary from case to
case. This clarifying language also
shows HUD is not intending to create an
“adverse effect” standard separate from
the “discriminatory effect” standard,
but is merely codifying the requirement
inherent in disparate impact claims.
HUD is also not intending to create a
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standard that would be inconsistent
with Inclusive Communities, Therefore,
HUD has determined not to implement
language that would require the plaintiff
to show a minimum number of people
are affected. HUD also notes that it is
clear that a plaintiff does not have to
show that a policy or practice affects the
entire group of protected class members,
only that the effect is disproportionate
on a cognizable portion of the protected
class.

Comment: Does not list Disability.

Commenters noted that the Proposed
Rule’s discussion of the third proposed
element does not list Disability as a
protected class.

HUD Response: In an explanation
HUD provided in the Proposed Rule’s
preamble, HUD listed protected classes
by quoting 42 U.S.C. 3604(a), which
does not include disability because
disability is protected in 42 U.S.C.
3604(f).121 This omission was
unintentional, HUD recognizes that
disability is a protected class covered
under the Fair Housing Act and under
§ 100.500.

(b)(4) Significant Disparity

Comment: Regarding the definition of
“significant,”

Commenters objected to the section’s
use of the term “significant.”
Commenters stated that without a
definition, the term “significant” is “too
vague to survive review.” Gommenters
stated that failing to define the term
would create litigation to define it,
increasing litigation costs and reducing
the ability of potential litigants to
properly analyze the risk of litigating.
Commenters stated that the requirement
that a plaintiff show a “significant”
disparity is a highly subjective and
inherently vague standard that will
usurp the court’s fact-finding role.
Commenters noted that imposing a new
materiality standard would allow for
some undefined quantum of housing
discrimination and noted that the Fair
Housing Act makes unlawful all
prohibited practices described by the
Act, Commenters stated that HUD is
inferring a materiality requirement
through the word “‘significant,”” which
is not supported by Inclusive
Communities. Commenters also
expressed confusion and objected to the
fact that the text of Proposed Rule
§ 100.500(b)(4) required a disparity to be
“significant,” but the explanation of that
subsection stated that the disparity
needs to be “material.”” Commenters
noted that materiality is not a concept
used in fair housing law and is more

12184 FR 42858 (Aug. 19, 2019).

commonly applied in the fraud or
breach of contract contexts.

Other commenters supported the use
of the term “significant.” Commenters
stated the requirement is consistent
with disparate impact precedent, and
directions provided by Federal
regulators for assessing disparate impact
tisk. Commenters supported the
Proposed Rule, which does not impose
a cutoff on what is considered
“significant,” but clarifies negligible
disparities are not enough. Commenters
said a plaintiff must be required to show
that the disparity caused by the
defendant’s policy is significant to
prevent frivolous, abusive claims, which
protects businesses.

Commenters suggested HUD define a
“significant” disparity in a functional
way, and suggested language defining
significant as “qualitatively different.”
Other commenters suggested that HUD
clarify that “significant” only means
statistically significant. A commenter
wrote that the Final Rule must specify
whether it is referring to statistical
significance (not product of chance) or
practical significance (magnitude of
disparity) or just “big or large” in the
common, modern use of the term. A
commenter noted that “significance” is
a concept applied by courts regularly
under the Fair Housing Act to refer to
statistical significance. A comment
suggested that HUD replace the
proposed “significance” requirement at
§ 100,.500(b)(4) with a balancing inquiry
into the nature of the disparity and
strength of the causal connection
between the disparity and the
challenged practice.

Conversely, some commenters
opposed any attempt to define
significance or materiality. The
commenters stated that the Final Rule
should allow these terms to be defined
contextually, as they traditionally have
been, and not create novel safe harbors
for acts of discrimination artificially
defined as “insignificant,”
“immaterial,” or ‘‘negligible” or
otherwise small.

Commenters suggested that courts
should determine whether an effect
constitutes a “significant disparity”
rather than require the plaintiff to prove
this as a part of the prima facie burden.

HUD Response: HUD agrees with
commenters who believe an attempt to
define “‘significant” is not helpful. The
meaning of “significant” will vary from
case to case and any attempt to define
it would necessarily exclude fact-
specific situations that HUD does not
intended to exclude. HUD therefore
declines to define “significant” in
exclusively statistical terms, with a

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balancing inquiry, or in any other way
that may limit its application.

HUD believes it is clear that
“significant” is a necessary element in
Fair Housing Act cases broadly, but
especially in disparate impact cases.
HUD notes that several courts have,
since Inclusive Communities, identified
a significance requirement.122 This
significance requirement is not
exclusively a statistical test or a test of
the amount of impact a policy has, but
can apply elements of both depending
on the situation. HUD does not believe
this allows for a “modicum” of
discrimination to exist, but recognizes
that a numerical disparity is not the
same as unlawful discrimination and
that some differences may be random
and not discriminatory. HUD also
believes that it is clear that the
requirements of proving a prima facie
case rests with the plaintiff, and that
this case includes the burden to show
that the disparity being challenged is
sufficient to be legally cognizable.

Finally, HUD’s use of the word
“material” in the Proposed Rule’s
preamble was intended to emphasize
that an immaterial difference would not
be sufficient. HUD does not intend to
import a materiality requirement
separate from the significance
requirement. HUD also recognizes that
many differences are unexplainable.
Further, HUD is mindful of the Supreme
Court’s caution against approaches that
might inexorably lead to quotas.

(b}(5) Direct Cause of Plaintiff Injury

Comment: Intensifies proximate
cause.

Commenters stated that the addition
of the proposed element that there be a
“direct link” between a disparate
impact and an alleged injury intensifies
how much proximate cause there must
be to prove a disparate impact at the
pleading stage of a lawsuit, before
parties have access to discovery and
would unjustifiably narrow both the
kinds of discriminatory policies that can
be challenged and the class.

Commenters stated that the direct link
requirement is not supported by the Fair
Housing Act. Commenters stated the
Proposed Rule improperly requires
direct causation, rather than “robust
causation” as expressed in Inclusive
Communities or “some direct relation”’
as expressed in Bank of Am. Corp. v.

122 See, e.g., City of Miami Gardens, 931 F.3d at
1297; Schaw v. Habitat for Humanity of Citrus Cty.,
Inc., 938 F.3d 1259, 1274 (11th Cix. 2019); Woisome
y. Port Auth. of New York & New Jersay, 948 F.2d
1870, 1876 (2d Cir. 1991); Gity of Los Angeles v.
Wells Fargo & Co., 2015 WL 4398658 (C.D, Gal, July
17, 2015), aff'd, 2017 WL 2304375 (9th Cir, May 26,
2017).
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City of Miami,123 and this can be
satisfied by alleging facts or statistical
evidence. Commenters also noted that
the Eleventh Circuit held that the Fair
Housing Act is written in far-reaching
terms.124 Commenters also stated that
this element’s inclusion was not clearly
related to Inclusive Communities.
Commenters asserted that the Fair
Housing Act states that there only needs
to be “some direct relation between the
injury asserted and the injurious
conduct alleged.”

Other commenters stated that Bank of
Am. Corp, v. City of Miami, which cites
Holmes v. Securities Investor Protection
Corporation, was wrongly decided
because Holmes was a securities fraud
case and did not specifically discuss the
Fair Housing Act.125 Other commenters
stated that the plaintiff should be
required to show proof of disparity and
establish a direct or sole cause between
the defendant’s actions and the
disparity to bring a prima facie case.

HUD Response: HUD appreciates
these comments. HUD intends to align
with Supreme Court precedent in Bank
of Am. Corp. v. City of Miami and has
made changes in the Final Rule to
mirror the language used in this
decision at § 100.500(b)(5), that is, there
is a direct relation between the injury
asserted and the injurious conduct
alleged. HUD is not relying on Inclusive
Communities for this element. HUD also
agrees with commenters that HUD is not
authorized to establish standing
doctrine, but HUD is only restating
language that aligns with Supreme
Court precedent. Because Bank of Am.
Corp. v. City of Miami is itself binding
precedent, the decision’s reliance on
Holmes does not alter the analysis.

(c) Failure To Allege a Prima Facie Case
(General)

Comment: The structure of HUD's
proposed pleading stage rebuttals
available for defendants to use to refute
the prima facie case will make it
difficult for legitimate claims to go
forward.

Commenters objected to the defenses
available under the Proposed Rule,
stating that the defenses in the Proposed
Rule skew the plausibility of a disparate
impact claim in the defendants’ favor by
greatly increasing the difficulty of
proving even meritorious claims. These
commenters wrote that finalizing a rule
with such defenses available would
cause HUD to violate its statutory duty
to affirmatively further fair housing,

123137 S, Ct, 1296 (2017),

124 Commenters cited {ity of Miamiv. Walls
Fargo & Co., 923 F.3d 1260, 1278, 1280 (11th Cir.
2019),

125 Td,

Commenters also said that expanding
the available defenses contravenes
disparate impact jurisprudence, because
exemptions have only been recognized
where they are statutorily authorized,
and courts have expressly rejected
arguments to expand exemptions. Other
commenters asserted that the defenses
are inconsistent with case law,

HUD Response: HUD disagrees that
this rulemaking violates HUD’s duty to
affirmatively further fair housing,
Affirmatively furthering fair housing is
an independent obligation relating to
the manner in which HUD administers
its programs, not an independent or
heightened enforcement mechanism.
HUD has broad discretion in defining
that obligation and carries out that
statutory duty through various other
policies, including through the
Proposed Rule published on January 14,
2020, at 85 FR 2041,

In addition, HUD believes that the
Proposed Rule, including the defenses,
is supported by case law. As recognized
by the Supreme Court in Inclusive
Communities, disparate impact is not
set forth explicitly in statutory language.
This Final Rule is intended to reflect a
constant, logical set of pleading
requirements consistent with prevailing
case law.

Comment: Support and opposition for
the siructure of HUD’s process for
rebutting the prima facte case.

Some commenters supported the
proposed defenses against a plaintiff's
prima facie case, stating that the
defenses in the Proposed Rule will
discourage abusive disparate impact
filings while still preserving cases that
are at the core of disparate impact
liability. Commenters noted the
Proposed Rule was consistent with
Inclusive Communities and FRCP
12(b)(6) precedent, which allows for
dismissal of meritless claims at the

leading stage.
. Gien caririibeea objected to the
Proposed Rule’s framework providing
explicit defenses as part of the pleading
stage. Commenters stated that the
preface cites nothing from Inclusive
Communities—or any other case law or
statute—that provides for this new
framework. Gommenters cited the three-
step, burden-shifting framework
included in Inclusive Communities and
the Fourth Circuit’s description of the
burden-shifting framework in de Reyes
v. Waples Mobile Home Park L.P.126
Commenters said that the de Reyes court
described the burden-shifting
framework as requiring plaintiffs to
prove a “robust causal connection” in
their prima facie case and defendants to

120903 F.3d 415 (4th Cir. 2018),

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prove legitimate nondiscriminatory
interests while emphasizing that this
causality requirement was not so strict
as to obligate plaintiffs to show “any
facially neutral rationale to be the
primary cause for the disparate impact
on the protected class. . .”

HUD Response: HUD believes that the
proposed framework is consistent with
existing case law. The de Heyes court
explicitly decided the case under
Inclusive Communities, not HUD’s
standard, and declined to decide
whether the two were different. In
Inclusive Communities, the Court stated
that courts must examine “with care”
whether a plaintiff has made a prima
facie case of disparate impact. The Court
also cited specific elements of a prima
facie case, and HUD has codified these
prima facie requirements in the Final
Rule. Section 100.500(d)} then specifies
that a defendant can allege in the
Pleading stage as a defense that the
plaintiff has failed to allege all elements
of the prima facie requirements.

Comment: HUD should provide
additional clarity to the prima facie
defenses.

Commenters stated that § 100.500(c)
should include a clarification that
defendants may introduce evidence that
the plaintiff has failed to make a prima
facie case, and that the defendant is
entitled to dismissal upon successful
establishment of a listed defense. These
commenters wrote that otherwise, some
district courts may erroneously deny
these defenses in connection with a
Rule 12 motion to dismiss the
complaint.

Commenters also suggested that HUD
specify that judges should decide
defenses against a prima facie case as a
question of law, rather than a question
of fact.

HUD Response: HUD has revised the
regulatory text for defenses, in
§ 100.500(d). The revised text clarifies
that defendants can, as part of a motion
to dismiss, argue that the plaintiff has
failed to sufficiently plead facts
sufficient to state a prima facie case,
which would allow a judge to dismiss
the case before discovery. There are alsa
defenses available under paragraph
(d)(2) after the motion to dismiss stage
that would require discovery and
further findings by the court. HUD
believes issues of law and fact are best
left to the judiciary.

Comment: Allowing defendants to get
cases dismissed at the pleading stage
violates the FRCP,

Commenters stated that the Proposed
Rule purports to specify how the
burden-shifting framework would apply
at the pleading stage of a case and
would allow defendants to have a case
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dismissed at the pleading stage by
making certain affirmative showings,
even when the complaint alleges all
necessary elements of the claim. The
commenter argues that this squarely
contravenes the FRCP regarding motions
to dismiss, summary judgment, and
Rule 12(d), which HUD has no authority
to repeal or modify, Other commenters
assert that the Proposed Rule
improperly encourages adoption of this
prima facie burden by courts.

HUD Response: HUD has revised the
regulatory text to clarify what elements
are necessary to establish a prima facie
case and what defenses are available at
the pleading stage. The revised text only
allows for a defense at the pleading
stage if the plaintiff has failed to
properly plead a prima facie case.
However, a defendant may make this
defense by showing, through the
plaintiffs complaint or other
information admissible at the pleading
stage, that the plaintiff has failed to
meet one of the elements. HUD
especially notes that the defendant may
show a failure to plead causation by
showing that the defendant's alleged
actions are reasonably necessary to
comply with a third party requirement,
such as a state law.

While the FRCP govern pleading
requirements, HUD’s disparate impact
tule addresses the underlying definition
of one specific cause of action under the
Fair Housing Act, which HUD has the
authority to implement. Specifically,
HUD’s Final Rule sets forth the standard
for establishing a disparate impact claim
(§ 100.500(a)), clarifies the prima facie
burden for plaintiffs in a disparate
impact case (§ 100.500(b)) and how a
defendant can demonstrate that a
plaintiff has failed to allege a prima
facie case (§ 100.500(c)), and clarifies
the burdens of proof in disparate impact
cases (§ 100.500(d)).

Additionally, this follows the
approach that HUD took in its 2013
Rule. HUD’s 2013 Rule both established
a burden-shifting framework and
defined the content of a ‘‘prima facie
showing of disparate impact’ to mean
“proving that a challenged practice
caused or predictably will cause a
discriminatory effect. . .” HUD’s Final
Rule also allocates the burden of proof
and defines when disparate impact can
occur, The main difference between
HUD’s 2013 Rule and the Final Rule is
that HUD is now providing more precise
guidance for when disparate impact
may occur in response to Inclusive
Communities.

HUD believes that Inclusive
Communities makes it particularly
important for courts to scrutinize
whether each element of a prima facie

disparate impact claim is sufficiently
pled before allowing a claim to proceed,
piven the constitutional and prudential
considerations that Inclusive
Communities outlined and HUD has
articulated. HUD believes allowing a
defendant to demonstrate that a plaintiff
has not pled the prima facie element of
connecting the disparate impact with
actions the defendant has taken is
appropriate at the pleading stage.

Comment: HUD does not have
authority to create fact-specific safe
harbors.

Commenters stated that courts have
declined to adopt exemptions and safe
harbors from disparate impact liability
as beyond their authority and cited to
Graoch Assoc. v. Louisville/Jefferson
County Metro Human Relations
Commission.127 Commenters stated that
absent such instruction, HUD lacks the
authority to evaluate the pros and cons
of allowing disparate-impact claims
challenging a particular housing
practice and to prohibit claims that we
believe to be unwise as a matter of
social policy.

HUD Response: HUD is not creating a
practice-specific exemption or safe
harbor, and HUD’s defenses are based
on HUD’s determination that a
defendant who can prove the defense
has necessarily shown that the
defendant cannot be liable in the
manner described by the plaintiff,
HUD’s Final Rule provides no specific
action that insulates a party from
liability in the manner of a “‘safe
harbor’ but instead elucidates the
general parameters of the disparate
impact theory consistent with Supreme
Court precedent.

(c)(1) Prima Facie Case Not Established
Because Defendant Discretion Is
Materially Limited by a Third Party

Comment: HUD should define
“materially limited”.

Commenters asked for a definition of
“materially limited” to clarify the
defense’s bounds, Commenters stated
that it is uncertain whether materially”
refers to information that is germane to
the criteria governing loan transactions
or the nature of an inaccuracy or
difference or the magnitude of the effect
of that disparity. Commenters also noted
that while the preamble suggests that
the defense of “materially limited”
discretion applies where a party must
take action that would constitute a
disparate-impact violation, its plain
language sweeps much further. It is
arguable that every action in heavily

127 508 F.3d 366 (6th Cir, 2007) (“Nothing in the
text of the [Fair Housing Act] instructs us to create
practice-specific sxceptions.”’).

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regulated industries such as insurance
or lending is taken when the actor’s
“discretion is materially limited” in
some way, thus eliminating the
disparate impact argument entirely.

HUD Response: HUD has revised the
regulatory text to pennit this defense
only when it is reasonably necessary to
comply with a law or court order, HUD
believes that this will clarify that the
law or court order must lead directly to
the defendant’s policy or practice.

Comment: “Materially limited by
federal or siate law” defense nat
supported by existing statute or case
law.

Many commenters expressed concern
about the Proposed Rule’s defense for
defendants who can show their actions
are materially limited by a third-party
such as a law or court decision. Some
commenters expressed that there is
nothing in the Fair Housing Act or
Inclusive Communities that would
support such a defense. Others stated
that allowing such a defense may
prevent plaintiffs from being able to
bring a claim against a state or local
agency for a discriminatory practice.
Commenters expressed support for
patties being able to implead state or
local governments if a state or local law
is at issue,

Commenters also stated that this
defense is much broader than HUD’s
previous position that HUD would only
recognize defenses based on conflicts
with state law in the context of the
McCarran-Ferguson Act.128 Commenters
noted section 816 of the Fair Housing
Act, which states that laws requiring or
permitting discriminatory housing
practices are invalid to that extent, and
they stated that the statutory provision
conflicted with HUD’s proposal to
create defenses that apply to only
certain defendants.

HUD Response: In Inclusive
Communities, the Supreme Court
recognized that HUD’s 2013 Rule had a
3-step process for disparate impact
overall. First, the plaintiff must
establish a prima facie showing of
disparate impact. The defendant must
then have the opportunity to prove that
the challenged practice is necessary to
achieve one or more substantial,
legitimate, nondiscriminatory interests.
The plaintiff could still establish
liability by showing that those interests
can be served by another practice that
has a less discriminatory effect. In
Inclusive Communities, the Court
expanded upon those steps, including
by favorably citing the lower court's
concurring opinion that included as an
element of a plaintiffs prima facie case

128.15 U.S.C. 1011-1015,
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a demonsiration that the defendant's
policy or practice is not a result of a law
that substantially limits the defendant's
discretion.129 If the defendant's
discretion is limited in such a way, the
Supreme Court identified this as a lack
of causal connection between the policy
or practice and the disparate impact,
and therefore the case should be
dismissed,

In addition, HUD does not believe
there is a conflict with section 816. The
framework of this Final Rule is to
require that, where an alleged
discriminatory policy or practice is the
direct result of state or local legal
requirements, entities merely complying
with such laws should not be held
responsible. Issues of impleaders,
joinder, and identifying appropriate
defendants are matters of civil
procedure outside the scope of this
rulemaking,

Comment: HUD should alter the scope
of the “materially limited” defense.

Several commenters asked that HUD
alter the scope of the defense where the
defendant is materially limited by a
third party. Some commenters suggested
that the scope be narrowed by removing
the words “such as” to clarify that this
defense is available only when a
defendant's discretion is materially
limited by Federal, state, or local law or
a binding court or other similar order,
and not when there are limitations from
other third parties. Others stated that
the defense should only be available
where a binding order or regulation
rendered a less discriminatory
alternative unavailable to the defendant.

Other commenters asked that the
defense be expanded. Commenters
suggested that defendants be allowed to
demonstrate that the defendant acted to
comply with applicable laws because
the defendant’s action is explicitly
required or authorized by the statute, or
because the action is permitted by the
law or reasonably calculated to comply
with the other law.

HUD Response: HUD believes that
this defense should be permitted only
when the policy or practice is legally
mandated by a third party. However,
those third parties can create the
mandates through a variety of methods
other than statutes or binding court
orders. HUD believes that defendants
should be able to argue that their actions
are required, regardless of the form of
mandate the third party uses, HUD is
therefore leaving “such as” in the Final
Rule.

129 See Tex. Dep't of Hous. & Cmty. Affairs v.
Inclusive Cmiys. Project, Inc., 135 §. Ot. 2507, 2524
(2015) (citing 747 F.3d, at 283-84).

HUD does not agree that language
should be added explicitly discussing
when a binding order rendered an
alternative unavailable to the defendant.
This issue would instead be covered by
the defense for a policy or practice that
was reasonably required by a law or
court order.

HUD also disagrees with expanding
the availability of the third-party
defense to when actions are merely
permitted by the law, as in those
instances the policy or practice would
not be mandated by the law or court
order. In such cases, it would not be
reasonably necessary to comply with a
third-party requirement. If the
defendant’s action is not reasonably
required to comply with the law or
court order, then the defendant has not
shown that the cause of the disparate
impact is a binding third party.

Comment: The proposed third-party
defense eliminates defendants’ liability
for discriminatory actions.

Commenters objected to the proposed
defense that a defendant’s actions are
materially limited by a third party,
because they stated that allowing such
a defense would eliminate liability for
bad actors by allowing them to blame
other entities. Commenters pointed out
that limited action of the government
entity promulgating the requirement
would shield the developer or landlord
acting upon the governmental policy
from liability, and thus no full relief
would be available to the plaintiffs.
Commenters stated that previous cases
have held that where an agent
discriminates by following the
directions of a principal, both the
principal and agent are liable for the
discrimination.13°9 Some commenters
additionally asserted that the third-party
defenses are inconsistent with the
common law principle that there can be
more than one proximate cause of
injury.

Commenters expressed that many
actions would result in a finding of no
liability, such as discriminatory zoning
decisions made in conformance with
local law or the reliance on crime-free
or nuisance ordinances in evictions of
victims of domestic violence.

HUD Response: In disparate impact
cases where liability is found, the
Supreme Court has directed that the
remedial order should concentrate on
rectifying and changing the
discriminatory practice.131 Therefore, in
the event that unlawful discriminatory
practices are mandated by statute or
court order, the most effective way to

130 See Alexander v. Riga, 208 F.3d 419, 4933 (3d
Cir. 2000).
131 See Inclusive Communities at 1224.

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eliminate the unlawful discrimination is
to remove or modify the underlying
statute or order that mandated the
unlawful discrimination. That also
allows for a single legal proceeding to
affect multiple actors, rather than
requiring many lawsuits for all the
entities affected by the statute or court
order.

Under the Fair Housing Act,
individuals may make complaints about
discriminatory policies or practices,
including those mandated by statute, to
HUD, and HUD has the authority to
proceed against various actors,
including governments. In addition,
under section 813 of the Fair Housing
Act, individuals have the ability to bring
suit against defendants, including
governmental entities, in district court.
Principal-agent law is inappropriate to
the relationship between the
government and the governed. Nothing
in the Final Rule suggests that a
government can insulate itself by its
own laws. Additionally, the third-party
defense is not available under the
language of the Final Rule in traditional
principal-agent relationships.

Comment: The proposed third-party
defense inappropriate at motion-to-
dismiss phase.

Commenters asserted that the
proposed defense at § 100.500(c)(1) is
impossible to fairly adjudicate as part of
the motion-to-dismiss inquiry, noting
that HUD does not explain how this
defense can fit into the practical
realities of litigation. Commenters stated
that if the complaint sufficiently alleges
that the defendant is responsible for the
challenged policy, and the defendant
contends otherwise, this question
cannot be resolved at the motion-to-
dismiss stage and must instead be
addressed through summary judgment
or trial. Commenters stated that
determining whether a defendant’s
discretion is limited should be deferred
to the traditional second step when the
burden shifts to the defendant to offer
justification, rather than as part of the
prima facie stage.

Other commenters noted that the
Proposed Rule does not state whether
the defenses under § 100.500(c} present
questions of fact for resolution by a fact
finder or questions of law for resolution
by a judge. They stated that the
Proposed Rule should make clear that
the defenses under § 100.500(c} present
questions of law for resolution by a
judge and that a judge should make any
subsidiary factual determinations bound
up within the overall legal analysis.

HUD Response: In Inclusive
Communities, the Supreme Court
favorably cited the lower court
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concurring opinion 182 that included, as
an element of a plaintiff's prima facie
case, a demonstration that it was the
defendant’s policy or practice, is not a
result of a law, that substantially limits
the defendant’s discretion.1? If the
defendant’s discretion is limited in such
a way, there is no causal connection
between the defendant’s policy or
practice and the disparate impact, and
therefore the case should be dismissed.
As a result, HUD believes that this
defense is properly available to
defendants at the pleading stage.
However, HUD has also revised

§ 100.500(d) to clarify that the third-
party defense is also available in the
fact-finding stage of the litigation. As
noted, HUD does not believe it is
appropriate for HUD to seek to delineate
legal and factual issues.

Comment: HUD should provide
examples.

Commenters stated it would be
helpful for HUD to articulate examples
of laws and rules in (c)(1) that
materially limit a covered party’s
discretion. For example, several Federal,
State and local statutes, regulations, and
guidance substantially limit the
discretion of rental housing providers in
using credit, rental, and criminal history
in their selection of tenants, Housing
providers following these mandated
criteria may have a complete defense
available to them, in some
circumstances, where their compliance
with mandated processes and practices
result in disproportional effect against
one or more protected classes.

HUD Response: HUD finds it difficult
to provide specific examples, as each
situation is fact specific. However, it is
HUD?’s intent in this rule to provide
protection for defendants with policies
or practices that are reasonably required
by state law or are within such a narrow
range of discretion that there is no
practical alternative.

Comment: Clarification of separate
defenses.

Commenters suggested HUD add the
word “or” at the end of § 100.500(c)(1)
to clarify each of the defenses are
independent and separately available as
a complete defense to a disparate impact
claim.

HUD Response: HUD has refined the
“defenses” section of the regulatory text
in § 100.500(d) to provide clarity on
what defenses are available and at what
stage of the litigation.

182 Inclusive Cmitys. Project, Inc. v. Tex. Dep't of
Hous. & Gmty, Affairs, 747 F.4d 275,283-84 (5th
Cir. 2014).

123 Inclusive Communities, at 2524.

(c)(2)—Defenses When Disparate Impact
Results From Use of System or Risk-
Assessment Algorithm

Comment: HUD should amend the
defense for use of algorithms or models
created by third parties.

HUD received many comments
regarding the proposed § 100.500(c)(2),
which provided certain defenses when
the alleged cause of a discriminatory
effect is a model used by the defendant.
Some commenters objected to the
proposed defense, stating that HUD did
not have enough information on the
nature, propriety, and use of algorithmic
models to adequately propose a
regulation on the topic. Commenters
urged HUD to consult with other
agencies to gain insight on the use of
artificial intelligence. Other commenters
noted that the relationship between
algorithms and the laws regulating
algorithms may create unpredictable
and potentially dangerous outcomes.
Some commenters asserted that the
Proposed Rule only addressed.
algorithms in prescribing defenses for
their use and failed to address their
potential harms or unintended
consequence. Commenters also asserted
that allowing safe harbors for the use of
algorithms would create devastating
economic costs and increase
discrimination.

Commenters also stated that the
premise of the defense was flawed, as it
provided a safe harbor for entire
industries that rely on algorithms,
particularly the insurance industry.
Some commenters suggested that HUD
lacks the statutory authority to create
such safe harbors, and the proposed
defense is counter to case law, including
Inclusive Communities. Commenters
stated that HUD should always require
a case-by-case analysis of disparate
impact claims rather than allowing
blanket safe harbors which would hold
defendants liable for their choices and
allow defendants to demonstrate that
the algorithm’s use is a for a legitimate
and nondiscriminatory purpose.
Commenters wrote that the proposed
defense defeats the purpose of the Fair
Housing Act and effectively imposes an
intent requirement in stark opposition
of the disparate impact theory.

Commenters stated HUD has not
identified the criteria that can be used
to confirm whether particular models
can be relied upon to produce
nondiscriminatory risk assessments, and
HUD should undertake additional
analysis of models used in the housing
industry to confirm whether these
models yield useful, nondiscriminatory
risk assessments or at a minimum
attempt to establish neutral criteria the

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housing providers and third parties that
develop such models can use to assess
whether they mect the safe harbor
requirements in advance.

Commenters said that allowing a
defense for “industry standard”
algorithm would still allow for
discriminatory impacts. Commenters
asserted that none of the authorities that
allow for self-testing create safe harbors
for algorithms vetted by a third party
that determines industry standards.
Others stated that allowing safe harbors
when algorithms are used will
undermine trust in technology,

Commenters stated that allowing a
blanket defense for the use of algorithms
would be counter to HUD’s own actions
in recent litigation dealing with targeted
advertising. Commenters asserted that
insurance companies are free to adopt or
modify third-party products or to use
their own algorithms, and therefore
there should be no defense for using an
algorithm.

Commenters stated that the proposed
defense language contained many
phrases and terms that are unclear and
undefined, which would lead to
increased litigation costs. Other
commenters stated that certain terms,
such as “industry standard”, should
remain undefined to account for rapid
business changes that may occur.
Commenters asked for further guidance
on how to evaluate assertions of the

Troposed third- defense.
Cithers atated That the defense
permitted the use of statistically sound
algorithms based on biased data,
potentially because of a concern that the
technology industry is not diverse
enough to create products without
discriminatory outcomes. Commenters
stated that data testing should be
mandated to uncover otherwise
invisible barriers to fair housing.

Others asserted that it would make
disparate impact cases more difficult for
plaintiffs to win, even potentially rising
to the point of violating the Equal
Protection Clause. Some said that it
would automatically exempt defendants
from having to demonstrate that a policy
is necessary to achieve a valid interest
and it would increase the burden for
plaintiffs to prove there is a less
discriminatory alternative. Commenters
also stated that defendants may combine
the use of algorithms with subjective
determinations, where the subjective
determination results in a disparate
impact, but the proposed defense may
not effectively allow plaintiffs to assert
such a claim.

Commenters asserted that the
Proposed Rule would create an
incentive to use third-party algorithms
without evaluating and testing the
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results and outputs of the algorithms,
thus shifting responsibility for disparate
impacts to third parties. Commenters
pointed to cases such as Miller v.
Countrywide Bank, NA.154 Commenters
asserted that third parties have
incentives to secure repeat business
rather than eliminating discriminatory
effects or giving candid advice about
potential impacts, and this defense will
allow a wide array of practices
facilitated by faulty algorithmic models
without liability.

Commenters also questioned whether
the proposed defense would afford any
relief to plaintiffs. Some commenters
asked HUD to clarify that the algorithm
developer could be held liable for
claims, even if the developer was not
directly engaged in making or
purchasing loans, Others stated that
third-party vendors may try to claim
that the discrimination was a result of
user misuse, thus potentially leaving
plaintiffs without any recourse.
Commenters suggested that HUD require
vendors to indemnify covered entities
for discriminatory compliance issues.

Some commenters expressed concern
that developers would attempt to rely
on trade secret law to avoid disclosing
information about the model, making it
difficult or impossible to examine biases
inherent in the data being used,
particularly in the pleading stage before
discovery. Commenters suggested HUD
might add confidentiality protections to
limit the disclosure of proprietary
information to enable examinations.
Others stated that HUD should require
algorithmic models be published to
provide transparency, including factors
considered, weights assigned, and all
elements that would contribute to a
decision, Some commenters stated that
plaintiffs with disabilities will not have
access to the type of information
necessary to challenge an algorithmic
model.

Commenters stated that allowing a
third-party to certify the algorithm's
soundness would further frustrate
plaintiffs’ ability to evaluate the model,
and such third parties are not always
reliable. Some commenters suggested
that the Proposed Rule contained
language explicitly stating that experts
cannot be deemed biased based on the
fact that the expert has received
payment or has prior history with
litigation under the Fair Housing Act.
Commenters stated that the Proposed
Rule does not require the third parties
to have fair housing experience, nor
does it provide standards for the
soundness certification. Commenters
expressed concern that an algorithm

194571 F, Supp, 2d 251, 260 (D. Mass. 2008).

could still be discriminatory even if it
is “statistically sound.” Commenters
stated that the proposed defense is
unclear on whether the algorithm must
be validated before or after initial use of
the model. Commenters also asserted
that HUD cannot mandate that a court
accept an expert’s testimony as
conclusive fact. Commenters stated that
it would be expensive for plaintiffs to
disprove third-party verifications of
models, requiring plaintiffs to gather
data and retain expert analysis and
testimony.

Commenters also stated that HUD
failed to account for the additional
burden that small entities would need to
undertake to get their own algorithms
validated by a third-party, and stated
that larger companies, with their
increased capacity for getting algorithms
validated, would be able to create a
higher barrier of entry for small
businesses looking to develop
algorithms.

Commenters stated that the Proposed
Rule should focus more on any
algorithm’s outputs. Some stated the
defense would be problematic without
requiring independent audits to
determine the accuracy and reliability of
algorithmic-based decisions.
Commenters stated that the proposed
defense did not account for the way data
combinations can produce negative
impacts, particularly if artificial
intelligence is allowed to “learn” to
create proxies for otherwise prohibited
factors.

Commenters stated that the standard
that material factors in the algorithm not
be substitutes or proxies for protected
classes was inadequate, as close proxies
can be used if they are not “material”,
and sometimes multiple components
that are neuiral on their face can be an
indicator of membership in a protected
class when combined. Commenters also
stated that what is a close proxy for a
protected class may even be mutable
over time, and that there are variables
that may not be “substitutes of close
proxies” but are still influenced by a
history of discrimination.

HUD Response: HUD appreciates all
of the comments and suggestions. As
noted in the Proposed Rule, HUD
believes that this area was particularly
difficult and specifically solicited input
on this topic. After considering the
comments, HUD has removed this
language from the Final Rule. Insiead, in
§ 100.500(d)(2)(i), HUD has included
language allowing a defendant to
demonstrate that the policy or practice
being challenged is intended to predict
the occurrence of an outcome, the
prediction represents a valid interest,
and the outcome predicted by the policy

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or practice does not or would not have

a disparate impact on protected classes
compared to similarly situated
individuals not part of the protected
class, HUD believes this results-based
approach is consistent with a number of
well-founded comments.

HUD believes that this language
achieves many of the goals of the
proposed defense while addressing
many of the concerns raised by
commenters. The defense eliminates the
issue of whether the challenged policy
or practice is the use of an algorithm
and who created or reviewed the
algorithm. The defense also does not
rely on whether the inputs are proxies
for protected classes, eliminating the
necessity for examining all the
components of the algorithm.

Instead, HUD believes that the Final
Rule is improved by focusing the
inquiry on whether the defendant has a
valid interest in predicting an outcome
and whether the ultimate outcome of
the challenged policy or practice has a
disparate impact on a protected class
compared to similarly situated
individuals outside of the protected
class.

(d) Burdens of Proof for Discriminatory
Effect

Comment: HUD should not have
changed the 2013 Rule’s burden of
proof.

Commenters stated that the Proposed
Rule provided no explanation for
changing the burdens of proof set out in
the 2013 Rule and that the 2013 Rule’s
burden shifting framework is consistent
with Inclusive Communities, which
cited the 2013 Rule regarding burdens,
and established law, One commenter
stated that the proposed burden of proof
is a high barrier that would make it
virtually impossible to bring the
bedrock and heartland housing
discrimination cases that Justice
Kennedy in Inclusive Communities
expressly stated should be brought
using disparate impact. Commenters
noted that a district court expressly
rejected the argument that the Supreme
Court was changing the three-prong
doctrine.135

Commenters stated that the 2013 Rule
framework was consistent with United
States v. City of Black Jack,13®° which
was cited by Inclusive Communities and
established a three-step test similar to
that established for Title VI
employment cases in Griggs v. Duke
Power.137 Commenters noted that when

186 Smith v. City of Boston, Mass., 144 F. Supp.
3d 177, 211.43 (D. Mass. 2015).

138 508 F.2d 1179, 1186 (8th Cir. 1974).

137.401 U.S, 424 (1971),
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Congress amended the Fair Housing Act
in 1988, nine federal courts of appeals
had endorsed Black Jack’s basic halding
that the statute prohibits actions with an
unjustified disparate impact.
Commenters cited to post-Inclusive
Communities decisions in which courts
have followed long-standing Fair
Housing Act disparate impact
jurisprudence. Commeniers also stated
that Wards Cove’s reasoning suggests
that putting such a burden on plaintiffs
at the pleading stage is not appropriate,
or that Wards Cove's reasoning is based
largely on careful analysis of the
practical realities of Title VII
compliance, and not Fair Housing
issues. Several commenters asserted that
the Proposed Rule’s defenses to
disparate impact liability are
unnecessary because defendants could
already raise such defenses as legally
sufficient justifications under the 2013
Rule. Commenters expressed preference
for the 2013 Rule’s analysis of disparate
impact claims on a case-by-case basis
and noted that the 2013 Rule's
“business necessity defense” was
already flexible enough to incorporate
many of the defenses in the Proposed
Rule.

Commenters objected to the
requirement that a defendant merely has
a burden of production concerning a
valid interest and the specification that
a plaintiff must prove a less
discriminatory alternative. Commenters
acknowledged that this requirement is
drawn from Wards Cove. However,
commenters asserted that these burden-
shifting standards established by Wards
Cove were quickly rejected by Congress
in the Civil Rights Act of 1991.
Commenters stated that nothing in
Inclusive Communities now renders it
more appropriate to import Wards Cove
into the Fair Housing Act and that
although Inclusive Communities
includes one favorable citation to Wards
Cove, it is to a portion that was not
abrogated by the Civil Rights Act of
1991. Commenters noted HUD
specifically rejected giving the
defendant only a production burden,
but not a persuasion burden, in the 2013
Rule because it is consistent with the
burden of proof allocation in settled Fair
Housing Act case law and with the
standard under Title VI and the ECOA.

Other commenters stated that the
plaintiff properly bears the burden of
proof at all stages, and the persuasion
burden does not shift to the defendant
in the pleading stages.

HUD Response: HUD has revised the
Final Rule's structure to clarify the
burden shifting approach. This Final
Rule is similar to the 2013 Rule’s
burden shifting approach, but provides

more detail and clarity following the
Supreme Court’s decision in Inclusive
Communities, The 2013 Rule
inappropriately required the defendant
to prove that the challenged practice
was necessary to achieve a substantial,
legitimate, nondiscriminatory interest.

In Inclusive Communities, the
Supreme Court stated that the Fair
Housing Act is not an instrument to
force housing authorities to reorder their
priorities, but rather to ensure that those
priorities can be achieved without
arbitrarily creating discriminatory
effects. The Supreme Court analogized
to, rather than expressly adopted, the
business necessity standard under Title
VII.156

HUD finds that the analogy to the
business necessity standard under Title
VI is persuasive. Per Wards Cove, ifa
Title VU plaintiff establishes a prima
facie case of discrimination, the burden
of producing evidence of a legitimate
business justification for those practices
will shift to defendant, but the burden
of persuasion will remain with the
plaintiff at all times.139 This is
consistent with the concept in Inclusive
Communities of giving housing
authorities and developers “leeway to
state and explain the valid interest
served by their policies.”” The Proposed
Rule would implement this standard in
the fair housing context in its section on
burden of proof.14°

Wards Cove remains relevant law.
Historically, disparate impact standards
under Title VII have tracked standards
under Title VII Fair Housing Act
liability. Thus, Wards Cove has
implications for Title VII Fair Housing
Act liability. Congress did not amend
Title VOI when it amended Title VII, so
Wards Cove is still operative in Fair
Housing Act cases. Further, while
Inclusive Communities acknowledges
that Wards Cove was “‘superseded,” it
still cites Wards Cove on the importance
of a robust causality requirement and
cites to the statutory change that only
impacted Title VII as the reason for the
superseding.?*1 Thus, the Supreme
Court still believes that Wards Cove is
controlling for disparate impact fair

138 Inclusive Communities, at 2522,

138 Wards Cove Packing Co, v. Atonio, 490 11.8.
642, 644 (10989).

149 See also the Proposed Rule, 84 FR 42856,
footnote 43 (August 19, 2019).

141 See Inclusive Comununities, at 2523 (“A robust
causality requirement ensures that “[rlacial
imbalance. . . does not, without more, establish a
prima facie case of disparate impact” and thus
protects defendants from being held liable for racial
disparities they did not create, Wards Cove at 653
superseded by statute on other grounds, 42 U.S.C.

§ 2000e—2(k).”).

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housing cases even if not now
controlling for Title VII cases.

HUD also notes that the burden of
production is a more logical burden for
the defendant because the defendant
may effectuate a defense by challenging
other elements of the plaintiff's case,
without reaching the issue of a valid
interest. If the defendant chooses to
raise this particular defense, then the
defendant must produce evidence to
support such a defense. It is ultimately
the plaintiff's burden to prove a case,
and the plaintiff must do so by rebutting
any evidence produced by the
defendant.

As to the comment that Smith v. City
of Boston rejected the reading of
Inclusive Communities as changing the
three-prong burden shifting test, those
statements by the District Court ina
footnote, which were part of a
discussion of the role of the third prong
in Title VII analysis (that plaintiffs can
rebut a showing of business necessity by
identify a less discriminatory alternative
that meets the defendant’s legitimate
needs), were simply dicta, as that part
of the burden shifting test was expressly
not a factor in the actual holding
because the defendant’s case failed at an
earlier stage.142

(d)(1) Not Remote or Speculative

Comment: “remote or speculative” is
vague and unnecessary.

A commenter asserted that the
“remote or speculative” standard is
inherently vague and gives litigants no
useful marker to evaluate evidence,
particularly at the pleading stage. The
commenters further agreed that it raises
the standard a plaintiff must meet to
prove their case at every stage of the
proposed burden shifting test. A
commenter stated that adding this
language is unnecessary as
administrative and judicial proceedings
would necessarily exclude this type of
evidence. Other commenters stated that
HUD should define the term as
“qbjective evidence that is measurable,
valid, and reliable.”

HUD Response: HUD has concluded
that evidence which is remote or
speculative would necessarily not be
allowed under administrative and
judicial rules of evidence. Thus, HUD
has removed the term from the Final
Rule, as it is unneeded and confusing.

(d)(1)(i) Plaintiff's Evidentiary Burden

Comment: Plaintiff should
“demonstrate” not “prove”.

Commenters suggested an alternative
that plaintiffs should not be required ta

142 Smith v. City of Boston, 144 F. Supp. 3d 177,
211 fm. 43 (D. Maas. 2015)
Case 1:13-cv-00966-RJL
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“prove” elements in paragraphs (b)(2)
through (5), but should instead be
required to ‘demonstrate’ the elements
through preponderance of evidence.

HUD Response: The regulation refers
to burden of proof by preponderance of
the evidence, which is the usual
standard of proof for a plaintiff in civil
cases.

(d)(1)(ii) Less Discriminatory Policy

Comment: “Equally effective”
alternative not legally justified.

Commenters noted that at least one
post-Inclusive Communities case has
rejected the argument that a less
discriminatory alternative must be an
equally effective means for achieving a
legitimate interest. Other commenters
stated this prong renders the “less
discriminatory alternative” ineffective.
Commenters also stated that the “legally
sufficient justification” standard already
existed under the 2013 Rule and HUD
correctly implemented it in “Office of
General Counsel Guidance on
Application of Fair Housing Act
Standards to the Use of Criminal
Records by Providers of Housing and
Real Estate-Related Transactions.” 144
Several commenters stated HUD
considered and rejected elements of the
Proposed Rule when HUD published the
2013 Rule, like the “equally effective
manner” element and that the plaintiff
must prove a practice lacks a legitimate
justification.

HUD Response: The 2013 Rule
provided that it is a defense to a
plaintiff's prima facie case that there is
a “legally sufficient justification” for the
practice, and that the legitimate,
nondiscriminatory interests that
constitute the legally sufficient
justification could not be served by a
less discriminatory alternative practice.

The Proposed Rule would change the
burden on the parties such that, if the
defendant rebuts the plaintiffs’ case by
showing that the challenged practice
advances a valid interest or interests,
the plaintiff must then show that by a
preponderance of the evidence that a
less discriminatory policy or practice
exists that would serve the defendant’s
identified interest in an equally effective
manner without imposing materially
greater costs on, or creating other
material burdens for, the defendant.

This approach is consistent with
Inclusive Communities, which noted,

1431),8. Department of Housing and Urban
Development, HUD Office of General Counsel
Guidanee on Application of Fair Housing Act
Standards to the Use of Criminal Records by
Providers of Housing and Real Estate-Related
Transactions, HUD,gov (April 4, 2016), Attps://
www.hud gov/sites/documents.
OGOCGUIDAPPFHASTANDCH.PDF.

“[I]t would be paradoxical to construe
the Fair Housing Act to impose onerous
costs on actors who encourage
revitalizing dilapidated housing in our
Nation’s cities merely because some
other priority might seem
preferable.” 144
The Final Rule, therefore, balances
these interests involved by requiring
that a less discriminatory alternative, if
posed as a basis for discriminatory
impact liability, is one that will not
unduly harm defendants. HUD notes
here that the costs or burdens to be
considered and the nature of the less
discriminatory alternative both
incorporate an assumption of
materiality. In order for plaintiffs to fail
to meet their burden on this issue, the
costs or burdens that would be imposed
by the less discriminatory alternative
must be material. The “less
discriminatory alternative” prong would
also have to be material and would be
properly balanced against the
defendant’s legitimate interests.
Comment: “Less discriminatory
alternative” is too generous to plaintiffs.
Commenters suggested that HUD
eliminate the less discriminatory
alternative requirement altogether.
Commenters stated that allowing a
plaintiff to rebut a defendant’s showing
that the challenged practice advances a
valid interest where a defendant insurer
can show that it utilized risk-based
pricing and underwriting in accordance
with state insurance laws, allows the
plaintiff to rebut and then require the
defendant to prove a material cost or
burden is contrary to the holding in
Inclusive Communities. The commenter
asserted this process would force a
federal court to weigh the relative merits
of insurance rating methods, which is
the purview of the states under the
McCarran-Ferguson Act245 and would
greatly hinder the insurer’s ability to
make reasonable decisions inherent ina
free economy. Other commenters stated
that the Proposed Rule should require
the plaintiff to prove the existence of a
nondiscriminatory alternative that has
actually been implemented in an
operation similar to the defendant's.
HUD Response: HUD does not believe
that these proposals would be consistent
with Inclusive Communities, or the Fair
Housing Act generally, and therefore
declines to accept them. Generally, the
ability of a plaintiff to raise the
existence of a less discriminatory
alternative that is equally as effective
has been recognized consistently by
courts in Tifle VO and Title VII
disparate impact cases. As far as

144 Inclusive Communities, at 2512,

145.15 U.S.C. 1911-1015,

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applicability to insurance specifically,
Federal courts have ruled on the
applicability of the Fair Housing Act in
cases where States regulate insurance,
and that case law would apply.1446 HUD
itself has also opined on this issue and
determined that a general waiver of
disparate impact law for the insurance
industry would be inappropriate,1*7
After further consideration, HUD
continues to believe that this
determination was correct.

Comment: Less discriminatory
alternatives analysis is flawed.

Commenters stated that the Proposed
Rule’s discussion of less discriminatory
alternatives does not acknowledge that
lowering a requirement like an income
requirement may appear to reduce the
discriminatory effect when comparing
acceptance rates, but may appear ta
increase the discriminatory effect when
comparing denial rates. The
commenters stated that the Final Rule
should provide guidance on how such
a situation would apply in a less
discriminatory alternative.

HUD Response: HUD declines to
opine on fact-specific situations.
Whether an alternative is less
discriminatory is left to the sound
judgment of a court. Parties may
generally present arguments and
evidence about the impact of a
particular policy or practice and the
proper perspective for considering it.

Comment: HUD should provide
additional defenses.

Several commenters suggested that
HUD provide an additional defense.
Some commenters suggested a complete
defense where a defendant shows
inaccuracies or unreliability in the data
methodology used to prove the
existence of a disparity or where the
defendant was not the actual cause of
the disparate impact.

Commenters proposed an additional
or alternative defense for owners that
adopt a written policy that is not
discriminatory on iis face and is
reasonably calculated to achieve a
legitimate property management
objective.

Other commenters proposed a defense
where the challenged practice is
consistent with any policy or practice
that HUD has approved for the
operation of Federally insured housing,
is related to determining tenant
eligibility or selection, and is reasonably
calculated to enhance housing
opportunities for persons who are

148 F.g., Nationwide Mut. Ins. Co. v. Cisneros, 52
F.3d 1351 (6th Cir. 1995); Ojo v. Farmer's Group,
600 F.3d 1205 (Sth Gir. 2010).

147 See “Application of the Fair Housing Act’s
Discriminatory Effects Standard to Insurance,” 81
FR 69012 (Oct. 5, 2016).
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members of protected classes or other
vulnerable classes.

Commenters requested the Final Rule
include language allowing reliance on a
housing finance agency’s analysis of
local conditions as proof that a policy or
practice is necessary.

HUD Response: HUD declines to
adopt these proposed defenses. While
HUD believes that each of these
situations would generally not be
situations in which the defendant
would be found liable, HUD declines to
provide a specific exception because
HUD believes that there may be fact-
specific situations which HUD cannot
foresee but which may lead to liability
in these situations, HUD notes that the
Final Rule, while not providing these
defenses specifically, provides more
general defenses which defendants in
similar situations could use to rebut a
case alleging disparate impact such as
reasonable steps to comply with a
governmental request.

Comment: Special defense for Public
Housing Agencies (PHAs) exercising
discretion.

Commenters stated there should be no
special defense for public housing
agencies. Commenters said Inclusive
Communities does not provide support
for adding a separate defense for either
PHAs or housing finance agencies and
said HUD’s current standard is
sufficient to ensure that PHAs are
afforded “leeway to state and explain
the valid interest served by their
policies.” Commenters stated that such
a question is fact specific. Some
commenters supported a defense for
housing authorities who demonsirate
their actions or decisions were
reasonable and made with sound
discretion,

HUD Response: HUD’s 2013 Rule did
not have such a defense and HUD has
determined a defense particularly for
PHAs is not appropriate. HUD believes
that the protections which are already in
the proposed and Final Rule provide
sufficient safeguards for PHAs.

(d)(2) Defendant’s Burden

Comment: Regulatory Text is
Repetitive.

A commenter asserted that (d)(2)
unnecessarily repeats that the
respondent may assert the complainant
has failed to support their allegations
with a preponderance of the evidence.

HUD Response: HUD seeks to avoid
unnecessary repetition but believes
some repetition aids in ensuring that
burdens and duties in disparate impact
litigation are clear at all steps. HUD has
made edits to the Final Rule to provide
clarity and avoid repetition where
possible.

Comment: Suggestions specifically for
the defendont’s burden at 100.500{d){2).

Commenters requested that HUD
clarify the Proposed Rule so that it is the
plaintiffs burden to demonstrate
“equally effective manner,” ‘‘materially
greater costs,” and “material burden.”

Commenters also stated that HUD
should limit the scope of any
“individualized assessments,” because
of the burden it creates for housing
providers. Although not explicitly
required in the Proposed Rule, the
commenters state this should be
clarified considering the mitigating
evidence required by the courts in prior
cases,

HUD Response: HUD has made
clarifying edits to each party's burdens
and believes that these burdens are
clear. HUD notes that the less
discriminatory alternative is the
plaintiff's burden of proof, but the
defendant has the burden of rebutting a
plaintiff's proposed alternative if the
defendant seeks to show that the
alternative would impose materially
greater costs or burden.

(d)(2)(iii) Valid Business Interest

Gomment: The business interest
defense conflicts with law, related
agency practice, and places unequal
burdens on the plaintiff versus the
defendant.

Commenters asserted that the
business interest defense: Conflicts with
the 2013 Rule, Title VI, and ECOA
because it fails to require the business
interest to be substantial, legitimate, or
nondiscriminatory; does not require that
the challenged policy is necessary to
accomplishing the purported interest;
and does not require that a defendant’s
evidence be material and not remote,
speculative or hypothetical (while
requiring plaintiffs’ evidence to be so).
Commenters stated that the Proposed
Rule does not provide an explanation
for altering the business interest
defense, noting that Inclusive
Communities provides no support for
this revision, and suggested it would
create a dramatic imbalance in the
quality of evidence required for
plaintiffs as opposed to defendants.

Commenters asserted that case law
Tequires instead an assessment of
whatever justifications the defendant
advances and carefully weighing them
against the degree of adverse effect the
plaintiff has shown.148

148 Inclusive Communities, 135 S. Ct. at 2522
(“The Act aims to ensure that [local housing]
priorities can be achieved without arbitrarily
creating discriminatory effects or perpetuating
segregation. . . in order to prevent segregated
housing patterns that might otherwise result from
covert and illicit stereotyping”) (citing Huntington

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Many commenters expressed concern
that the Proposed Rule would contradict
established precedent and exempt
potential defendants from liability for
implementing policies that produce
profits because a less discriminatory
policy must also be shown to produce
substantially similar profits under the
Proposed Rule, Commenters asserted
that factors ‘relevant to the justification’
of a practice with a discriminatory
impact ‘could include cost and
profitability,’ but a practice cannot be
justified simply because of cost or
profit. Commenters stated that the
alternative policy element is inadequate
without a definition explaining “other
material burdens” or “materially preater
costs.”

HUD Response: Inclusive
Communities stated that defendants
must be given leeway to “state and
explain the valid interest served by their
policies.”’ 148 HUD mirrors this language
by requiring defendants to provide a
“valid interest.” What is considered
valid is a fact-specific question, but an
interest that is intentionally
discriminatory, non-substantial, or
otherwise illegitimate would necessarily
not be “valid.” HUD does not believe
this creates a “dramatic imbalance,” but
merely allows the defendant the
opportunity to identify any valid reason
for the policy being challenged. Profit is
necessarily a valid interest for
businesses. It was expressly recognized
by the Supreme Court in Inclusive
Communities. If a defendant produces
evidence which is not persuasive, that
evidence must be weighed
appropriately,

HUD also declines to define
“material,’’ What is “material” is a fact-
specific question which is heavily
dependent on the type of defendant and
the type of valid interest being raised. It
is not the intent of this Final Rule that
a defendant would be insulated from
liability simply because a less
discriminatory alternative shows an
immaterial decrease in profits or
burden, As the Proposed Rule states, the
costs or burdens imposed must be
material, and something more than a
mere inconvenience to the business.
What is material in a specific case will
have to be determined by the court, and
this analysis may consider the
materiality of the harm which the
disparate impact is causing. However,
HUD does not find a prescribed
balancing test to be consistent with
Inclusive Communities, which stated
“TiJt would be paradoxical to construe

Branch, N.A.A.CP. vy. Town of Huntington, 344
F.2d 926 (2nd. Cir. 1988).
148 Fd, at 2522.
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the [Fair Housing Act] to impose
onerous costs on actors who encourage
revitalizing dilapidated housing in our
Nation’s cities merely because some
other priority might seem

preferable,’’ 159

Comment: Plaintiffs cannot prove that
defendant’s asserted interest is
illegitimate,

Commenters stated that the Proposed
Rule does not set forth an opportunity
for plaintiffs to prove that the
defendant's asserted interest is
illegitimate because the Proposed Rule
immediately shifts to the third step and
requires the plaintiff to prove that there
is a less discriminatory alternative.

HUD Response: The Proposed Rule
was drafted under the assumption that
the plaintiff would necessarily have the
opportunity to prove that the
defendant’s asserted interest is not
valid. The Final Rule has been revised
to make this explicit.

100.500(e)—Business of Insurance

Comment: Proposed rule's interaction
with State regulation of insurance,

Commenters stated that proposed
§ 100.500(e) would create a safe harbor
for insurance claims under the Fair
Housing Act, or preempt all such
possible claims that the McCarran-
Ferguson Act has no reverse-preemptive
effect on Federal law at all. A
commenter asserted that insurers were
required to litigate whether their
practices were “actuarially sound and in
accordance with state law.” This would
force Federal courts to second-guess the
actuarial soundness of particular state-
regulated insurance practices, including
whether there is a less discriminatory
but equally effective alternative practice
that would serve the defendant's
identified interest. A commenter stated
that this would violate the McCarran-
Ferguson Act.151 A commenter further
stated that HUD has provided no
evidence to support the need for an
insurance industry exemption.
Conversely, another commenter stated
that the proposed section 100.500(e)
does not mention the McCarran-
Ferguson Act, but asserted that the
proposed regulation uses parallel
language and attempts to exempt the
insurance industry from disparate
impact liability. The commenter stated
that there is no reason the insurance
industry cannot comply with both the
McCarran-Ferguson Act and the Fair
Housing Act, because disparate impact
liability is not incompatible with the
insurance business, as the Final Rule is
expressly written to accommodate

150 Td. at 2523.
15115 U.S.C, 1011-1015,

legitimate business practices, and
exempting lenders from disparate
impact lability would eliminate an
important mechanism for plaintiffs to
challenge intentional discrimination.
Another commenter stated that HUD in
the Proposed Rule declined to exempt
homeowner’s insurance or meaningfully
address whether extending disparate
impact liability to homeowner’s
insurance would interfere with State
regulation of insurance in violation of
the McCarran-Ferguson Act.
Commenters also argued that states were
better equipped to regulate the
insurance industry.

Finally, some commenters asserted
that the Proposed Rule conforms to the
Mc(Carran-Ferguson Act and noted court
decisions have affirmed the Fair
Housing Act does not conflict with state
insurance laws, and that the Fair
Housing Act necessarily addresses the
insurance indusiry by virtue of
addressing the lending industry.

HUD Response: Relevant case law
indicates that neither of the extreme
positions—that all insurers should be
shielded from all disparate impact
liability, or that McCarran-Ferguson has
no preemptive effect at all—is correct.
Rather, “‘[wJhen federal law does not
directly conflict with state regulation,
and when application of the federal law
would not frustrate any declared state
policy or interfere with a State’s
administrative regime, the McCarran-
Ferguson Act does not preclude its
application.” 152 HUD is neutral as to
the application of McCarran-Ferguson in
specific cases. A federal law that does
not relate specifically to the business of
insurance is not to be construed to
invalidate, impair, or supersede State
law enacted for the purpose of
regulating the business of insurance.153

The Proposed Rule and Final Rule
make clear that HUD is only clarifying
that its disparate impact rule is not
specifically related to the business of
insurance. State laws regulating
insurance will supersede the Fair
Housing Act in a discriminatory impact
case if the application of the Fair
Housing Act in that case would
invalidate, impair, or supersede State
law regulating insurance.15+ In the Ojo
case, then, the dispositive question was
“whether application of the [Fair
Housing Act] to Ojo’s case might
invalidate, impair, or supersede” certain
provisions of the Texas insurance code,
in which case State law would prevail;

152 Humana Inc. ¥, Forsyth, 525 U,§, 299, 310

(1999),

155 15 U.S.C. 1012(b).

154 Ojo v. Farmers Group, Inc., et al,, 600 F.3d
1205, 1208 (9th Cir. 2010).

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or on the other hand, could
“complement”’ that State’s law, in
which case the Fair Housing Act’s
provisions would apply and a disparate
impact suit would not be prevented. In
Ojo, the court found that Texas law was
unsettled, and certified the issue to the
State Supreme Court for resolution,155
An example of a case where the Fair
Housing Act was found to complement
State insurance law, allowing a
disparate impact suit to go forward, is
Nationwide Mutual Ins. Co. v.
Cisneros.155 In that case, which was a
geographic redlining case involving an
allegation that an insurance policy was
cancelled due to the insured’s race and
place of residence, the Ohio law at issue
prohibited insurers from “making or
permitting any unfair discrimination
between individuals of the same class”
involving “the same hazard in the
amount of premium, policy fees, or rates
charged.’’ 157 The Sixth Circuit held that
the presence of additional remedies
under the Fair Housing Act did not
cause the Fair Housing Act to
invalidate, impair, or supersede Ohio
insurance law, and under McCarran-
Ferguson, the Fair Housing Act was not
preempted. Similarly, in another
redlining case, where the allegation was
that the insurer declined to renew a
policy based on the neighborhood in
which the insured lived, United Farm
Bureau Mut. Ins. Co. v. Metropolitan
Human Relations Comm’n,1** the court
found that since the State “does not
require or condone redlining, or commit
to insurers all decisions about
redlining,” application of the Fair
Housing Act was not precluded.
Examples of cases where a court
found that the McCarran-Ferguson Act
prevented the application of the Fair
Housing Act include Taylor v. Am.
Family Ins. Group,1*9 in which the
plaintiff alleged that defendant’s policy
of using an insured’s credit score to set
prices violated civil rights laws,
including the Fair Housing Act. The
state law allowed the use of credit
information to create insurance scores
for the purpose of assessing risk and
setting premiums. The court found that
allowing the plaintiff to challenge the
defendant’s credit-based insurance
scoring system under federal civil rights
statutes, including the Fair Housing Act,
would impair the State-specific
insurance laws and, therefore, the
plaintiff's claims under those federal

155 Jd. at 1209-1210.

15652 F.3d 1351 (6th Cir. 1995).

157 Jd. at 1361.

158 24 F.3d 1008 (7th Cir. 1994).

1582008 U.S. Dist. LEXIS 61181 (D. Neb,, Aug. 11,
2008),
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statutes could not proceed under the
McCarran-Ferguson Act.169 In Saunders
v. Am. Family Mut. Ins. Go.,1®1 the
plaintiffs alleged price discrimination.
The court found the claims barred under
McCarran-Ferguson based on the fact
that the State provided an exclusive
administrative remedy for insurance
rate complaints, including under the
State law that prohibited rates that are
“excessive, inadequate, or unfairly
discriminatory,” The court found that if
McCarran-Ferguson did not apply, the
court would be forced to determine
what a fair and non-discriminatory rate
would have heen, creating a conflict
with the State’s administrative
regime,162

This rulemaking does not establish an
insurance industry exemption. As
required by Federal law, specifically the
McCarran-Ferguson Act, the Final Rule
recognizes that Federal law that does
not specifically relate to insurance may
be barred if it would impair, invalidate,
or supersede the State’s insurance laws
and regulations, and that this result
under McCarran-Ferguson is a potential
defense to disparate impact liability
under the Fair Housing Act. It will be
for the courts in individual cases ta
decide if a particular application of
disparate impact liability under the Fair
Housing Act would invalidate, impair,
or supersede State law.

Comment: Practice of risk-based
pricing and underwriting should be a
complete defense to disparate impact
claims.

A commenter asserted that the
practice of risk-based pricing and
underwriting is an objective practice
that is necessary for the insurance
industry to function and should provide
a complete defense to disparate-impact
based claims, A commenter offered that
if insurers could not set rates or make
underwriting decisions based on
objective, predictive, and permitted risk
factors, the insurance industry could not
function properly.

HUD Response: The applicability of
Federal law to insurance industry
practices is governed by the McCarran-
Ferguson Act.163 McCarran-Ferguson
preemption,154 insofar as it relates to the

180 McKenzie v. 5, Farm Bureau Cas. Ins. Co.,
2007 U.S. Dist. LEXIS 49133 (N.D. Miss. July 6,
2007) has a similar factual situation. In that case,
the court held that since the State enacted a
regulation authorizing the activity about which
plaintiff complained (using credit history to set
tates), a Fair Housing Act challenge is untenable
because of the McCarran-Ferguson Act (15 U.S.C,
1011-1015),

181 2007 U.S. Dist. LEXIS 18804 (W.D. Mo., March
16, 2007).

182 Jd. at *27—-28.

18375 U.S.C, 1011-1015.

18442 1J.5.C. 1012(b).

applicability of disparate impact
liability, has to do only with whether
Federal law impairs, invalidates, or
supersedes State law; it says nothing
about risk-based pricing or any specific
insurance practice per se. If the State
law requires risk-based pricing
regardless of other considerations, and
the insurance practice involved is in
accordance with that requirement, a
claim that risk-based pricing results in
disparate impact would likely impair,
invalidate, or supersede State law and
would be preempted. However, in cases
where risk-based pricing is not required,
the court would have to do a further
examination as to whether application
of disparate impact liability would
impair, invalidate, or supersede State
law or the State’s administrative regime.
If the State law itself prohibits
discrimination in pricing or
underwriting, application of disparate
impact liability may be held not to
impair State law because it is
complementary.15* A similar result may
occur if the State law is silent on risk-
based pricing. Due to the potential
variability of State laws, a blanket
defense for insurance matters is outside
the authority of HUD under the Fair
Housing Act.

Comment: Robust causal link cannot
be satisfied by an insurer's reliance on
risk-based pricing and underwriting.

A commenter asserted that insurers’
use of risk-based pricing and
underwriting results in the practice not
being a direct cause of any resulting
disparate impact. Thus, the commenter
stated that a plaintiff challenging risk-
based pricing and underwriting of
homeowners and commercial
habitational insurance cannot satisfy the
“robust causal link” requirement of
proposed § 100.500(b)(2) and is the
result of factors that are not within the
control of insurers. Relatedly,
commenters asserted that State laws
thus “substantially limit” the discretion
of insurers in a manner that would make
it impossible to ascribe any disparate
effects of underwriting or pricing
practices to insurers’ independent
choices.

HUD Response: While HUD does not
agree categorically that there can never
be a robust causal link between the use
of risk-based pricing and an adverse
effect on members of a protected class,
that could be true in many cases.
Further it may be a defense under the
Final Rule that the actions of the insurer

185 Ojo v. Farmers Group, Inc., et al., 600 F.3d

1205, 1208 (Sth Cir. 2016) (If Texas law prohibits
the use of credit-score factors that would violate the
Fair Housing Act on the basis of a disparate-impact
theory, then the Act would complement—rather
than displace and impair—Texas law).

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were a reasonable attempt at compliance
with State law. While it may be true that
in most cases the risk-based factors will
be facially neutral, the basis for liability
under a disparate impact claim is that
practices that are not obviously
discriminatory can nonetheless have an
unjustified discriminatory impact on a
protected class.

However, while this may be true of a
required risk-based pricing regime in
general, the specific risk factors chosen,
and the weights given them, may be
within insurers’ control. If the choice of
specific risk factors among permissible
alternatives is the cause ofa
disproportionate adverse effect on the
protected population as compared to
similarly situated members of a non-
protected class with respect to the claim
being made, then the causal link
between the choice of a specific factor
or factors and a disparate impact on a
protected class conceivably could be
shown. This is a case-based decision
that is not amenable to a broad
regulatory solution. Therefore, HUD
declines to adopt a provision that risk-
based pricing can never be the cause of
a disparate impact under the Fair
Housing Act.

Comment: Proposed rule exempts the
insurance industry from disparate
impact liability.

Commenters expressed concern that
the Proposed Rule exempts the
insurance industry from disparate
impact liability, noting that courts
interpret the Fair Housing Act and
McCarran-Ferguson Act in such a way
as to avoid conflict and allow for
efficient adjudication of claims.

HUD Response: Proposed § 100.500(e)
includes the standards of the McCarran-
Ferguson Act, 15 U.S.C. 1012(b). Under
court decisions, the Fair Housing Act
applies to insurance when application
of the Fair Housing Act would not
invalidate, impair, or supersede State
laws enacted for the purpose of
regulating the business of insurance. For
instance, this could include situations
where the State law is silent or where
the State law also prohibits racial
discrimination, On the other hand, if a
State law explicitly permitted an
insurance policy or practice and an
insurer were following that policy or
practice, it would be up to a court to
determine whether application of the
Fair Housing Act would impair,
invalidate, or supersede the State
regulatory regime.

Comment: A safe harbor under the
McCarran-Ferguson Act would be
inappropriate.

A commenter asserted that the
provision dealing with recognition of
state insurance laws would improperly
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shield insurers from disparate impact
liability. Commenters stated that the
McCarran-Ferguson Act requires a
particularized inquiry into the specific
details of state insurance law that are
affected by a claim under the Fair
Housing Act, and the ways in which
application of the Fair Housing Act
might disrupt state insurance regulation,
Commenters asserted that a safe harbor
under the McCarran-Ferguson Act
would be inappropriate, and that Oje
does requires a ‘‘particularized inquiry.”
HUD Response: Section 100.500(e)
and McCarran-Ferguson do not create a
blanket shield against Fair Housing Act
liability for the insurance business.16&
Rather, this rulemaking simply applies
long-standing McCarran-Ferguson
jurisprudence to the Fair Housing Act,
acknowledging neither the Fair Housing
Act nor the rule overrides state
insurance laws. Beyond that, courts
must make a case-by-case determination
whether or not a finding of liability
under the Fair Housing Act would
invalidate, impair, or supersede any
State law enacted for the purpose of
regulating the business of insurance.

Comment: Insurance exemption
should be located in a different section,

A commenter stated that because the
proposed business of insurance addition
would not amend 24 CFR 100.70(d)(4),
which stipulates that the provision of
property insurance is a covered practice
under the Fair Housing Act, but rather
amends § 100.500, which defines
disparate impact liability itself, this
opens the door to arguments that any
enforcement of disparate impact
liability would have effects on state
insurance law and thus be preempted.

HUD Response: The issue of the
applicability of Federal law to insurance
is governed by the McCarran-Ferguson
Act and cases interpreting it, regardless
of whether the related language is in
§ 100.70(d)(4) or § 100.500(e). The
arguments that the McCarran-Ferguson
Act always precludes application of the
Fair Housing Act when it implicates
State insurance law has been rejected by
Federal courts.1°7 Likewise, it is clear
that in many cases, a Fair Housing Act
case will be precluded under the
McCarran-Ferguson Act.188 The issue,
which must be decided by courts on a
case-by-case basis, is whether allowing
a plaintiff to proceed on claims under
the Fair Housing Act would impair,

188 See, o.g., Dehoyos v. Alistate Corp., 345 F.ad
290, 298-299 (5th Cir. 2003).

167 See, e.g., id.; Ojo v. Farmer's Group, at 1209,
168 See, e.g., Saunders v. Am. Family Mut, Ins,
Co., 2007 U.S. Dist. LEXIS 13804 (W.D. Mo., March

16, 2007).

invalidate, or supersede State law.169
Addressing the advisability of

§ 100.70(d)(4), which also applies to
disparate treatment claims, is beyond
the scope of this rulemaking.

Comment: Inclusive Communities did
not address insurance, so neither should
the Proposed Rule.

Some commenters expressed concern
about the Proposed Rule’s inclusion of
provisions specific to the insurance
industry, arguing that the Supreme
Court did not specifically address the
business of insurance in the Inclusive
Communities decision. Commenters
expressed concern that the Proposed
Rule will make recovery from insurance
companies based on disparate impact
nearly impossible.

HUD Response: Inclusive
Communities did not deal with
insurance, and so, of course, does not
address that issue. However, Inclusive
Communities did address the issue of
causality where there are intervening
factors; a significant factor is
compliance with other laws. Consistent
with the McCarran-Ferguson Act, states
broadly regulate the insurance industry.
This rulemaking does not interpret the
McCarran-Ferguson Act or require any
particular outcome in a specific case,
but does seek to set forth an appropriate
framework for analysis in light of
existing precedent from case law. As
otherwise noted, various courts have
held the Fair Housing Act to not be
preempted by the McCarran-Ferguson
Act.

Comment: HUD does not have
authority to interpret the McCarran-
Ferguson Act’s applicability to the Fair
Housing Act.

Commenters argued that HUD does
not have authority to change the
standard for McCarran-Ferguson
preemption from conflict preemption to
the ‘material limitation” standard,
because HUD’s 2013 Rule left McCarran-
Ferguson Act questions for courts to
decide. Another commenter argued
HUD does not have authority to
interpret the McCarran-Ferguson Act
and noted the interactions of the Fair
Housing Act and the McCarran-
Ferguson Act is the subject of
conflicting court decisions.

HUD Response: The Final Rule does
not interpret the McCarran-Ferguson
Act and HUD is neutral regarding its
application in specific cases. HUD
acknowledges that different courts have
reached differing results on differing
facts. However, in accordance with case
law, analysis under the McCarran-

169 See, e.g., Taylor v. Am, Family Ins, Group,
2008 U.S. Dist. LEXIS 61181 (D. Neb., August 11,
2008).

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Ferguson Act is required in cases where
insurance practices are alleged to have
a disparate impact in violation of the
Fair Housing Act, and the Final Rule
reflects this fact, The McCarran-
Ferguson Act’s language itself, as well
as the majority of case law interpreting
its application to the Fair Housing Act
and other civil rights statutes has,
consistent with the proposed regulation,
held that where the Federal law does
not invalidate, impair, or supersede a
particular provision of State insurance
law permitting an insurance policy or
practice or the related State
administrative regime, the Federal law
may apply, and where the Federal law
would have the invalidating effect, it
may not be construed to so apply.179

Comment: HUD should clarify that
the Final Rule does not prohibit, restrict,
or conflict with practices based on state
law.

A commenter stated that § 100.500(e)
recognizes the “supremacy of state law
in the field of insurance regulation,” but
HUD should make it clear that the Final
Rule will not be construed to prohibit or
restrict practices based on, or not
inconsistent with, state insurance law.
Another commenter stated that,
consistent with Inclusive Communities,
language should be added to note that
where the actual cause of a disparate
impact is another law rather than the
defendant’s decision, a plaintiff cannot
establish that the defendant is the actual
cause of the disparate impact. The
commenter suggested a new clause
should be added to the end of proposed
§ 100.500(e), stating that nothing in this
section “is intended to impose liability
for any action permitted by state law.”

HUD Response: As has been
discussed elsewhere in this preamble,
Federal courts have decided issues of
the applicability of the Fair Housing Act

170 See Ojo v. Farmers Group, Inc., et al., 600 F.3d
1205 (9th Cir., 2010); Dehoyos v, Allstate Corp., 345
F.3d 290, 297 (5th Cir, 2003) (because Appellants
do not identify a state law or policy that would be
impaired by the application of the federal statutes,
suit under Fair Housing Act and other civil rights
laws not barred); Moore v. Liberty Nat'l Life Ins. Go.,
267 F.3d 1209, 1221 (11th Gir., 2001) (stating that
McCarran-Ferguson does not apply to a civil rights
suit because “the federal rule does not contradict
directly the terms of the state statute or render it
impossible to effect or implement that statute”);
Nationwide Mutual Ina. Co. v. Cisneros, 52 F.3d
1351 (6th Gir,, 1995); NMAAGP v, American Family
Mut. Ins, Co,, 978 F.2d 287, 302 (7th Gir. 1992)
(reversing lower court to the extent that it held that
Fair Housing Act is inapplicable to property and
casualty insurance written or withheld in
connection with the purchase of real estate), But see
Taylor v. Am. Family Ins. Group, 2008 U.S. Dist.
LEXIS 61181 (D. Neb., August 11, 2008) (involving
the setting of rates using credit scores, preempting
a disparate impact claim); Doe v. Mutual of Omaha,
179 F.3d 557 (7th Cir. 1999) (Americans with
Disabilities Act case preempted when it would
interfere with the State’s administrative regime).
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to State insurance matters in
consideration of the McCarran-Ferguson
Act, This rule does not intend to alter
that jurisprudence. Therefore, HUD
declines to provide addition
clarifications or restrictions; HUD
believes that this is a job for the courts.

Comment: Home insurance should
only be regulated by the States,

A commenter stated that State
regulation of insurance is
comprehensive and includes rate and
coverage issues and prohibition of
unfairly discriminatory rates. Further,
State laws permit, and the majority
require, risk-based pricing. The
commenter stated that, conversely, State
laws make clear that failing to take risk
into account results in unfair
discrimination, Insurers are typically
prohibited from taking protected
characteristics into account or collecting
such information. Finally, the
commenter noted that state insurance
commissioners review the rates charged
by insurers to protect consumers.

HUD Response: HUD acknowledges
the general scheme of insurance rating
and regulations. HUD does not supplant
State regulation of the insurance
industry in this rulemaking. Housing
laws vary from State to State and
different facts present themselves in
different cases, as do the conditions
under which Federal law may or may
not be applicable. The effect on Fair
Housing Act claims by State insurance
law and regulation is determined by the
McCarran-Ferguson Act and related case
law. Federal regulation cannot take
account of all possible variations of
State law, and each case has to be
evaluated by a court based on the
particulars of the Fair Housing Act
claim and the specific State law.

Comment: Risk based pricing can
never be “arbitrary, artificial, and
unnecessary” under proposed
§ 100.500(b){1).

A commenter asserted that it is
essential for a viable market that
insurers make pricing and underwriting
decisions based on risk factors, which
therefore would be arbitrary, artificial,
and unnecessary. Based on this, the
commenter stated that risk-based
pricing and underwriting should be
exempt from disparate impact liability.

HUD Response: HUD does not believe
it can be stated categorically that no
disparate impact plaintiff could ever
meet the “arbitrary, artificial, and
unnecessary” showing with respect to
risk-based pricing and underwriting.
This is because there is no uniform or
unchanging approach to risk-based
pricing and underwriting. For example,
the specific risk factors used, in cases
where those are within the discretion of

the insurer, would have to be
considered. Accordingly, HUD declines
to adopi a position that risk-based
pricing and underwriting for insurance
can never be arbitrary, artificial, and
unnecessary.

Comment: The Proposed Rule would
overly burden the insurance industry.

Commenters argued that the
application of disparate impact to risk-
based pricing would make it more
difficult for the insurance industry to
accurately price for risk.

HUD Response: HUD does not believe
that the possibility of disparate impact
standards within the prudential
safeguards set forth in this Final Rule
will unreasonably affect the ability to
price risk in the insurance business. It
does not appear that this has been the
case over a large number of years where
disparate impact liability was
potentially applicable in a broader way
to insurance.

Comment: Suggestions for Section
100.500(e)}.

Some commenters suggested that, if
an exemption for the insurance industry
is not granted, HUD should explicitly
incorporate a complete defense for
actuarial risk-based pricing and
underwriting in order to better align the
Proposed Rule with the Inclusive
Communities decision, state law, and
the McCarran-Ferguson Act. They
asserted that case-by-case adjudication
in federal court would permit insurers
to be held liable for use of sound risk-
based practices. Commenters made
similar statements regarding the filed-
rate doctrine, which bars courts from
reexamining the reasonableness of rates
that have been filed and accepted by
insurance regulators.

HUD Response: As discussed above,
HUD does not believe that the variety of
laws and factual circumstances in the
insurance business allow for field
preemption of the Fair Housing Act.171
Similarly, a complete defense for
actuarial risk-based price and
underwriting, as a business practice is
in HUD’s view unduly broad. For
instance, not all States appear to require
tisk-based pricing. According to
information provided by another
commenter, Nebraska, Oklahoma, and
Wyoming do not require risk-based

171 Dehoyos v, Allstate Corp., 345 F.3d 290, 298—

299 (5th Cir. 2003) (rejecting a field preemption
approach to. analyzing the applicability of the
McCarran-Ferguson Act); Property Cas. Insurers
Ass'n of Am. v. Donovan, 66 F. Supp. 3d 1018, 1025
(N.D. Il. 2014) (stating that “In Humana Inc. v.
Forsyth, 525 U.S. 299. . . [citations omitted], the
Supreme Court rejected the view that the McCarran-
Ferguson Act created ‘any sort of field

preemption’ ”).

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pricing.172 Likewise, not all states
require state review and approval of
filed rates.173 Nevertheless, in
appropriate circumstances, the
McCarran-Ferguson bar or the more
general defense under paragraph
(d)(1)(i) for following state law may be
applicable. The filed-rate requirement,
when applicable, is generally aimed at
competition issues and in any event
does not necessarily answer the variety
of issues that could arise under the Fair
Housing Act. An exemption for it would
be the effective equivalent of a field
preemption. HUD declined to accept
this approach for the reasons noted
above.

Comment: State laws already prohibit
discrimination.

One commenter stated that variables
like race and disability are irrelevant,
and home insurance should simply be
excluded from the disparate impact
standard. The commenter also asserted
that application of disparate impact
liability would unnecessarily inject
racial and other demographic
considerations into insurance and State
laws that already prohibit use of
protected class information. Further,
applying disparate impact liability
would require insurers to collect
sensitive data on protected classes in an
effort to ensure that insurers will not be
held liable under disparate impact
theory.

HUD Response: As described
elsewhere herein, the Final Rule
contains a number of safeguards, as
contemplated by Inclusive
Communities, to avoid injecting race or
other protected class status into
ordinary governmental and business
decision-making processes. The Final
Rule expressly provides that it does not
create a data collection obligation, and
(d)(2)(iii)(A) requires a reasonable
relationship between the law and the
policy or practice said to flow from it,
appropriate to address this issue.

Comment: Proposed § 100.500{c)
defenses for actions permissible under
state insurance law.

Some commenters noted that the
limited discretion defense set forth in
§ 100.500(c}(1)(i) (paragraph (d)(1)(} in
this Final Rule) may apply only where
state law requires the challenged
insurance practice and therefore, HUD
should clarify that the defense also
applies where state insurance law
permits the challenged practice.

HUD Response: HUD believes this
Final Rule strikes an appropriate

172 See Appandix 1; available at htips://
www. reguiations.gov/document?D=HUD-2019-
0067-2436 (last visited February 3, 2020).

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balance between what is required and
permitted. HUD notes that in many
contexts, what is permitted by law is
incredibly broad. In other instances,
what is permitted is so narrow as to
effectively be a requirement. HUD
believes the Final Rule language in
(d)(1)(i) and (d)(2)(iii)(A), requiring a
reasonable relationship between the law
and the policy or practice said to flow
from it, appropriately addresses the
issue.

Comment: Defendants’ burden of
proof would interfere with the
McCarran-Ferguson Act.

Commenters stated that requiring a
defendant to prove a material cost or
burden (under proposed
§ 100.500(d)(1){ii)) (paragraph (c){3) in
this Final Rule) would force a Federal
court to weigh the relative merits of a
different insurance rating method,
which is left to the purview of the States
under the McCarran-Ferguson Act, and
it would hinder the insurer’s ability to
make reasonable business decisions
inherent in a free economy.

HUD Response: HUD agrees that the
Proposed Rule provides a framework
that allows for the McCarran-Ferguson
Act to be appropriately raised when
relevant. Whether a given Fair Housing
Act claim conflicts with State insurance
laws such that it can be said to impair,
invalidate, or supersede such laws is a
case-by-case determination. HUD also
agrees that its Fair Housing regulation at
24 CFR 100.70(d)(4) correctly interprets
the Fair Housing Act as applicable to
property or hazard insurance,

Other General Comments

Comment: Issues with language used
in the section.

Several commenters expressed
concerns about the language used in the
Proposed Rule. Commenters pointed out
concerns with the terms “building
codes” and “permitting rules.” One
commenter was concerned that adding
the terms “building codes” and
“permitting rules” to the language
would have a detrimental effect on
governmental efforts to advance up-to-
date building code adoption and
enforcement, as well as create new legal
risks for communities seeking to
improve building codes and strengthen
disaster resilience, thereby competing
with other regulatory requirements and
governmental initiatives, Another
commenter stated that there is no legal
basis or regulatory precedent supporting
the addition of the terms “building
codes” and “permitting rules,” citing to
the Inclusive Communities decision,

which the commenter asserted did not
overrule Gallagher v. Magner.17+

One commenter stated that HUD
should further explain the addition of
local and building ordinances to this
section.

HUD Response: HUD thanks
commenters for their perspectives. HUD
notes that the Supreme Court in its
decision in Inclusive Communities
expressly stated that Gallagher v.
Magner was decided without the
cautionary standards announced in
Inclusive Communities.175 While each
case must be decided on its particular
facts, under this Final Rule, HUD
expects that valid policies will be
upheld and ones that are arbitrary,
artificial, and unnecessary will be
subject to remedy. HUD’s identification
of particular items is not intended to
impact the general analysis under
§ 100.500. The listing of items is
§ 100.70(d)(5) is representative only and
not exclusive but does not neglect
particular areas where HUD has
observed problematic policies and
practices in Fair Housing Act
enforcement.

Comment: Statute of Limitations.

Commenters suggest a statute of
limitations for disparate impact claims
arising from lending decisions. Some
suggested that HUD include language
clarifying that a lending decision is a
“discrete act,” which should trigger the
running of the statute of limitations.
Commenters said HUD should restate
verbatim the Fair Housing Act’s statute
of limitations, Commenters also
requested that HUD provide further
clarity regarding the tolling period for
the statute of limitations on claims.

HUD Hesponse: HUD appreciates
these comments, but declines to repeat
statute of limitations requirements set
forth in statutes. This Final Rule does
not modify the statute of limitations
regarding claims under the Fair Housing
Act, which are generally applicable to
both disparate treatment and disparate
impact cases. Whether a claim is time-
barred is a fact-specific question which
is dependent on the details of the case
and most appropriate for the court or
other administrative authority
considering the case to determine.
Similarly, whether an action constitutes
a ‘discrete act” under the Fair Housing
Act, or whether it is a “continuing
violation” is also regularly litigated and
is a fact-specific question dependent on
the details of a case. Therefore, HUD
does not choose to establish a regulation

174619 F.3d 623 (6th Cir, 2010).

175 Tex, Dep't of Hous, & Cmty, Affairs v.
Inclusive Cmitys. Project, Inc., 135 S, Ct. 2507, 2524
(2015).

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regarding the tolling period or issues
related thereto for the statute of
limitations in this dispar impact rule.

Comment: Proposed Rule fails to have
an adequate cost-benefit analysis.

Several commenters argued that a
more robust discussion of the costs
associated with the Proposed Rule
should be completed by HUD prior to
issuing the Final Rule. Commenters
stated that the Proposed Rule did not
contain an adequate analysis of the costs
and benefits of the Proposed Rule. One
commenter stated that HUD did not
consider quantitative and qualitative
measures of costs and benefits, and did
not attempt to tailor its rule to impose
the least burden on society, consistent
with obtaining regulatory objectives.
Another commenter stated that the
Proposed Rule fails to consider the
benefits created by the availability of
disparate-impact claims, which the
commenter asserted are threatened by
insurmountable litigation burdens and
imposes unsupported safe harbors in the
Proposed Rule. One commenter also
argued that the Proposed Rule did not
have crucial sources of data and
research that would allow a full
assessment of any harms from the
Proposed Rule’s promulgation, while
another commenter argued that entities
will now bear the costs of reconciling
existing authorities with a seemingly
inconsistent HUD rule. Commenters
also asked HUD to explain the Proposed
Rule’s economic impact, including
clarifying what HUD meant when it said
the Proposed Rule would result in more
affordable housing,

HUD Response: HUD acknowledges
commenters’ arguments, but disagrees.
HUD’s intent in promulgating this Final
Rule is to exercise its discretion to
further the purpose of the Fair Housing
Act and to ensure that HUD’s
interpretation of disparate impact
liability is in line with HUD’s
understanding of Title VII disparate
impact law and with the Supreme
Court’s decision in Inclusive
Communities, as well as Executive
Orders 13771 and 13777. Accordingly,
this Final Rule does not create any new
requirements, but merely provides
clarification of how disparate impact
liability is effectuated under the Fair
Housing Act. HUD has prepared an RIA
for this rule which provides a cast-
benefit analysis of this rule, but notes
here that, in well-pleaded, fully litigated
cases, the same result would be reached
even in the absence of HUD’s
discriminatory effects rule. However,
this Final Rule should result in greater
clarity for litigants, regulators and
industry professionals when making
and challenging facially neutral policies
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that may have a discriminatory effect on
one or more protected classes.

Clarity about the applicable legal
requirements increases compliance with
the Act and furthers its
nondiscrimination purposes. This
clarity should also reduce litigation cost
and duration by reducing uncertainty.
The Final Rule is accordingly expected
to encourage more housing development
activity in all areas of local
communities.

Comment: Regulatory Flexibility
analysis was inadequate.

A commenter also objected to the
Proposed Rule because HUD failed to
provide and publish in the Federal
Register a statement providing the
“factual basis for its determination” that
the Proposed Rule would not have a
significant economic impact on a
substantial number of small entities.
Commenters stated that, among other
things, HUD provided no description or
estimate of the number of small entities
to which the Proposed Rule would
apply; it provided no estimate of the
economic impacts on those entities; and
it provides no disclosure of its
assumptions. The commenier asserted
that examining both the beneficial and
adverse impacts would have resulted in
a finding of significant economic impact
on a substantial number of small
entities. In particular, the commenter
stated that small entities that rely on
disparate impact litigation to ensure the
vindication of their rights will face a
higher burden to bring claims and will
therefore suffer lost business
opportunities, frustration of their
missions, and un-remedied violations of
their civil rights because of HUD’s
proposed strict burdens and standards.
Similarly, small businesses that have
developed tools to help entities comply
with existing disparate impact law
would suffer the cost of lost revenue
due to decreased competitive advantage
and the additional cost of developing
new software to satisfy HUD’s new
framework with respect to housing
credit, in addition to maintaining
software that complies with the existing
frameworks applicable to credit
generally,

HUD Response: HUD notes that a
regulatory impact analysis is not
required if the rule will not have a
significant economic impact on a
substantial number of small entities.
HUD certified that this Proposed Rule
would not have such an impact because
it is merely updating HUD’s uniform
standards for determining when a
housing practice with a discriminatory
effect violates the Fair Housing Act.
HUD also noted that no such analysis
was performed with respect to the 2013

Rule, which was developed in the
absence of Supreme Court guidance and
at a time when there was substantial
questions, as indicated by the dissent in
Inclusive Communities, over the
existence of the disparate impact theory
under the Fair Housing Act. It is HUD’s
position that this Final Rule will reduce
burdens on parties by providing clarity
regarding the burdens involved in a
disparate impact case. Despite this
certification, however, HUD also invited
commenters to provide less burdensome
alternatives to the Proposed Rule that
would meet HUD’s objectives. HUD has
revised this Final Rule in light of
comments, HUD has also considered
comments submitted in response to the
question regarding how the Proposed
Rule might increase or decrease costs
and economic burden for relevant
parties. HUD does not believe the Final
Rule will result in an adverse impact on
lawyers and consultants because a clear
law is easier to follow by ordinary
citizens.

Comment: Impacts on low-income
renters.

A commenter stated that HUD should
republish the Proposed Rule with
estimates of its impacts on low-income
renters and Federal affordable housing
programs and solicit public comments
on those estimates and their
implications. This commenter stated
that, as drafted, the Proposed Rule did
not sufficiently address or justify all
changes and their effects on low-income
renters. Other commenters were
concemed that the Proposed Rule
would weaken disparate impact liability
by allowing neutral policies that have a
discriminatory effect to remain.

HUD Response: HUD’s requests for
comments elicited feedback on the
potential impact of the Proposed Rule
on low-income individuals, including
voucher holders. HUD appreciates and
considered these comments as they
raised several issues affecting cities
across the nation such as gentrification,
increased housing cost burden, and lack
of available affordable housing for
youcher holders. However, HUD
believes it has promulgated an effective
Final Rule to challenge discriminatory
practices while not having unintended
adverse consequences on the creation of
decent, safe and affordable housing.

Comment: The Proposed Rule would
make challenges to zoning and land use
decisions more difficult, and so it
should be withdrawn.

Commenters asserted that cases
involving state action impacting
property, such as local zoning and land
use decision, should be treated
uniquely. Another commenter
recommends HUD include a method to

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identify local efforts to limit housing
options earlier in the burden-shifting
framework, A comment urged HUD to
withdraw the Proposed Rule because
the current disparate impact standard is
the primary tool used to challenge local
zoning and land use planning rules that
exclude manufactured housing.
Commenters suggested that HUD’s
approach to such cases conform to
relevant and recent court decisions,
including the Knick v. Township of
Scott, Pennsylvania decision.176 One
comment recommended a study be
conducted for the adverse impacts of
actions such as land use and zoning
decisions and tax credit policies rather
than focusing solely on real estate
transactions and lending.

HUD Response: HUD disagrees that
local zoning and land use decisions
should have more unique treatment.
Disparate impact liability is available
under this Final Rule to challenge
facially neutral policies and practices
that relate to dwellings, including land
use policies. There is no basis under the
Fair Housing Act for unique treatment
of zoning and Jand use planning rules,
on the one hand, or with respect to
manufactured housing on the other
hand. The case of Knick v. Township of
Scott, Pennsylvania involves a Fourth
Amendment search issue and a Fifth
Amendment taking issue and is
inapposite to this rulemaking.1”7 HUD
appreciates commenters’ input
regarding recommendations for future
studies into issues affecting housing;
however, such studies are outside the
scope of this rulemaking.

Comment: The Proposed Rule

implicates federalism.
Commenters asserted that HUD failed

to consider and evaluate the federalism
implications of the Proposed Rule.
Because of this alleged failure,
according to one commenter, HUD
violated the APA and Section 6 of
Executive Order 13132.

HUD Response: HUD acknowledges
the commenter’s perspective but
disagrees. Executive Order 13132
prohibits an agency from publishing any
rule that has federalism implications if
the rule imposes substantial direct
compliance costs on State and local
governments and is not required by
statute or preempts State law. As
discussed in responses to previous
comments, this rulemaking does neither
of these. HUD is cadifying in regulation
statutory requirements to prove or
defend a case of discriminatory effect.
This is no different from HUD’s decision
in the 2013 Rule to codify HUD’s

176139 S. Ct. 2162 (2019).
177 Id, at 2167.
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interpretation of disparate impact law at
that time. HUD has specific authority to
promulgate regulations under the Fair
Housing Act.

Comment: Fails to consider studies
about lending and insurance practices.

A commenter asserted that HUD’s
failure to consider both the direct and
quantifiable harms as well as indirect
and non-quantifiable harms under the
Proposed Rule would result in more
entrenched residential segregation,
exclusion of protected groups from
housing, and discrimination in home
purchasing and rental markets.

HUD Response: HUD notes that, as
stated previously, disparate impact
liability is a valuable and powerful tool
to challenge facially neutral policies
that have an unlawful discriminatory
effect on one or more protected groups.
However, HUD also recognizes that,
consistent with Inclusive Communities,
disparate impact liability must be
properly limited to avoid both
constitutional infirmities and to avoid
second guessing a legitimate
governmental and business decision.
Both of those issues would also have
direct and indirect quantifiable and
non-quantifiable harm to housing
choice. As such, HUD thoughtfully
considered all changes being made to
the 2013 Rule to provide a rule
consistent with Inclusive Communities
and the Fair Housing Act, including the
remedies to which persons in protected
classes are entitled and the important of
fairness and certainty in the housing
market.

Comment: HUD should allow expert
witnesses,

Commenters stated that expert
witnesses should be allowed for both
parties, and that the Proposed Rule
should allow for rebuttal of those
witnesses.

HUD Response: The manner and type
of particular evidence is a matter of civil
procedure outside of the scope of the
Final Rule as revised. In the case of an
administrative change, during an
investigation into discrimination
allegations, both parties are provided
the opportunity to provide evidence and
witnesses to HUD (or a substantially
equivalent State agency). After an
investigation, if HUD files a charge of
discrimination, the Fair Housing Act
allows parties to present evidence,
cross-examine witnesses and obtain the
issuance of subpoenas by HUD during
an administrative hearing.176 Thus,
HUD declines to include expert witness
specific provisions in the Final Rule
because they are not necessary in light

178 See 42 U.S.C. 3612[c).

of other more general treatment of
expert witnesses. '

Comment: HUD should expand the
Proposed Rule to add additional
protections for specific groups.

Commenters stated that HUD should
create regulations that apply specifically
to discrimination based on disability,
since the nature of proof for such cases
is distinct. Commenters also proposed
that HUD add additional protections for
individuals facing discrimination based
on source of income and criminal
records. Others suggested that HUD add
former offenders and convicted felons to
the protected class list. Anather
comment requested that Lesbian, Gay,
Hisexual, Transgender, and Queer
individuals be added to the list of
protected classes.

HUD Response: HUD appreciates the
perspective provided by commenters
who argued that HUD should expand
upon the regulations to provide more
guidance in disability cases as well as
adding protected classes. To the extent
that the commenters requested that
HUD add protected classes to the Fair
Housing Act, HUD lacks the authority to
do so. Congress enacted ihe Fair
Housing Act and expressly included
race, color, national origin, sex and
religion as protected classes, as well as
the Fair Housing Amendments Act,
which added disability and familial
status as protected classes. Disparate
impact is a theory of relief under the
Fair Housing Act and upheld by the
Supreme Court in its decision in
Inclusive Communities. HUD is
therefore not “creating law,” but merely
providing clarity regarding how the Fair
Housing Act is to be interpreted as it
relates to disparate impact, in light of
the Court's decision in Inclusive
Communities. Regarding commenters’
request for HUD to create regulations
that apply specifically to persons with
disabilities, HUD notes that it has
regulations specifically regarding
persons with disabilities in 24 CFR part
8 and part 100, subpart D. Nothing in
the Final Rule precludes its use in the
context of disability.

Comment: HUD should, in general,
provide definitions throughout the rule.

Commenters stated that HUD’s
Proposed Rule used many terms without
firm definitions, which would cause
confusion and complicate
implementation of the rule. Commenters
stated that providing definitions now,
instead of waiting for courts to create
them in case law, would promote
compliance and avoid additional
litigation. Commenters said unclear
definitions created uncertainty about
how the rule will function. Commenters
pointed to the words “‘significant,”

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“robust,” and “material” as meaning the
same thing, but are used
interchangeably, which causes
confusion about whether the intent is
for them to be different. Commenters
suggested that HUD instead use
“substantial,” meaning of important
value, rather than “significant,” which
refers to statistical significance. Using
“substantial” would avoid unnecessary
legal disputes over the different terms
throughout the Proposed Rule.

AUD Response: Prior to 2013,
disparate impact as a theory of liability
was largely developed through the
courts and that has continued to a
significant extent even after the 2013
Rule. Further, definitions are typically
highly litigated since discriminatory
effect cases tend to be highly fact
specific. HUD has made changes to the
regulatory text to distinguish “robust
causality” as discussed in Inclusive
Communities, use “significant” for
purposes of pleading that the disparity
caused by the policy or practice is
significant, and use “material” with
regard to the alternative proposed policy
or practice burden and costs. This
notice elsewhere makes clear that
“significant” is not used exclusively in
the statistical sense of the term, HUD
believes these changes provide clarity
and further discusses them above.

Comment: HUD should provide more
guidance for implementing the
Proposed Rule.

Commenters asked HUD for
additional guidance on specific
practices that would be prohibited or
allowed under the Proposed Rule.
Commenters stated that sub-regulatory
guidance would be able to clarify
concepts with examples of safe harbors
or asked specific questions about
whether particular practices would be
considered illegal under the Proposed
Rule. Commenters also asked for a
sample form or template for pro se
plaintiffs regarding the elements,

HUD Response: HUD has sought to
provide a comprehensive framework for
the Final Rule for considering a wide
range of potential applications, Issues of
disparate impact are particularly fact
specific. Accordingly, HUD declines ta
provide additional examples of any
specific situations which may succeed
or fail under disparate impact liability,
including specific safe harbors,
particular practices, or a compliant
template for disparate impact. These
types of decisions are well within the
competency of administrative law
judges and courts to evaluate on a case
by case basis within the Final Rule’s
framework, Under Executive Order
13891, sub-regulatory guidance does not
generally have the force of law and
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would not in the context of this Final
Rule to the extent it added objections
have binding effect. Further, with regard
to the creation of a sample form or
template, HUD provides an online
complaint form that allows individuals
to provide a brief description of their
allegations to HUD to start the process
of filing a discrimination complaint.179
Housing discrimination complaints that
are received by HUD are then reviewed
by a fair housing specialist, who will
assist in the drafting and filing of an
official complaint. HUD’s process does
not require that a party be represented
by an attorney and provides individuals
the opportunity to speak directly to a
fair housing specialist for any questions
they have throughout the process,

HUD will review existing guidance for
conformity with this Final Rule and
other applicable authorities and remove
inconsistent items. The issue of whether
additional guidance is warranted will be
considered as the rule is put into
practice.

Comment: HUD should take a more
data-driven approach.

A commenter recommended looking
at the number of Fair Housing Act
disparate impact claims filed in Federal
court, before and after the 2013 Rule,
and after the Supreme Court’s decision
in Inclusive Communities. The
commenter specifically noted that
nationwide, very few disparate impact
claims were filed since 2013, and those
that were brought were resolved at an
early stage. The commenter also stated
that a local survey showed that the
overall number of cases since 2013 has
not increased, and that the Inclusive
Communities decision in 2015 has not
affected the number of claims brought
under a disparate impact theory.

Similarly, several commenters noted
that HUD should use a more data driven
approach to disparate impact liability
and provided a number of suggestions,
Another commenter stated that it is
appropriate for HUD to look ta
information or data available to assess
the Proposed Rule’s impact, including
how many discriminatory effect claims
were meritorious.

Commenters asserted that they believe
HUD’s attorneys have been studying the
number, type, and likelihood of success
of disparate impact claims since 2015,
and it would be helpful for HUD to
publish its findings based on that
research and solicit public feedback
concerning the quality of that research
and HUD’s conclusions.

1781.5. Department of Housing and Urban
Development, File a Complaint, HUD, gov, hitps://
www.hud gov/program_offices/fair_housing_equal_
opp/onlina-complaint.

HUD Response: HUD appreciates the
suggestions for improving disparate
impact regulations in the future,
including using a data-driven approach.
Data is an important element in many
disparate impact claims, and parties are
of course free to use data within the
framework of this Final Rule in
individual cases. HUD has in the past
and will continue to review cases as
they move through both the
administrative and civil court processes
in order to ensure the Final Rule is
working as intended. As it has always
done, HUD will be sure to continuously
evaluate claims of discriminatory effect
and intentional discrimination in its
efforts to uphold the promise of and
enforce the Fair Housing Act.

Comment: Recordkeeping
requirements should be added.

A commenter recommend that
Federal financial assistance recipients
and all complexes with more than 15
tenants should be required to maintain
applications and housing decisions on
file for five years, and such information
should be made available for review
during litigation for use in determining
disparate impact of business decisions
in order to enforce the Fair Housing Act.

HUD Response: This Final Rule does
not alter recordkeeping requirements for
HUD housing programs, and entities
receiving Federal financial assistance
are responsible for maintaining records
in a manner that is compliant with the
relevant guidelines of the programs in
which they participate. Further, this
Final Rule makes no changes to rules
related to civil and administrative
procedures relative to records retention,
litigation, or the Fair Housing Act’s
requirement to provide documents and
other evidence during an investigation.

Comment: Social Vulnerability Index
should be adopted.

One commenter suggested HUD adopt
the “Social Vulnerability Index” 129 as a
tool to ensure fair and just access to
housing. The commenter proposed the
following three-point inquiry to
determine whether the impact of an
individual’s actions or institution’s
policy creates an adverse impact: (1)
Does it happen more frequently to
members of one group than others? (2)
Is there a differential impact on
members of one group than another? (3)
Is it more difficult for members of one
group to overcome than another?

HUD Response: The Final Rule
provides a framework for evaluating
whether non-intentional, unlawful

180 1J.S, Department of Health and Human

Services, GDG’s Social Vulnerability Index (SV),
ATSDR Agency for Toxic Substances and Disease
Registry (Sept. 12, 2018), https://svi.cde.gov/.

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discrimination occurs under the Fair
Housing Act as interpreted by Inclusive
Communities. The “social vulnerability
index” appears inconsistent with
applicable law.

Comment: 2016 guidance on use of
criminal background checks should be
withdrawn.

Multiple commenters stated that
HUD’s 2016 guidance threatened
disparate impact liability for providers
who use criminal screening to
disqualify prospective residents ta
protect other residents. Commenters
also stated that HUD should limit the
scope of any “individualized
assessments” regarding criminal records
because of the burden it creates for
housing providers. Although not
explicitly required in the Proposed
Rule, the commenters stated that this
should be clarified considering the
mitigating evidence required by the
courts in prior cases,

HUD Response: HUD intends to
review its existing guidance for
consistency with the Final Rule.

Comment: The Proposed Rule should
consider the Takings Clause of the U.S.
Constitution when discussing state
action.

A commenter suggested the
application of disparate impact
regulations in cases involving state
action impacting property should differ
from other circumstances, especially
when such state action violates the
Takings Clause. This commenter
recommended that the Proposed Rule be
withdrawn or revised to ensure an
appropriate balance with respect to
local zoning ordinances that create
barriers to affordable housing.

AUD Response: HUD appreciates the
commenter’s suggestion but declines to
carve out a separate portion of the Final
Rule for government action. Unlike the
situation that led to the Supreme Court’s
decision in Knick v. Township of Scott,
Pennsylvania,181 cited by the
commenter, the disparate impact rule
and the Takings Clause of the U.S.
Constitution are not mutually exclusive.
An individual may challenge a zoning
ordinance as having a discriminatory
effect on a protected class group, while
the owner of the affected property may
challenge the same ordinance under the
Takings Clause. It is alsa HUD’s position
that the changes being made do not
create an imbalance that would prevent
an individual’s ability to challenge a
zoning or land use ordinance as having
a discriminatory effect based on
protected class status.

Comment: Exceptions tao
requirements.

181139 S, Ct. 2162 (2019).
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A commenter recommended that
landlords renting four or fewer units
should not be subject to the Proposed
Rule; another suggests HUD add an
exemption for private landlords who do
not receive funds under any HUD
program.

HUD Response: HUD does not have
the authority to create new exceptions
under the Fair Housing Act. Contained
within the Fair Housing Act is an
exemption for a single-family house
sold or rented by an owner if that owner
does not own more than three
houses.182 Another exemption applies
to rooms or units in dwellings
containing living quarters occupied or
intended to be occupied by no more
than four families living independently
of each other, if the owner actually
maintains and occupies one of such
living quarters as his residence.1#3

Comment: HUD should define and
provide examples of discriminatory
intent.

Another commenter suggested that
HUD should define discriminatory
intent and provide examples to clarify
when a claim should not be brought
under disparate impact but under
discriminatory intent. This commenter
also suggested that HUD clarify that
policies which allow for the exercise of
discretion cannot be challenged under
disparate impact law because allowing
discretion is not the harm, but the
intentional discrimination that results
from this discretion is the harm.

HUD Response: Intentional
discrimination is outside the scope of
this rulemaking and not included in any
way under this Final Rule. Nothing
impairs a party's ability to bring a claim
that includes both intentional
discrimination and disparate impact
allegations. As discussed above, a single
discretionary action typically is not a
policy or practice. As noted by the
commenter, this does not mean that
such single action may not be unlawful
under the Fair Housing Act.

Comment: Property management
eompanies should not have the ability
to impose minimum income amounts on
prospective tenants.

A commenter opposed property
management companies’ ability to
impose minimum income amounts on
prospective tenants. The commenter
believes that if a tenant can pay rent,
then they may be able to use other
government assistance, such as SNAP
food assistance, and should not be
excluded from renting,

HUD Response: While there may be
some instances where certain policies

~ 38242 U.S.C. 3603(b)(1).
183.42 U.S.C, 3603(b)(2).

and practices regarding tenant finances
could constitute unlawful disparate
impact, such a claim should be
considered under this Final Rule’s
framework. A blanket rule on this issue
is inconsistent with Inclusive
Communities. HUD also notes that
socio-economic status is not a protected
class under the Fair Housing Act.

V. Findings and Certifications

Regulatory Review—Executive Orders
12866 and 13563

Executive Order 13563 (“Improving
Regulation and Regulatory Review”)
directs agencies to propose or adopt a
regulation only upon a reasoned
determination that its benefits justify its
costs, emphasizes the importance of
quantifying both costs and benefits, of
harmonizing rules, of promoting
flexibility, and of periodically reviewing
existing rules to determine if they can
be made more effective or less
burdensome in achieving their
objectives. Under Executive Order
12866 (‘Regulatory Planning and
Review”), a determination must be
made whether a regulatory action is
significant and therefore, subject to
review by the Office of Management and
Budget (OMB) in accordance with the
requirements of the order. This rule was
determined to be a “significant
regulatory action” as defined in section
3(f) of Executive Order 12866 (although
not an economically significant
regulatory action, as provided under
section 3(f)(1) of the Executive Order).

This Final Rule continues to hold to
the longstanding interpretation that the
Fair Housing Act includes disparate
impact liability, and continues to
establish uniform, clear standards for
determining whether a practice that has
a disparate impact is in violation of the
Fair Housing Act, regardless of whether
the practice was adopted with intent to
discriminate.

As stated in the Background section,
the need for this updated rule arises in
part because Inclusive Communities,
which held that disparate impact claims
are cognizable under the Fair Housing
Act, established guidelines and warned
of constitutional limitations to the
doctrine. These guidelines and warnings
were not available to HUD when HUD
drafted the 2013 Rule. Further, Inclusive
Communities used standards with
specific phrases such as ‘‘robust causal
link” and “artificial, arbitrary, and
unnecessary” which were not
previously part of established
discriminatory effect jurisprudence and
were not included in the 2013 Rule. The
Final Rule is therefore more consistent
with the now binding Supreme Court

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precedent than the 2013 Rule. Further,
the 2013 Rule provided a three-step
burden shifting framework, but
provided few details regarding how
these burdens are met, and provided no
analysis of how a prima facie disparate
impact case would be met or of how a
defendant may rebut such a case.

As discussed in the preamble to this
Final Rule, HUD is exercising its
discretionary rulemaking authority to
bring uniformity, clarity, and certainty
by updating this rule, This Final Rule
aligns with the guidelines and language
used in Inclusive Communities and
provides further detail than the 2013
Rule regarding the elements required to
plead a case and the defenses available
in Tesponding to a case. This would
simplify compliance with the Fair
Housing Act’s discriminatory effects
standard and decrease litigation cost,
duration and uncertainty associated
with such claims, This Final Rule will
reduce the burden associated with
litigating discriminatory effect cases
under the Fair Housing Act by clearly
establishing which party has the burden
of proof and how such burdens are to
be met.

This Final Rule also provides clarity
on how the Fair Housing Act applies in
light of the McCarran-Ferguson Act. As
discussed in the preamble and in the
Proposed Rule, this question has been
the subject of controversy and debate.
HUD’s opinion as reflected by this Final
Rule aligns itself with the judicial
consensus HUD has observed.

HUD reviewed comments made in
response to HUD’s questions for public
comment in the Proposed Rule,
especially to aid HUD in its regulatory
impact analysis. These questions and
HUD’s responses are discussed in the
section IV of this Final Rule’s preamble.
HUD notes that that these comments
and HUD’s own further deliberation
aided HUD in drafting the Final Rule-to
be consistent with Inclusive
Communities and HUD’s interpretation
of the disparate impact standard
generally, HUD believes that the Final
Rule accurately reflects the standard
provided in Inclusive Communities.
Accordingly, while this Final Rule is a
significant regulatory action under
Executive Order 12866 in that it
establishes uniform standards for
determining whether a housing action
or policy has a discriminatory effect on
a protected group, it is not an
economically significant regulatory
action. The burden reduction that HUD
believes will be achieved through
updating these standards will not reach
an annual impact on the economy of
$100 million or more, because HUD’s
approach is not a significant departure
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from, but in fact aligns with, the
Supreme Court’s holding in Inclusive
Communities. Although the burden
reduction provided by this Final Rule
will not result in an economically
significant impact on the economy, it
nevertheless provides some burden
reduction through the uniformity and
clarity presented by HUD’s standards
promulgated through this Final Rule
and is therefore consistent with
Executive Order 13563.

The docket file is available for public
inspection in the Regulations Division,
Office of the General Counsel, Room
10276, 451 7th Street SW, Washington,
DC 20410-0500. Due to security
Measures at the HUD Headquarters
building, please schedule an
appointment to review the docket file by
calling the Regulations Division at 202—
708—3055 (this is not a toll-free
number), Individuals with speech or
hearing impairments may access this
number via TTY by calling the Federal
Relay Service at 800-877-8339.

Regulatory Flexibility Act

The Regulatory Flexibility Act (RFA)
(5 U.S.C. 601 et seq.) generally requires
an agency to conduct a regulatory
flexibility analysis of any rule subject to
notice and comment rulemaking
requirements, unless the agency certifies
that the rule will not have a significant
economic impact on a substantial
number of small entities. This Final
Rule updates HUD’s uniform standards
for determining when a housing practice
with a discriminatory effect violates the
Fair Housing Act. Given the recent
Supreme Court decision, HUD’s
objective in this rule is to ensure
consistency and uniformity, and
therefore reduce burden for all who may
be involved in a challenged practice.

Accordingly, the undersigned certifies
that the rule will not have a significant
economic impact on a substantial
number of small entities.

Environmental Impact

This Final Rule sets forth
nondiscrimination standards.
Accordingly, under 24 CFR 50.19(c)(3),
this rule is categorically excluded from
environmental review under the
National Environmental Policy Act of
1969 (42 U.S.C. 4321).

Executive Order 13132, Federalism

Executive Order 13132 (entitled
“Federalism”) prohibits an agency from
publishing any rule that has federalism
implications if the rule either: (i)
Imposes substantial direct compliance
costs on state and local governments
and is not required by statute, or (ii)
preempts state law, unless the agency

meets the consultation and funding
requirements of section 6 of the
Executive Order. This Final Rule does
not have federalism implications and
does not impose substantial direct
compliance costs on state and local
governments or preempt state law
within the meaning of the Executive
Order.

Unfunded Mandates Reform Act

Title 0 of the Unfunded Mandates
Reform Act of 1995 (2 U.S.C, 1531-
1538) (UMRA) establishes requirements
for federal agencies to assess the effects
of their regulatory actions on state,
local, and tribal governments, and on
the private sector. This Final Rule does
not impose any federal mandates on any
state, local, or tribal governmenis, or on
the private sector, within the meaning of
the UMRA.

List of Subjects in 24 CFR Part 100

Givil Rights, Fair Housing,
Individuals with disabilities, Mortgages,
Reporting and Recordkeeping
requirements.

For the reasons discussed in the
preamble, HUD amends 24 CFR part 100
as follows:

PART 100—DISCRIMINATORY
CONDUCT UNDER THE FAIR HOUSING
ACT

@ 1. The authority for 24 CFR part 100
continues to read as follows:

Authority; 42 0,5,C. 3535(d), 3600-3620,

@ 2. In § 100.5, amend paragraph (b) by
revising the second sentence, adding a
third sentence, and adding paragraph
(d) to read as follows:

§100.5 Scope.

* * * * *

(b) * * * The Ulustrations of
unlawful housing discrimination in this
part may be established by a practice’s
discriminatory effect, even if not
motivated by discriminatory intent, and
defenses and rebuttals to allegations of
unlawful discriminatory effect may be
made, consistent with the standards
outlined in § 100,500, Guidance
documents and other administrative
actions and documents issued by HUD
shall be consistent with the standards
outlined in § 100.500.

* * * = *

(d) Nothing in this part requires or
encourages the collection of data with
respect to race, color, religion, sex,
handicap, familial status, or national
origin.

@ 3. In § 100.70, add a new paragraph
(d)(5) to read as follows:

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§100.70 Other prohibited sale and rental
conduct.
* * x * *

(d) * * *

(5) Enacting or implementing land-use
rules, ordinances, procedures, building
codes, permitting rules, policies, or
requirements that restrict or deny
housing opportunities or otherwise
make unavailable or deny dwellings ta
persons because of race, color, religion,
sex, handicap, familial status, or
national origin.

g 4. Revise § 100.500 to read as follows:

§100.500 Discriminatory effect prohibited.

(a) General. Liability may be
established under the Fair Housing Act
based on a specific policy’s or practice’s
discriminatory effect on members of a
protected class under the Fair Housing
Act even if the specific practice was not
motivated by a discriminatory intent.

(b} Pleading stage. At the ricuditng
stage, to state a discriminatory effects
claim based on an allegation that a
specific, identifiable policy or practice
has a discriminatory effect, a plaintiff or
charging party (hereinafter, “plaintiff’)
must sufficiently plead facts ta support
each of the following elements:

(1} That the challenged policy or
practice is arbitrary, artificial, and
unnecessary to achieve a valid interest
or legitimate objective such as a
practical business, profit, policy
consideration, or requirement of law;

(2} That the challenged policy or
practice has a disproportionately
adverse effect on members of a
protected class;

(3} That there is a robust causal link
between the challenged policy or
practice and the adverse effect on
members of a protected class, meaning
that the specific policy or practice is the
direct cause of the discriminatory effect;

(4} That the alleged disparity caused
by the policy or practice is significant;
and

(5} That there is a direct relation
between the injury asserted and the
injurious conduct alleged.

(c) Burdens of proof in discriminatory
effect cases. The burdens of proof to
establish that a policy or practice has a
discriminatory effect, are as follows:

(1} A plaintiff must prove by the
preponderance of the evidence each of
the elements in paragraphs (b}(2)
through (5} of this section.

(2} A defendant or responding party
(hereinafter, “defendant”) may rebut a
plaintiffs allegation under (b}(1) of this
section that the challenged policy or
practice is arbitrary, artificial, and
unnecessary by producing evidence
showing that the challenged policy or
practice advances a valid interest (or
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interests) and is therefore not arbitrary,
artificial, and unnecessary.

(3) If a defendant rebuts a plaintiff's
assertion under paragraph (c)(1) of this
section, the plaintiff must prove by the
preponderance of the evidence either
that the interest (or interests) advanced
by the defendant are not valid or that a
less discriminatory policy or practice
exists that would serve the defendant’s
identified interest (or interests) in an
equally effective manner without
imposing materially greater costs on, or
creating other material burdens for, the
defendant.

(d) Defenses. The following defenses
are available to a defendant ina
discriminatory effect case.

(1) Pleading stage. The defendant may
establish that a plaintiff has failed to
sufficiently plead facts to support an
element of a prima facie case under
paragraph (b) of this section, including
by showing that the defendant’s policy
or practice was reasonably necessary to
comply with a third-party requirement,
such as a:

(i) Federal, state, or local law;

{ii) Binding or controlling court,
arbitral, administrative order or opinion;
or

(iii) Binding or controlling regulatory,
administrative or government guidance
or requirement.

(2) After the pleading stage. The
defendant may establish that the
plaintiff has failed to meet the burden
of proof to establish a discriminatory
effects claim under paragraph (c) of this

section, by demonstrating any of the
following:

(i) The policy or practice is intended
to predict an occurrence of an outcome,
the prediction represents a valid
interest, and the outcome predicted by
the policy or practice does not or would
not have a disparate impact on
protected classes compared to similarly
situated individuals not part of the
protected class, with respect to the
allegations under paragraph (b). This is
not an adequate defense, however, if the
plaintiff demonstrates that an
alternative, less discriminatory policy or
practice would result in the same
outcome of the policy or practice,
without imposing materially greater
costs on, or creating other material
burdens for the defendant.

(ii) The plaintiff has failed to establish
that a policy or practice has a
discriminatory effect under paragraph
(c) of this section.

(iii) The defendant's policy or practice
is reasonably necessary to comply with
a third party requirement, such as a:

(A) Federal, state, or local law;

(B) Binding or controlling court,
arbitral, administrative order or opinion;
or

(C) Binding or controlling regulatory,
administrative, or government guidance
or requirement.

(e) Business of insurance laws.
Nothing in this section is intended to
invalidate, impair, or supersede any law
enacted by any state for the purpose of
regulating the business of insurance.

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(f) Remedies in discriminatory effect
cases. In cases where liability is based
solely on a discriminatory effect theory,
remedies should be concentrated on
eliminating or reforming the
discriminatory practice so as to
eliminate disparities between persons in
a particular protected class and other
persons. In administrative proceedings
under 42 U.S.C. 3612(g) based solely on
discriminatory effect theory, HUD will
seek only equitable remedies, provided
that where pecuniary damage is proved,
HUD will seek compensatory damages
or restitution; and provided further that
HUD may pursue civil money penalties
in discriminatory effect cases only
where the defendant has previously
been adjudged, within the last five
years, to have committed unlawful
housing discrimination under the Fair
Housing Act, other than under this
section.

(g) Severability. The framework of the
burdens and defenses provisions are
considered to be severable. If any
provision is stayed or determined to be
invalid or their applicability to any
person or circumstances invalid, the
remaining provisions shall be construed
as to be given the maximum effect
permitted by law.

Anna Maria Farias,

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Equal Opportunity.

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